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  D                                                BUSINESSOWNERS POLICY DECLARATIONS

 Issued By:    NATIONWIDE MUTUAL INSURANCE COMPANY

                                                                                                                    Polley Number: RENEWAL
                                                                                                                    77 BO 762-940-3001

                                                                                                             Form of Business:
 Named Insured
 Mailing Address SABBAH BROTHERS                                                                             D   Partnership/Joint Ventura   D    Sole Proprietorship
                 ENTERPRISES INC
                 PO BOX 36661
                                                                                                             D   Limned Liability Company CXJ Corporation
                 HOOVER AL 35236                                                                             D Other:



 Policy Period: From      ::...:A~PA:..:..:I.=.L..::.5L.:,2::-. : 0;.: .0.:._7_ _ _ _ _   to APRIL 5, 2008                        at 12:01 A.M. *Standard Time
                          at your mailing address. *Exceptions: 12:00 Noon in New Hampshire
Described Premises:
Prem. No. Bldg. No.                            Location Address                                                         Description of Business
  002          01         600 14TH STREET                                                                        CONVENIENCE FOOD/GAS STRS
                          BESSEMER AL 35026


Mortgage Holder Name and Address:      .
Prem. No. Bldg. No.             Mortgage Holder                                                                       Mortgage Holder
  002          01       COMPASS BANK
                        15 20TH ST S
                        BIRMINGHAM AL 35233




IN RETURN FOR THE PAYMENT OF THE PREMIUM, AND SUB.JECT TO All THE TERMS OF THIS POLICY, WE AGREE TO
PROVIDE YOU WITH THE INSURANCE AS STATED IN THIS POLICY.
PROPERTY COVERAGES                                 D      Standard Form                   IKJ Special Form                          LIMITS Of INSURANCE
                                                                                                                             Premises No.            Building No.
Limits of Insurance for                                                                                                          002                      01
Buildings                                                                                                                $        270,000
   Replacement Cost (RC) 1Actual Cash Value (ACV)                                                                        (8] RC     0       ACV
   Automatic Increase                                                                                                                                    8     %
Business Personal Property                                                                                               $       35·, 000
Deductible $        1.000                J This Polley Includes Business Income and Extra Expense Coverage.
Opliortal Coverage/Exterior Building Glass Deductible$                             500

                                                                      Includes Copyrighted Material of Insurance
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   D                                      BUSINESSOWNERS POLICY DECLARATIONS


 OPTIONAL PROPERTY COVERAGES -              Applicable only tf an 'X'
 is shown In the boxes below:                                                                    LIMITS OF INSURANCE

 D Outdoor Signs                                                                $                             Per Occurrence
 D Tenant's Exterior Building Glass .                                                                         Square Feet
 D Interior Glass
                  Basement/ground floor level                                   Included
                  All floors
                                                                                                              Inside the Premises
 D Burglary and Robbery (Standard Form only)                                    $
                                                                                $                             Outside the Premises
                            or
                                                                                           10,000             Inside the Premises
00 Money and Securities (Special Form only)                                     $
                                                                                $          10,000             Outside the Premises
0 Employee Dishonesty                                                           $                             Per Occurrence
D
D Earthquake                                                                                               % Deductible
D                                                                               $
D                                                                               $
D                                                                               $
COVERAGE EXTENSIONS- Optional Higher Limits                                                      LIMITS OF INSURANCE
                                                                                        Premises No.                 Building· No.
                                                                                           002                           01
D Accounts Receivable                                                           $
0 Valuable Papers and Records                                                   $
 ADDITIONAL COVERAGES- Optional Higher Limits

D Forgery and Alteration                                                        $

LIABILITY AND MEDICAL EXPENSE COVERAGES                                                          LIMITS OF INSURANCE
Except for Fire Legal Liability, each paid claim for the following
coverages reduces the amount of Insurance we provide during the
applicable annual period, Please refer to Paragraph 0.4. of the
Buslnessowners Uablllty Coverage Form.

Liability and Medical Expense                                           $1 ,0001000        Any One Occurrence
Personal and Advertising Injury                                         Included in Above- Any One Person or Organization
Medical Expenses                                                        $     5,000          Any One Person
Fire Legal liability                                                    $     50,000         Any One Fire or Explosion
General Aggregate Limit (other than Products-Completed
  Operations and Fire Legal Liability)                                  $2,000,000
Products-Completed Operations Aggregate Umtt                            $ 1 ,ooo, 000




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Page 2 of 3                                       Services Office, Ino., 1996                                    Cas. 4401-A (4-99)
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  D                                      BUSINESSOWNERS POLICY DECLARATIONS

 OPTIONAL LIABiliTY COVERAGES- Applicable only if an
                                                                                            liMITS OF INSURANCE
 •x• is shown in the boxes below:

 0                                                                         $
 0                                                                         $
 0                                                                         $
 FORMS APPLICABLE TO ALL PREMISES AND BUILDINGS:
   BP 00 09-0197                                    IL oo 03-0498                             CAS 6283-0403
   BP 10 05-0498                                    BP 04 17-0196                             CAS 6234-0606
   CAS 6216-1102                                    CAS 6217-1102                             IL 09 85-0106
   CAS 6361-0606                                    CAS 6364-0606                             CAS 6345-0705
   CAS 6356-1004                                    CAS 6033-01 06                            CAS 6162-1 001
   CAS 3687 A-0194                                  BP 04 01-0689                             BP 01 01-1200
   CAS 2527 B-0794                                  CAS 3228                                  CAS 3391-0802
   CAS 3880-0897                                    CAS 4213-01 06                            CAS 4422-0700




PREMIUM
   Total Annual Premium                                                                              $
                                                                                                         --------
           Includes the 1ollowlng miscellaneous charges
                                                                                                     $ _ _ _ _ _ __
                                                                                                     $ __________
                                                                                                     $ _ _ _ _ _ __
                                                                                                     $ _ _ _ _ _ __
                                                                                                     $ _____________

POLICIES SUBJECT TO PREMIUM AUDIT
   Advance Premium·-·-········-------·-----------------······--·······································-.. $ - - - - - - - -
   Audit Periods         0
                      Annually             D
                                       Semi-Annually                0
                                                                 Quarterly          0  Monthly

In the event you cancel the policy, we will retain not less than$        premium.



                                                                    P.O. BOX 147080
Date of Issue:                03-01-07            Issuing Office:   GAINESVILLE, FL 32614

Countersignature Date:                            Agency At:        BIRMINGHAM AL 35216
                             -----
                                                  Agent:            PAT DONALSON CLU CHFC
                                                                                                               0004330·01



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  D                                                                  BUSINESSOWNERS POLICY
                                                                   SUPPLEMENTAL DECLARATIONS

                                                                                    Polley Number: RENEWAL
                                                                                    77 80 762-940-3001

 FORMS APPLICABLE ONLY TO SPECIFIC PREMISES/COVERAGES:

 Premises No.    Bldg. No.            Form Number                                        *Coverage

    002           01         CAS 6035-11 00

    002           01         CAS 4497-1194




* If Information required to complete the coverage section Is not shown, refer to the form Indicated at left.
Cas. 4403
                                                                                                           Sabbah-Robertson
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 POLICY NUMBER:                                                                                  BUSINESSOWNERS

         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        COMPREHENSIVE BUSINESS LIABILITY EXCLUSION


(All Hazards In Connection with Designated Premises or Operations)

This endorsement modifies Insurance provided under the following:
      BUSINESSOWNERS POLICY

                                                   SCHEDULE*
A. Description and Location of Premises:

    ALL PREMISES NOT SPECIFICALLY                               ALL OTHER NOT DESCRIBED.
    DESCRIBED IN THIS POLICY.




B. Description and Location of Premises Operations:

    ALL PREMISES OPERATIONS NOT                                  ALL OTHER NOT DESCRIBED.
    SPECIFICALLY DESCRIBED IN THIS
    POLICY.




The following is added to Section B. EXCLUSIONS of                 2.   Operations on those premises or elsewhere
the Buslnessowners Uabfllty Coverage Form, with                         that are necessary or Incidental to the owner-
respect to Business Liability Coverage and Medical                      ship, maintenance or use of those premises;
Expenses Coverage:                                                      or
This Insurance does not apply to "bodily InJury,"                  3. Goods or products manufactured at or dis·
"property damage," "personal injury" or "advertising                    trlbuted from those premises.
Injury" arising out of:
                                                               B. 1. Operations described In Item B. of the Sched·
                                                                        ule; or
A. 1. The ownership, maintenance or use of the
        premises described In Item A. of the Schedule              2. The "products-completed operations hazard"
        or any property located on those premises;                      arising from those operations.




*Information required to complete this Schedule, if not shown on this endorsement, will be shown In the Declarations.




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         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
               BUILDING REPLACEMENT COST EXTENSION
                           ENDORSEMENT

This endorsement modifies insurance provided under the following:

      BUSINESSOWNERS STANDARD PROPERTY COVERAGE FORM
      BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM


Description of Building I n s u r e d - - - - - - - - - - - - - - - - - - - - -


                        situated 600 14TH STREET
                                 BESSEMER            AL 35026




                                                                 Is greater than 5% of the Agreed Replacement Cost
                    CONDITIONS                                   shown above, any loss occurring thereafter shall
For purposes of this contract the Agreed Replace·                be adjusted with a coinsurance penalty equal to
ment Cost as of the effective date of this endorsement           the percentage that the replacement cost of the
                                                                 unreported construction bears to the total
Is$ 270,000
                                                                 replacement value of the property. ·
In consideration of the premium charged,lt Is agreed        4.   We shall not be liable for any loss as a result of
that coverage under this policy shall apply with a               the enforcement of any Ordinance or Law:
maximum limit, not to exceed 120% of the Agreed                  regulating the construction, use or repair of any
Replacement Cost Value (EXAMPLE: If Agreed Re-
                                                                 property; or requiring the tearing down of any
placement Cost Value Is $1 oo,ooo the maximum limit              property, Including the cost of removing It's
would be $120,000) to provide replacement cost to
                                                                 debris.
the building described above and defined elsewhere
In this policy, and without application ofthe coinsur-      5.   We shall not be liable under this endorsement for
ance clause In this policy subject to the following              any loss unless and until the property Is actually
provisions:                                                      repaired or replaced by you with due diligence
                                                                 and dispatch.
1. You agree to insure the building described above
   at 100% of it's Agreed Replacement Cost Value.           6.   In the event you elect to repair or replace the
                                                                 damaged or destroyed property with
2.   if there Is available to you any other valid and            construction of different design, quality or
     collectible Insurance which would apply In the              location, It Is agreed that this policy shall be liable
     absence of this policy, the Insurance under this            for no more than the cost of repairing or replacing
     policy shall apply only as excess Insurance over            the damaged or destroyed property with
     such other Insurance.                                       construction of like kind and quality on the same
                                                                 premises.
3.   You agree to report to us, within 30 days of
     completion of construction, any additions,             7.   Should you elect not to repair or replace the
     improvements or enlargements you make to the                property after a loss, coverage under this policy
     property described which occur after the effective          shall be limited to the Actual Cash Value of the
     date of this endorsement. If such additions,                property at the time of the loss.
     Improvements or enlargements are not reported
     to us upon completion, and the replacement value       8.   If the basic form attached to this policy has
     of such additions, Improvements, or enlargements            extensions of coverage or deductible provisions


Cas. 449? (11-94)                                                                                          Page 1 of 2

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     based on the limit of Insurance on the building;           Insurance under this endorsement shall be the
     for purposes of such extensions or deductlbles             Agreed Replacement Cost shown above or the
     only, the limit of Insurance on the building will be       amount of the mortgagee's Interest In the
     the Agreed Replacement Cost valuation shown                described building, whichever Is less.
     above.
                                                            This endorsement Is otherwise subject to all the
9.   As respects the Interest of the mortgagee only, It     terms, conditions, provisions and stipulations of this
     Is understood and agreed that the amount of            policy, Including the form attached thereto.




Page 2 of 2                                                                                     Cas. 4497 (11-94)
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POLICY NUMBER:            77 BO 762-940-3001                                                   BUSINESSOWNERS
            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                        SPOILAGE COVERAGE


 This endorsement modifies Insurance provided under the following:

      BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

                                                      SCHEDULE

                                                                                       LIMIT
PREMISES            BLDG.             DESCRIPTION OF PERISHABLE                         OF
   NO.               NO.                        STOCK                               INSURANCE       DEDUCTIBLE

     002             01       CHICKENS, ICE CREAM                               $    5,000                $500




The Buslnessowners Special Property Coverage Form Is extended to Insure against direct physical loss of or damage
to "perishable stock" indicated in the Schedule, caused by "power outage", a,s provided by this endorsement.



The following provisions (A. through I. Inclusive) apply                of this endorsement, Covered Cause of Loss
to the coverage provided by this endorsement:                           means "power outage".
A.   Paragraph A.1. Covered Property Is replaced by             D. Paragraph A.6. Coverage Extensions of the
     the following:                                                 Buslnessowners Special Property Coverage Form
                                                                    does not apply.
     1. Covered Property
                                                                E. Paragraph B. Exclusions Is modltred by the
           Covered Property means "perishable stock"
                                                                   following:
           shown in the Schedule at the described
           premises, If the "perishable stock" Is:                  B. Exclusions
           a.   Owned by you and used In your business;                 1. Of the Exclusions contained In Para-
                or                                                         graph 8.1. of the Buslnessowners Prop·
                                                                           arty Coverage Form, only the following
           b. Owned by others and In your care, cus-                       apply to Spoilage Coverage:
                tody or control except as otherwise pro-
                vided in Loss Payment Property Loss                        b.   Earth Movement;
                Condition E.6.d.(3)(b).
                                                                           c.   Governmental Action;
B. The following Is added to Paragraph A.2. Property
                                                                           d.   Nuclear Hazard;
   Not Covered:
                                                                           f.   War And Military Action; and ·
           g. Property located:
                                                                           g. Water.
                (1) On buildings;
                                                                        2. The following Exclusions are added:
                (2) In the open; or
                                                                           We will not pay for loss or damage caused
                (3) In vehicles.                                           by or resulting from:
C. Paragraph A.3. Covered Causes Of Loss Is
                                                                           a. The disconnection of any refrigerat-
   replaced by the following:
                                                                              Ing, cooling or humidity control sys-
     3.    Covered Cause Of Loss                                                tem from the source of power.
           Subject to the exclusions described In Item E.                  b. The deactivation of electrical power


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                   caused by the manipulation of any                Condition 6. Loss Payment Is replaced by the
                   switch or other device used to control           following:
                   the flow of electrical power or current.
                                                                    d. We will determine the value of Covered
              c. The Inability of an electrical utility                Property as follows:
                 company or other power source to
                 provide sufficient power due to:                       (1) For "perishable stock" you have sold but
                                                                             not delivered, at the selling price less dis-
                   (1} Lackoffuel; or                                        counts and expenses you otherwise
                   (2) Governmental order.                                   would have had;

              d. The Inability of a power source at the                 (2) For other "perishable stock," at actual
                   described premises to provide suffl·                      cash value.
                   cient power due to lack of generating       H. Paragraph G. Optional Coverages does not
                   capacity to meet demand.                         apply.
              e.   Breaking of any glass that Is a perma-      I.   The following Is added to the Definitions:
                   nent part of any refrigerating, cooling
                   or humidity control unit.                        "Power Outage" means a change in temperature
                                                                    or humidity resulting from complete or partial
 F. Section D. Deductibles is replaced by the                       Interruption of electrical power, either on or off the
    following:
                                                                    described premises, due to conditions beyond
    We will not pay for loss or damage In any one                   your control.
    occurrence until the amount of loss or damage
                                                                    "Power Outage"does not include breakdown or
    exceeds the Deductible showri In the Schedule of
                                                                    contamination, meaning:
    this endorsement. We will then pay the amount of
    loss or damage In excess of that Deductible, up to              (a) Change In temperature or humidity resulting
    the applicable Limit of Insurance. No other                         from mechanical breakdown or mechanical
    deductible In this policy applies to the coverage                   failure of refrigerating, cooling or humidity
    provided by this endorsement.                                       control apparatus or equipment; or
G. Conditions                                                       (b) Contamination by a refrigerant.
    Under Property Loss Conditions, Item d. of




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     CAP ON lOSSES FROM CERTIFIED ACTS OF TERRORISM


    This endorsement modifies Insurance provided under the following:
        BUSINESSOWNERS STANDARD PROPERTY COVERAGE FORM
        BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
        BUSINESSOWNERS LIABILITY COVERAGE FORM
        BUSINESS PROVIDER STANDARD PROPERTY COVERAGE FORM
        BUSINESS PROVIDER SPECIAL PROPERTY COVERAGE FORM
        BUSINESS PROVIDER LIABILITY COVERf'.GE FORM

    A. The following provisions are added to the Busines-               With respect to any one or more "certified acts
       sowners and Business Provider Policies and apply                 of terrorism" under the federal Terrorism Risk
       to Property and Liability Coverages:                             Insurance Act, we will not pay any amounts tor
                                                                        which we are not responsible under the terms
        Cap On Certified Terrorism Losses                               of that Act (Including subsequent action of Con-
        "Certified act of terrorism" means an act that Is               gress pursuant to the Act) due to the application
        certified by the Secretary of the Treasury, In concur-          of any clause which results In a cap on our
        rence with the Secretary of State and the Attorney              liability for payments for terrorism losses.
        General of the United States, to be an act of ter-
                                                                 B. The following provision Is added to Businessowners
        rorism pursuant to 'the federal Terrorism Risk In-
                                                                    Standard Property Coverage Form, Buslnes-
        surance Act. The criteria contained in that Act for a
                                                                    sownersSpeclal Property Coverage Form, Business
        "certified act of terrorism" Include the following:
                                                                    Provider Standard Property Coverage Form, or
        1. The act resulted In aggregate losses In excess           Business Provider Special Property Coverage form:
           of $5 million; and
                                                                    APPLICATION OF OTHER EXCLUSIONS
        2. The act Is a violent act or an act that Is
           dangerous to human life, property or Infrastruc-         The terms and limitations of any terrorism exclusion,
           ture and is committed by an Individual or In-            or the inapplicability or omission of a terrorism
           dividuals acting on behalf of any foreign person         exclusion, do not serve to create coverage for any
           or foreign Interest, as part of an effort to coerce      loss which would otherwise be excluded under this
           the civilian population of the United States or to       Coverage Form or Polley, such as losses excluded
           Influence the policy or affect the conduct of the        by the Nuclear Hazard Exclusion or the War And
           United States Government by coercion.                    Military Action Exclusion.




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)   Cas. 6234 (6-06)                       Office, Inc., 2002, with Its permission.
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 POLICY NUMBER:
        THIS ENDORSEMENT IS ATTACHED TO AND MADE PART OF YOUR POLICY IN
        RESPONSE TO THE DISCLOSURE REQUIREMENTS OF THE TERRORISM RISK
       INSURANCE ACT. THIS ENDORSEMENT DOES NOT GRANT ANY COVERAGE OR
      CHANGE THE TERMS AND CONDITIONS OF ANY COVERAGE UNDER THE POLICY.

           DISCLOSURE PURSUANT TO TERRORISM RISK
                       INSURANCE ACT


                                                     SCHEDULE*

 Terrorism Premium (Certified Acts) $ _Q_.


 This premium Is the total Certified Acts premium attributable to the following Coverage Part(s), Coverage
 Form(s) and/or Pollcy(s): NOT APPLICABLE

 Additional Information, if any, concerning the terrorism premium: NOT APPLICABLE



   Federal Share of Terrorism Losses      %Year: 20
 (Refer to Paragraph B. In this endorsement.)

   Federal Share of Terrorism losses      %Year: 20
 (Refer to Paragraph B. In this endorsement.)

 *   Information required to complete this Schedule, If not shown above, will be shown In the Declarations.




A.   Disclosure Of Premium

     In accordance with the federal Terrorism Risk Insurance Act, we are required to provide you with a notice
     disclosing the portion of your premium, If any, attributable to coverage for terrorist acts certified under that Act.
     The portion of .your premium attributable to such coverage Is shown In the Schedule of this endorsement or in
     the policy Declarations.

B. Disclosure Of Federal Participation In Payment Of Terrorism Losses
     The United States Government, Department of the Treasury, will pay a share of terrorism losses Insured under
     the federal program. For losses occurring In 2006, the federal share equals 90% of that portion of the amount of
     such Insured losses that exceeds the applicable lnsu·rer retention. For losses occurring In 2007, the federal share
     equals 85% of that portion of the amount of such Insured losses that exceeds the applicable Insurer retention. If
     the federal program Is extended beyond 2007, the applicable percentage Is shown In the Schedule of this
     endorsement or In the policy Declarations.




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         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
         CONDITIONAL EXCLUSION OF TERRORISM (RELATING
           TO DISPOSITION OF FEDERAL TERRORISM RISK
                           INSURANCE ACT)


 This endorsement modifies Insurance provided under the following:

    BUSINESSOWNERS STANDARD PROPERTY COVERAGE FORM
    BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
    BUSINESS PROVIDER STANDARD PROPERTY COVERAGE FORM
    BUSINESS PROVIDER SPECIAL PROPERTY COVERAGE FORM
    CONTRACTORS SPECIAL PROPERTY COVERAGE FORM
    BUSINESSOWNERS LIABILITY COVERAGE
    BUSINESS PROVIDER LIABILITY COVERAGE FORM
    CONTRACTORS LIABILITY COVERAGE FORM

                                                      SCHEDULE
The Exception Covering Certain Fire Losses (Paragraph 8.2.) applies to property located ln the following state(s):
                                                          State(s)
   Georgia                       Illinois                      Maine                     New York
   North Carolina                Rhode Island                  West VIrginia

Information required to complete this Schedule, If not shown above, will be shown In the Declarations.



A. The following provisions are added to the Buslnes-                          coverage available to you and with
   sowners Polley, Business Provider Polley and Con-                           revisions that:
   tractors Policy and apply to Property and Liability
                                                                               (a) Increase our statutory percentage
   Coverages:
                                                                                   deductible under the Program for
    1.   Applicability Of The Provisions Of This                                   terrorism losses. (That deductible
         Endorsement                                                               determines the amount of all cer·
                                                                                   tiffed terrorism losses we must pay
         a.   The provisions of this endorsement become                            In a calendar year, before the
              applicable commencing on the date when                               federal government shares In sub·
              anyone or more of the following first occurs.                        sequent payment of certified ter·
              But if your policy (meaning the policy period                        rorlsm losses.); or
              In which this endorsement applies) begins                        (b) Decrease the federal government's
              after such date, then the provisions of this                         statutory percentage share In
              endorsement become applicable on the                                 potential terrorism losses above
              date your policy begins.                                             such deductible; or

              (1) The federal Terrorism Alsk Insurance                         (c) Redefine terrorism or make In·
                 Program ("Program"), established by                               surance coverage for terrorism
                 the Terrorism Risk Insurance Act, has                             subject to provisions or require-
                 terminated with respect to the type of                            ments that differ from those that
                 Insurance provided under this                                     apply to other types of events or
                 Coverage Form; or                                                 occurrences under this policy.
                                                                      b.   If the provisions of this endorsement be·
              (2) A renewal, extension or replacement of                   come applicable, such provisions:
                 the Program has become effective
                 wfthout a requirement to make terrorism                   (1) Supersede any terrorism endorsement

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Cas. 6361 (6-06)                        Office, Inc., 2006, with Its permission.                          Page 1 of 4
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                   already endorsed to this policy that ad-       Coverage Form or Contractors Special Property
                   dresses "certified acts of terrorism"          Coverage Form:
                   and/or "other acts of terrorism", but
                   only with respect to loss or Injury or         1.    EXCLUSION OF TERRORISM
                   damage from an incldent(s) of terrorism               We will not pay for foss or damage caused direct-
                   (however defined) that occurs on or                   ly or Indirectly by "terrorism". Including action In
                   after the date when the provisions of this            hindering or defending against an actual or ex-
                   endorsement become applicable; and                    pected incident of "terrorism". Such loss or
                                                                         damage Is excluded regardless of any other
               (2) Remain applicable unless we notify you
                                                                         cause or event that contributes concurrently or
                   of changes In these provisions, In                    In any sequence to the loss. But this exclusion
                   response to federal law.                              applies only when one or more of the following
                                                                       ' are attributed to an Incident of "terrorism":
        c.    If the provisions of this endorsement do
              NOT become applicable, any terrorism en-                  a.   The "terrorism" is carried out by means of
              dorsement already endorsed to this policy,                     the dispersal or application of radioactive
              that addresses "certified acts of terrorism"                   material, or through the use of a nuclear
              and/or "other acts of terrorism", will con-                    weapon or device that Involves or produces
              tinue In effect unless we notify you of chan-                  a nuclear reaction, nuclear radiation or
              ges to that endorsement In response to                         radioactive contamination; or
              federal law.
                                                                        b.   Radioactive material Is released, and It ap·
    2. The following definition is added and applies                         pears that one purpose of the "terrorism"
       under this endorsement wherever the term ter-                         was to release such material; or
       rorism Is enclosed in quotation marks.
                                                                        c.   The "terrorism" Is carrled.out by means of
        "Terrorism" means activities against persons,                        the dispersal or application of pathogenic
        organizations or property of any nature:                             or poisonous biological or chemical
                                                                             materials; or
        a.    That Involve the following or preparation for
                                                                        d. Pathogenic or poisonous biological or
              the following:
                                                                           chemical materials are released, and it ap-
              (1) Use orthreat of force or violence; or                    pears that one purpose of the "terrorism"
                                                                           was to release such materials; or
              (2) Commission or threat of a dangerous
                                                                        e.   The total of Insured damage to ail types of
                  act; or
                                                                             property In the United States, Its territories
              (3) Commission or threat of an act that                        and possessions, Puerto Rico and Canada
                  Interferes with or disrupts an electronic,                 exceeds $25,000,000. In determining
                  communication, Information, or                             whether the $25,000,000 threshold is ex-
                  mechanical system; and                                     ceeded, we will Include all insured damage
                                                                             sustained by property of all persons and
        b. When one or both of the following applies:                        entitles affected by the "terrorism" and busi-
                                                                             ness Interruption losses sustained by
              (1) The effect Is to Intimidate or coerce a                    owners or occupants of the damaged
                  government orthe civilian population or                    property. For the purpose of this provision,
                  any segment thereof, or to disrupt any                     Insured damage means damage that Is
                  segment of the economy; or                                 covered by any Insurance plus damage that
                                                                             would be covered by any Insurance but for
              (2) it appears that the Intent Is to Intimidate                the application of any terrorism exclusions.
                  or coerce a government, or to further                      Multiple Incidents of "terrorism" which
                  political, Ideological, religious, social or               occur within a 72-hour period and appear
                  economic obJectives or to express (or                      to be carried out In concert or to have a
                  express opposition to) a philosophy or                     related purpose or common leadership will
                  Ideology.                                                  be deemed to be one Incident, for the pur-
                                                                             pose of determining whether the threshold
B. The following provisions are added to Buslnes-                            Is exceeded.
   sowners Standard Property Coverage Form,
   Buslnessowners Special Property Coverage Form,                            With respect to this Item 1.e., the Immediately
   Business Provider Standard Property Coverage                              preceding paragraph describes the threshold
   Form, Business Provide~ Special Property                                  used to measure the magnitude of an Incident


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             of "terrorism" and the circumstances In which          caused directly or Indirectly by "terrorism", in-
             the threshold will apply, for the purpose of           cluding action In hindering or defending against
             determining whether this Exclusion will apply          an actual or expected Incident of "terrorism".
             to that Incident. When the Exclusion applies to        "Any Injury or damage" Is excluded regardless
             an incident of "terrorism", there Is no coverage       of any other cause or event that contributes
             under this Coverage Form.                              concurrently or in any sequence to such Injury
                                                                    or damage. But this exclusion applies only when
    2.   Exception Covering Certain Fire Losses
                                                                    one or more of the following are attributed to an
         The following exception to the Exclusion Of                Incident of "terrorism":
         Terrorism applies only If Indicated and as Indi-
                                                                    a. The "terrorism" Is carried out by means of
         cated In the Schedule of this endorsement.
                                                                       the dispersal or appllc~tlon of radioactive
         If "terrorism" results In fire, we will pay for the           material, or through the use of a nuclear
         loss or damage caused by that fire, subject to                weapon or device that Involves or produces
         all applicable policy provisions including the                a nuclear reaction, nuclear radiation or
         Umlt of Insurance on the affected property.                   radioactive contamination; or
         Such coverage tor fire applies only to direct loss         b.   Radioactive material Is released, and It ap-
         or damage by fire to Covered Property. There-                   pears that one purpose of the "terrorism"
         fore, for example, the coverage does not apply                  was to release such material; or
         to Insurance provided under Business Income
         and/or Extra Expense coverages or endorse-                 c.   The "terrorism" Is carried out by means of
         ments that apply to those coverages.                            the dispersal or application of pathogenic
                                                                         or poisonous biological or chemical
    3.   Application Of Other Exclusions
                                                                         materials; or
         a. When the Exclusion Of Terrorism applies In
                                                                    d.   Pathogenic or poisonous biological or
            accordance with the terms of Paragraph                       chemical materials are released, and It ap-
            1.a. or 1.b., such exclusion applies without                 pears that one purpose of the "terrorism"
            regard to the Nuclear Hazard Exclusion In                    was to release such materials; or
            this Coverage Form.
                                                                    e.   The total of Insured damage to all types of
         b. The terms and limitations of any terrorism                   property exceeds $25,000,000. In determin-
             exclusion, or the Inapplicability or omission
                                                                         Ing whether the $25,000,000 threshold Is ex-
             of a terrorism exclusion, do not serve to
                                                                         ceeded, we will Include all Insured damage
             create coverage for any foss or damage
                                                                         sustained by property of all persons and en-
             which woufd otherwise be excluded under
                                                                         titles affected by the "terrorism" and business
             this Coverage Form as losses excluded by
                                                                         Interruption losses sustained by owners or
             the Nuclear Hazard Exclusion or the War
                                                                         occupants of the damaged property. For the
             And Military Action Exclusion.
                                                                         purpose of this provision, Insured damage
C. The following provisions are added to Buslnes·                        means damage that Is covered by any In-
   sowners Liability Coverage Form, Business                             surance plus damage that would be covered
   Provider Liability Coverage Form or Contractors                       by any Insurance but for the application of any
   Liability Coverage Form:                                              terrorism exclusions; or

    1. The following definition is added and applies                f.   Fifty or more persons sustain death or
         under this endorsement wherever the phrase                      serious physical injury. For the purposes of
         any Injury or damage, Is enclosed In quotation                  this provision, serious physical Injury
         marks:                                                          means:

         "Any Injury or damage" means any Injury or                      (1) Physical InJury that Involves a substan-
         damage covered under this Coverage Form or                          tial risk of death; or
         any applicable endorsement, and Includes but
                                                                         (2) Protracted and obvious physical dis-
         Is not limited to "bodily Injury", "property
                                                                             figurement; or
         damage" or "personal and advertising Injury",
         as may be defined under this Coverage Form or                   (3) Protracted loss of or Impairment of the
         any applicable endorsement.                                         function of a bodily member or organ.
   2.    The following exclusion Is added:                          Multiple Incidents of "terrorism" which occur
                                                                    within a 72-hour period and appear to be car-
   EXCLUSION OF TERRORISM
                                                                    ried out In concert or to have a related purpose
         We will not pay for "any Injury or damage"                 or common leadership will be deemed to be one


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          Incident, for the purpose of determining                 this Exclusion will apply to that Incident. When
          whetherthe thresholds In Paragraphs 2.e. or 2.f.         the Exclusion applies to an Incident of "ter-
          are exceeded.                                            rorism", there Is no coverage under this
                                                                   Coverage Form.
          With respect to this Exclusion, Paragraphs 2.e.
          and 2.f. describe the threshold used to measure          In the event of any Incident of "terrorism" that Is
          the magnitude of an incident of "terrorism" and          not subject to this Exclusion, coverage does not
          the circumstances In which the threshold will            apply to "any Injury or damage" that Is other-
          apply, for the purpose of determining whether            wise excluded under this Coverage Form.




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         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
   LIMITED EXCLUSION OF ACTS OF TERRORISM (OTHER THAN CERTIFIED
     ACTS OF TERRORISM); CAP ON LOSSES FROM CERTIFIED ACTS OF
           TERRORISM; COVERAGE FOR CERTAIN FIRE LOSSES


 This endorsement modifies Insurance provided under the following:

    BUSINESSOWNERS STANDARD PROPERTY COVERAGE FORM
    BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
    BUSINESS PROVIDER STANDARD PROPERTY COVERAGE FORM
    BUSINESS PROVIDER SPECIAL PROPERTY COVERAGE FORM
    CONTRACTORS SPECIAL PROPERTY COVERAGE FORM

                                                        SCHEDULE

 The Exception Covering Certain Fire Losses (Paragraph C.) applies to property located In the following state(s):
                                                          State(s)
    Georgia                              Illinois                                   Maine
    New York                             North Carolina                             Rhode Island
    Virginia                             West VIrginia




The following provisions are addecf to Buslnessowners                         conduct of the United States Government by
Standard Property Coverage Form, Businessowners Spe·                          coercion.
cfal Proper1y Coverage Form. Business Provider Stand·
                                                                     2.   "Other act of terrorism" means a violent act or an
ard Property Coverage Form, Business Provider Special
                                                                          act that Is dangerous to human life, property or
Property Coverage Form or Contractors Special Property
                                                                          Infrastructure that Is committed by an Individual
Coverage Form:
                                                                          or Individuals and that appears to be part of an
A. The following definitions are added with respect to                    effort to coerce a civilian population or to Influence
   the provisions of this endorsement:     ·                              the policy or affect the conduct of any government
                                                                          by coercion, and the act is not certified as a
    1.   "Certified act of terrorism" means an act tllat Is               terrorist act pursuant to ti16 federal Terrorism Risk
         certified by the Secretary of the Treasury, In                   Insurance Act. However, "other act of terrorism"
         concurrence with the Secretary of State and the                  does not Include an act which meets the criteria
         Attorney General of tile United States, to be an                 set forth In Paragraph b. of the definition of "cer-
         act of terrorism pursuant to the federal Ter·                    tified act of terrorism", when such act resulted in
         rorlsm Rlsl< Insurance Act. The criteria con-                    aggregate losses of $5 million or less.
         tained In that Act for a "certified act of terrorism"
         Include the following:                                  B. The following exclusion Is added:
                                                                     EXCLUSION OF AN "OTHER ACT OF TERRORISM"
         a. The act resulted In aggregate losses In ex-
             cess of $5 million; and                                 We will not pay for loss or damage caused directly
                                                                     or Indirectly by an "other act of terrorism". Such loss
         b. The act Is a violent act or an act that Is               or damage Is excluded regardless of any other
            dangerous to human life, property or in-                 cause or event that contributes concurrently or In
            frastructure and Is committed by an Individual           any sequence to the loss. But this exclusion applies
            or Individuals acting on behalf of any foreign           only when one or more of the following are attributed
            person or foreign interest, as part of an effort         to such act:
            to coerce tile cfvillan population of the United
            States or to inHuence the policy or affect the           1. The terrorism Is carried out by means of the



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          dispersal or application of pathogenic or                     "other act of terrorism", there Is no coverage
          poisonous biological or chemical materials; or                under this Coverage Form or Polley.

     2.   Pathogenic or poisonous biological or chemical        C. Exception Covering Certain Fire Losses
          materials are released, and it appears that one
                                                                   The following exception to the Exclusion of Ter-
          purpose of the terrorism was to release such
                                                                   rorism applies only If Indicated and as indicated In
          materials; or
                                                                   the Schedule of this endorsement.
    3.    The total of Insured damage to all types of              If an "other act of terrorism" results In fire, we will
           property In the United States, its territories and      pay for the loss or damage caused by that fire. Such
          possessions, Puerto Rico and Canada exceeds              coverage for fire applies only to direct loss or
          $25,000,000. In determining whether the                  damage by fire to Covered Property. Therefore, for
          $25,000,000 threshold Is exceeded, we will In-           example. the exception does not apply to Insurance
          clude all Insured damage sustained by property           provided under Business Income and/or Extra Ex-
          of all persons and entities affected by the ter-         pense Additional Coverages.
          rorism and business interruption losses sus-
          tained by owners or occupants of the damaged          D. Cap On Certified Terrorism Losses
          property. For the purpose of this provision,
                                                                   With respect to any one or more "certified acts of
          insured damage means damage that Is covered
                                                                   terrorism" under the federal Terrorism Risk In-
          by any insurance plus damage that would be
                                                                   surance Act, we will not pay any amounts for which
          covered by any insurance but for the applica-
                                                                   we are not responsible under the terms of that Act
          tion of any terrorism exclusions. Multiple Inci-
                                                                   (Including subsequent action of Congress pursuant
          dents of "other acts of terrorism" which occur
                                                                   to the Act) due to the application of any clause which
          within a 72-hour period and appear to be car-
                                                                   results In a cap on our liability for payments for
          ried out In concert or to have a related purpose
                                                                   terrorism losses.
          or common leadership will be deemed to be one
          incident.                                             E. Application Of Other Exclusions

          With respect to this Item 8.3., the Immediately           The terms and limitations of any terrorism exclusion,
          preceding paragraph describes the threshold              -or the Inapplicability or omission of a terrorism
          used to measure the magnitude of an "other act            exclusion, do not serve to create coverage for any
          of terrorism" and the circumstances ·1n which             loss which would otherwise be excluded under this
          the threshold will apply, for the purpose of deter-       Coverage Form or Policy, such as losses excluded
          mining whether this exclusion will apply to that          by the Nuclear Hazard Exclusion or the War And
          Incident. When the exclusion applies to an                Military Action Exclusion.




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                                                                                            BUSINESSOWNERS


                              BUSINESSOWNERS SPECIAL
                              PROPERTY COVERAGE FORM

SUMMARY AND TABLE OF CONTENTS
This Summary Is Intended to be used as a guide and does not provide Insurance coverage. Actual policy coverages
and conditions can be found In the policy In sections A. through H.
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    1. Covered Property                                                                                3
    2. Property Not Covered                                                                            4
    3. Covered Causes of Loss                                                                          4
    4. Limitations                                                                                     4
    5, Additiona I Coverages                                                                           5
        a. Debris Removal                                          25% of Loss plus $25,000            5
        b. Preservation of Property                                                 45 days            5
       c. Fire Department Service Charge                                             $2,500            5
       d. Collapse                                                                 Included            6
       e. Water Damage, Other liquids, Powder or Molten Material Damage            Included            6
       f. Business Income                                             Actual Loss Sustained            6
             Extended Business Income                                               60 days            7
       g. Extra Expense                                              Covered for 12 months             8
       h. Pollutant Clean Up and Removal                                            $25,000            8
       I. Civil Authority                                              Covered for 3 weeks             8
       J. Money Orders and Counterfeit Paper Currency                                $1,000            9
       k. Forgery and Alteration                                                     $2,500            9
       I. Increased Cost of Construction                                            $10,000            9
       m. Exterior Building Glass                                                  Included            10
       n. Equipment Breakdown                                                      Included            10
             Expediting Expenses                                                    $50,000            11
             Hazardous Substances                                                   $50,000            11
            Spoilage                                                                $50,000            11
            Computer Equipment                                                      $50,000            11
             Data Restoration                                                       $50,000            11
            CFC Refrigerants                                                        $50,000            11
            Service I nterruptlon                                                  Included            11
       o. Appurtenant Structures                                               10%/$50,000             12
       p. Back Up of Sewer or Drain Water Damage                           $5,000 I $25,000            12
       q. Dependent Properties- Business Income                                    Included            12
    6.   Coverage Extensions
         a. Newly Acquired or Constructed Property
              Building                                                                  $500,000       13
              Business Personal Property                                                $250,000       13
         b. Personal Property off Premises                                               $15,000       13
         c. Outdoor Property
              Outdoor Trees, Shrubs, Plants, Fences and Antennas                         $10,000       14
              Outdoor Signs                                                               $2,500       14




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                                   BUSINESSOWNERS SPECIAL
                                   PROPERTY COVERAGE FORM

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      and conditions can be found In the policy In sections A. through H.
                                                                                  Limit                   Page
           6.   Coverage Extensions (Continued)
                d. Personal Effects                                    $500 I person up to $10,000              14
                e. Valuable Papers and Records
                     At the described premises.                                             $10,000             14
                     Not at the described premises                                           $2,500             14
                f. Accounts Receivable
                     At the described premises                                              $10,000             15
                     Not at the described premises                                           $2,500             15
                g. Business Income and Extra Expense -Increased Period
                   of Restoration due to Ordinance or Law                                  Included             15
                h. Newly Acquired Locations-- Business Income            Actual Loss Sustained up               15
                                                                                        to $100,000
      B. Exclusions                                                                                             16
      C. Limits of Insurance                                                                                    19
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         1. Outdoor Signs                                                                                       26
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         4. Employee Dishonesty                                                                                 27
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                                BUSINESSOWNERS SPECIAL
                                PROPERTY COVERAGE FORM


Various provisions In this policy restrict coverage.                             ventilating, cooking, dlshwashlng
Read the entire policy carefully to determine rights,                            or laundering;
duties and what Is and Is not covered.
                                                                         (6) If not covered by other Insurance:
Throughout this policy the words "you" and "your"
                                                                             (a} Additions under construction, al·
refer to the Named Insured shown In the Declarations.
                                                                                 teratlons and repairs to the build·
The words "we", "us" and "our" refer to the Company
                                                                                 lngs or structures;
providing this Insurance.
                                                                             (b) Materials, equipment, supplies
Other words and phrases that appear In quotation                                 and temporary structures, on or
marks have speclaf meaning. Refer to Section H -                                 within 1oo feet of the described
Property Definitions.                                                            premises, used for making addi-
A.   COVERAGE                                                                    tions, alterations or repairs to the
                                                                                 buildings or structures.
     We will pay for direct physical loss of or damage
     to Covered Property at the premises described In                    (7) Garages, storage buildings, spas,
     the Declarations caused by or resulting from any                        swimming pools, fences, retaining
     Covered Cause of Loss.                                                  wails or other appurtenant structures
                                                                             usual to your business, but only If:
     1. Covered Property
                                                                             (a) Coverage Is not provided for
        Covered Property, as used In this policy,                                such structures underthe Appur-
        means the type of property as described in                               tenant Structures Additional
        this section, A.1., and limited In A.2., Property                        Coverage; and
        Not Covered, if a Limit of Insurance Is shown
                                                                             {b) Such structures are then described
        In the Declarations for that type of property:
                                                                                 In the Declarations.
        a.   Buildings, meaning the buildings and                    b. Business Personal Property located In or
             structures at the premises described In the
                                                                        on the buildings at the described premises
             Declarations, Including:
                                                                        or In the open (or In a vehicle) within 100
             (1) Completed additions;                                   feet of the described premises, Including:

             (2) Fixtures, Including outdoor fixtures;                   (1) Property you own that Is used In your
                                                                             business;
             (3) Permanently installed:
                                                                         {2} Property of others that Is in your care,
                 (a) Machinery; and                                          custody or control, except as other-
                                                                             wise provided In Loss Payment
                 (b) Equipment;
                                                                             Property Loss Condition E.6.d.(3)(b);
             (4) Your personal property In apartments                    (3) Tenant's Improvements and better-
                 or rooms furnished by you as                                ments. Improvements and betterments
                 landlord;                                                   are fixtures, alterations, Installations or
             (5) Personal property owned by you that                         additions:
                 Is used to maintain or service the                          (a) Made a part of the building or
                 buildings or structures or the                                  structure you occupy but do not
                 premises, Including:                                            own; and
                 (a) Fire extinguishing equipment;                           (b) You acquired or made at your
                 (b) Outdoor furniture;                                          expense but cannot legally
                                                                                 remove; and
                (c) Floor coverings; and
                                                                         (4) Leased personal property for which
                (d) Appliances used for refrigerating,                       you have a contractual responsibility


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                       to Insure, unless otherwise provided                  c.   Limited or excluded In Section E. Property
                       tor under Paragraph A.1.b.(2).                             Loss Conditions or Section F. Property
                                                                                  General Conditions;
        2.    Property Not Covered
                                                                             that follow.
              Covered Property does not Include:
                                                                        4.   Limitations
              a.   Aircraft, automobiles, motortrucks and other
                   vehicles subject to motor vehicle registration;           a.   We will. not pay for loss of or damage to:
              b.   "Money" or "securities" except as                              (1) Property that Is missing, but there Is
                   provided in the:                                                   no physical evidence to show what
                                                                                      happened to It, such as shortage dis-
                   (1) Money and Securities Optional
                                                                                      closed on taking Inventory. This
                       Coverage; or
                                                                                      limitation does not apply to the Op-
                   (2) Employee Dishonesty Optional                                   tiona! Coverage for Money and
                       Coverage;                                                      Securities.
              c.   Contraband, or property In the course of                       (2) Property that has been transferred to
                   illegal transportation or trade;                                   a person or to a place outside the
                                                                                      described premises on the basis of
             d.    Land (including land on which the proper-
                                                                                      unauthorized Instructions.
                   ty Is located), water, growing crops or
                   lawns;                                                         (3) The Interior of any building or struc·
                                                                                      ture caused by or resulting from rain,
             e.    Outdoor fences, radio or television anten-
                                                                                      snow, sleet, Ice, sand or dust, whether
                   nas (Including satellite dishes) and their
                                                                                      driven by wind or not, unless:
                   lead-In wiring, masts or towers, signs,
                   trees, shrubs, plants or lawns, all except                         (a) The building or structure first sus-
                   as provided In the:                                                    talns damage by a Covered
                                                                                          Cause of Loss to its roof or walls
                   (1) Outdoor Property Coverage Exten-
                                                                                          through which the rain, snow,
                       slon; or
                                                                                          sleet, Ice, sand or dust enters; or
                   (2) Outdoor Signs Optional Coverage;
                                                                                      (b) The loss or damage Is caused by
             f.    Watercraft (including motors, equipment                                or results from thawing of snow,
                   and accessories) while afloat.                                         sleet or Ice on the building or
                                                                                          structure.
             g.    Property that Is covered under another
                   coverage form of this or any other policy                      (4) Spas, outdoor swimming pools andre-
                   in which it Is more specifically described,                        fated equipment, retaining walls, pave-
                   except for the excess of the amount due                            ments, bulkheads, pillars, wha!Ves or
                   (whether you can collect It or not) from                           docks caused by freezing or thawing,
                   that other Insurance;                                              Impact of watercraft, or by the pressure
                                                                                      or weight of Ice or water whether driven
             h. The cost to research, replace or restore
                                                                                      by wind or not.
                the Information on "valuable papers and
                records", Including those which exist on                     b. With respect to glass (other than glass
                electronic media or records, except as                          building blocks) that Is part of the Interior
                provided In the Valuable Papers Coverage                        of a building or structure, or part of an
                Extension;                                                      outdoor sign, we will not pay more than
                                                                                $500 for the total of all loss or damage In
             I.    Grain, hay, straw or other crops while
                                                                                any one occurrence. Subject to the $500
                   outside of buildings; or
                                                                                limit on all loss or damage, we will not pay
             j.    Exterior building glass, except as                           more than $100 for each plate, pane, mul-
                   provided In the Exterior Building Glass                      tlpfe plate Insulating unit, radiant or solar
                   Additional Coverage.                                         heating panel, jalousie, louver or shutter.
       3.    Covered Causes Of Loss                                               This Limitation does not apply to loss or
                                                                                  damage by the "specified causes of loss",
             Risks Of Direct Physical Loss unless the loss Is:
                                                                                  except vandalism.
             a. · Excluded In Section B., Exclusions;
                                                                             c.   We will not pay for loss of or damage to
             b.    Limited In Paragraph A.4., Limitations; or                     fragile articles such as glassware,


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              statuary, marbles, chlnaware and por-                         (3) This Additional Coverage does not
              celains, If broken, unless caused by the                          apply to costs to:
              "specified causes of loss" or building
              glass breal<age. This restriction does not                         (a) Extract "Pollutants" from land or
              apply to:                                                              water;
                                                                                 {b) Remove, restore or replace pol-
             (1) Glass that Is part of the Interior of a
                                                                                     luted land or water; or
                   building or structure;
                                                                                 (c) Extract "pollutants" from Covered
             (2) Containers of property held for sale; or                            Property.·
             (3) Photographic or scientific instrument                      (4) If:
                 lenses.
                                                                                 (a) The sum of direct physical loss or
        d.   For Joss or damage by theft, the following                              damage and debris removal ex-
             types of property are covered only up to                                pense exceeds the Limit of In-
             the llmlts shown:                                                       surance; or

             (1) $2,500 for furs, fur garments and gar-                          (b) The debris removal expense ex-
                 ments trimmed with fur.                                             ceeds the amount payable under
                                                                                     the 25% Debris Removal Coverage
             (2) $2,500 for Jewelry, watches, watch                                  limitation in Paragraph (2) above,
                 movements, jewels, pearls, precious
                 and semi-precious stones, bullion,                             we will pay up to an additional
                 gold, silver, platinum and other pre-                          $25,000 for each location In any one
                 cious alloys or metals. This limit does                        occurrence under the Debris Removal
                 not apply to jewelry and watches                               Additional Coverage.
                 worth $250 or less per item.                          b.   Preservation Of Property
             (3) $2,500 for patterns, dies, molds and                       If It Is necessary to move Covered Proper·
                 forms.                                                     ty from the described premises to
                                                                            preserve It from loss or damage by a
    5. Additional Coverages
                                                                            Covered Cause of Loss, we will pay for any
        a.   Debris Removal                                                 direct physical loss of or damage to that
                                                                            property:
             (1) We will pay your expense to remove
                                                                            (1) While It Is being moved or while tem-
                 debris of Covered Property caused by
                                                                                porarlly stored at another location; and
                 or resulting from a Covered Cause of
                 Loss that occurs during the policy                         (2) Only if the loss or damage occurs
                 period, The expenses will be paid                              within 45 days after the property Is first
                 only If they are reported to us In writ-                       moved.
                 Ing within 180 days of the date of
                 direct physical loss or damage.                            This Preservation of property Additional
                                                                            Coverage will not Increase the Limits of
             (2) The most we will pay under this Addi-                      Insurance provided by this policy.
                tional Coverage Is 25% of:
                                                                      c.    Fire Department Service Charge
                 (a) The amount we pay for the direct
                                                                            When the fire department Is called to save
                     physical Joss of or damage to
                                                                            or protect Covered Property from a
                     Covered Property; plus
                                                                            Covered Cause or Loss, we will pay up to
                (b) The deductible in this policy ap-                       $2,500 for your liability for fire department
                      pllcabl¥ to that loss or damage.                      service charges:
                                                                            {1) Assumed by contract or agreement
                This Debris Removal Additional
                                                                                prior to foss, or
                Coverage will not increase the Limits
                of Insurance provided by this policy.                       (2) Required by local ordinance.
                But this limitation does not apply to                       The Fire Department Service Charge Ad-
                any additional debris removal limit                         ditional Coverage Is in addition to the
                provided In Paragraph (4) below.                            Limits of Insurance.


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               No ded uctlble applies to this Fire Department                    (c) Yard fixtures;
               Service Charge Additional Coverage.
                                                                                 (d) Outdoor swimming pools;
         d.    Collapse
                                                                                 {e) Piers, wharves and docks;
                (1) We will pay for direct physical loss or
                                                                                 (t)   Beach or diving platforms or ap-
                    damage to Covered Property, caused
                                                                                       purtenances;
                    by collapse of a building or any part
                    of a building Insured under this policy,                     (g) Retaining walls; and
                    if the collapse rs caused by one or
                    more of the following:                ·                      (h) Walks, roadways and other paved
                                                                                     surfaces;
                    (a) The "specified cause of loss" or
                                                                                 if the collapse Is caused by a cause of
                        breakage of building glass, all
                                                                                 loss listed in d.(1 )(b) through d.(1 )(f),
                        only as Insured against In this
                                                                                 we will pay for loss or damage to that
                        policy;
                                                                                 property only If such Joss or damage
                    (b) Hidden decay;                                            is a direct result of the collapsG of a
                                                                                 building Insured under this policy and
                    (c) Hidden Insect or vermin damage;                          the property Is Covered Property
                   (d) Weight of people or personal                              under this policy.
                       property;                                             (4) Collapse does not include settling, crack-
                                                                                 Ing, shrinkage, bulging or expansion.
                   (e) Weight of rain that collects on a
                       roof;·                                           e.   Water Damage, Other Liquids, Powder
                                                                             Or Molten Material Damage
                   (f) Use of defective material or
                        methods in construction,                             If loss or damage caused by or resulting
                        remodeling or renovation If the                      from covered water or other liquid, pow-
                       collapse occurs during the                            der or molten material damage loss oc-
                       course of the construction,                           curs, we will also pay the cost to tear out
                        remodeling or renovation. How-                       and replace any part of the building or
                       ever, if the collapse occurs after                    structure to repair damage to the system
                       construction, remodeling or                           or appliance from which the water or other
                       renovation Is complete and is                         substance escapes.
                       caused In part by a cause of loss
                                                                             We will not pay the cost to repair any
                       listed In d.{1 )(a) through d.(1 )(e),
                                                                             defect that caused the loss or damage,
                       we will pay for the loss or
                                                                             except as covered under Additional
                       damage even If use of defective
                                                                             Coverage n., Equipment Breakdown; but
                       material or methods in construc-
                                                                             we will pay the cost to repair or replace
                       tion, remodeling or renovation,
                                                                             damaged parts of fire extinguishing equip-
                       contributes to the collapse.
                                                                             ment If the damage:
               {2) If the direct physical loss or damage
                                                                             (1) Results in discharge of any substance
                   does not Involve collapse of a building
                                                                                 from an automatic fire protection sys-
                   or any part of a building, we will pay
                                                                                 tem; or
                   for loss or damage to Covered Proper-
                   ty caused by the collapse of personal                     (2) Is directly caused by freezing.
                   property only If:
                                                                             This Water Damage Additional Coverage
                   (a) The personal property which col-                      will not Increase the Limits of Insurance
                       lapses Is Inside a building Insured                   provided In this policy.
                       under this policy; and
                                                                       f.    Business Income
                  (b) The collapse was caused by a                           (1) Business Income
                      cause of loss listed In d.(1)(a)
                      through d.(1 )(f) above.                                  We will pay for the actual loss of Busi-
                                                                                ness Income you sustain due to the
              (3) With respect to the following property:                       necessary suspension of your "opera-
                  (a) Awnings;                                                  tions" during the "period of restora·
                                                                                tlon". The suspension must be
                  (b) Gutters and downspouts;                                   caused by direct physical Joss of or

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               damage to property at the described                          (b) Executives;
               premises. The loss or damage must
               be caused by or result from a Covered                        (c) Department Managers;
               Cause of loss. With respect to loss of                       (d) Employees under contract; and
               or damage to personal property in the
               open or personal property in a                               (e) Additional Exemptions shown In
               vehicle, the described premises In-                              the Declarations as:
               clude the area within 100 feet of the
                                                                                (I) Job Classifications; or
               site at which the described premises
               are located.                                                     (II) Employees.
               With respect to the requirements set                         Ordinary payroll expenses Include:
               forth in the preceding paragraph, If
               you occupy only part of the site at                          (a) Payroll;
               which the described premises are lo-                         (b) Employee benefits, if directly re-
               cated, your premises means:                                      lated to payroll;
               (a) The portion of the building which                        (c) FICA payments you pay;
                   you rent, lease or occupy; and
                                                                            (d) Union dues you pay; and
               (b) Any area within the building or on
                   the site at which the described                          (e) Workers' compensation premiums.
                   premises are located, If that area
                                                                        (2) Extended Business Income
                   services, or is used to gain access
                   to, the described premises.                              If the necessary suspension of your
                                                                            "operations" produces a Business In·
               We will only pay for loss of Business
                                                                            come loss payable under this policy,
               Income that you sustain during the
                                                                            we will pay for the actual loss of Busl·
               "period of restoration" and that oc-
                                                                            ness Income you Incur during the
               curs within 12 consecutive months
                                                                            period that:
               after the date of direct physical loss or
               damage. We will only pay for ordinary                        (a) Begins on the date property ex·
               payroll expenses for 60 days following                           cept finished stock Is actually
               the date of direct physical Joss or                              repaired, rebuilt or replaced and
               damage.                                                          "operations" are !esumed; and
               Business Income means the:                                   (b) Ends on the earlier of:
                   (I) Net income (Net Profit or loss                           (I) The date you could restore
                       before Income taxes) that                                    your "operations", with
                       would have been earned or                                    reasonable speed, to the Ieve I
                       Incurred If no physical loss or                              which would generate the
                       damage had occurred, but                                     Business Income amount that
                       not Including any Net Income                                 would have existed If no direct
                       that would likely have been                                  physical loss or damage had
                       earned as a result of an In-                                 occurred, or
                       crease In the volume of busi-
                       ness due to favorable                                    (II) 60 consecutive days after the
                       business conditions caused                                    date determined In (2)(a)
                       by the Impact of the Covered                                  above.
                       Cause of Loss on customers                           However, Extended Business Income
                       or on other businesses; and                          does not apply ·to loss of Business
                   (II) Continuing normal operating                         Income Incurred as a result of un-
                        expenses Incurred, Including                        favorable business conditions caused
                        payroll.                                            by the impact of the Covered Cause
                                                                            of Loss In the area where the
               Ordinary payroll expenses mean                               described premises are located.
               payroll expenses for all your
                                                                            Loss of Business Income must be
               employees except:
                                                                            caused by direct physical loss or
               (a) Officers;                                                damage at the described premises


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                  caused by or resulting from any                                        damaged "valuable papers
                  Covered Cause of Loss.                                                 and rfi!cords":
        This Business Income Additional Coverage Is                                 to the extent it reduces the amount
        not subject to the Limits of Insurance.                                     of loss that otherwise would have
                                                                                    been payable under this Additional
        g.     Extra Expense
                                                                                    Coverage or Additional Coverage f.
               (1) We will pay necessary Extra Expense                              Business Income.
                  you Incur during the "period of res-
                                                                            We will only pay for Extra Expense that
                  toration" that you would not have In-
                                                                            occurs within 12 consecutive months after
                  curred If there had been no direct
                                                                            the date of direct physical loss or damage.
                  physical Joss or damage to property
                  at the described premises. The loss                       This Extra Expense Additional Coverage
                  or damage must be caused by or                            Is not subject to the Limits of Insurance.
                  result from a Covered Cause of Loss.
                  With respect to loss of or damage to                 h.   Pollutant Clean Up And Removal
                  personal property In the open or per-                     We will pay your expense to extract "pol·
                  sonal property In a vehicle, the                          Jutants" from land or water at the
                  described premises Include the area                       described premises if the discharge, dis-
                  within 100 feet of the site at which the                  persal, seepage, migration, release ores-
                  described premises are located.                           cape of the "pollutants" Is caused by or
                  With respect to the requirements set                      results from a Covered Cause of Loss that
                  forth In the preceding paragraph, if                      occurs during the policy period. The ex-
                  you occupy only part of the site at                       penses will be paid only If they are
                  which the described premises are lo-                      reported to us In writing within 180 days
                  cated, your premises means:                               of the date on which the Covered Cause
                                                                            of Loss occurs.
                  (a) The portion of the building which
                      you rent, lease or occupy; and                        This Pollutant Clean Up And Removal Ad-
                                                                            ditional Coverage does not apply to:
                  (b) Any area within the building or on
                      the site at which the described                       (1) Costs to test for, monitor or assess the
                      premises are located, If that area                        existence, concentration or effects o(·
                      services, or Is used to gain access                       "pollutants"; or
                      to, the descr.fbed premises.
                                                                            (2) Any penalties or assessments that
               (2) Extra Expense means expense                                  may be charged against you due to
                  incurred:                                                     any statute, regulation or ordinance.

                  (a) To avoid or minimize the suspen-                      But we will pay for testing which is per-
                      sion of business and to continue                      formed in the course of extracting the
                      "operations":                                         "pollutants" from land or water.
                      (i) At the described premises; or                     The most we will pay for each location
                                                                            under this Acldltlonal Coverage Is $25,000
                      (il} At replacement premises or at                    for the sum of all such expenses arising
                            temporary locations, includ-
                                                                            out of Covered Causes of Loss occurring
                            Ing relocation expenses, and
                                                                            during each separate 12 month period of
                            costs to equip and operate
                                                                            this policy.
                            the replacement or temporary
                            locations.                                      The llmit for this Pollutant Clean Up And
                                                                            Removal Additional Coverage Is In addi-
                  (b) To minimize the suspension of
                                                                            tion to the Limits of Insurance.
                      business If you cannot continue
                      "operations".                                    I.   Civil Authority
                  (c) To:                                                   We will pay for the actual loss of Business
                                                                            Income you sustain and necessary Extra
                     (I)    Repair or replace any proper-
                                                                            Expense caused by action of civil
                            ty; or
                                                                            authority that prohibits acces.s to the
                     (li) Research, replace or restore                      described premises due to direct physical
                          the lost Information on                           loss of or damage to property, other than


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             at the described premises, caused by or                         (2) If you are sued for refusing to pay the
             resulting from any Covered Cause of Loss.                           check, draft, promissory note, bill of
                                                                                 exchange or similar written promise of
             The coverage for Business Income will
                                                                                 payment In "money", on the basis that
             begin 72 hours after the time of that action
                                                                                 It has been forged or altered, and you
             and will apply for a period of up to three
                                                                                 have our written consent to defend
             consecutive weeks after coverage begins.
                                                                                 against the suit, we will pay for any
             The coverage for necessary Extra Ex-                                reasonable legal expenses that you
             pensewill begin Immediately afterthe time                           incur In that defense.
             of that action and ends:
                                                                             (3) The most we will pay for any loss,
             (1) 3 consecutive weeks after the time of                           Including legal expenses, under this
                 that action; or                                                 Additional Coverage Is $2,500.

             (2) When    your Business          Income                       (4} The limit for this Forgery and Altera-
                 coverage ends;                                                  tion Additional Coverage is In addition
                                                                                 to the Limits of Insurance.
             whichever Is later.
                                                                        I.   Increased Cost Of Construction
             The definitions of Business Income and
             Extra Expense contained In the Business                         (1) This Additional Coverage applies only
             Income and Extra Expense Additional                                 to buildings Insured on a replacement
             C_overages also apply to this Civil                                 cost basis.
             Authority Additional Coverage.                                  (2} In the event of damage by a Covered
             This Civil Authority Additional Coverage is                         Cause of Loss to a building that is
             not subject to the Limits of Insurance.                             Covered Property, we will pay the In·
                                                                                 creased costs Incurred to comply with
        J.   Money Orders And Counterfeit Paper                                  enforcement of an ordinance or law In
             Currency                                                            the course of repair, rebuilding or re-
             We will pay for loss due to the good faith                          placement of damaged parts of that
             acceptance of:                                                      property, subject to the limitations
                                                                                 stated in 1.(3) through 1.(9) of this Ad·
             (1) Any U.S. or Canadian post office, ex-                           dltlonal Coverage.
                 press company, or national or state
                 (or Canadian) chartered bank money                          (3) The ordinance or law referred to In 1.(2)
                 order that Is not paid upon presenta-                           of this Additional Coverage Is an or-
                                                                                 dinance or law that regulates the con·
                 tion to the Issuer; or
                                                                                 structlon or repair of buildings or
             (2) Counterfeit United States or Canadian                           establishes zoning or land use require·
                 paper currency;                                                 ments at the described premises, and
                                                                                 is In force at the time of loss.
             In exchange for merchandise, "money" or
             services or as part of a normal business                        (4) Under this Additional Coverage, we
             transaction;                                                        will not pay any costs due to an or·
                                                                                 dlnance or law that:
             The most we will pay for any loss under
             this Additional Coverage Is $1,000.                                 (a) You were required to comply with
                                                                                     before the loss, even when the
             The limit for this Money Orders and
                                                                                     building was undamaged; and
             Counterfeit Paper Currency Additional
             Coverage Is In addition to the Limits of                            (b) You failed to comply with.
             Insurance.
                                                                             (5) Under this Additional Coverage, we
       k. Forgery And Alteration                                                 will not pay any costs associated with
                                                                                 the enforcement of an ordinance or
             (1) We will pay for loss resulting directly                         law which requires any Insured or
                from forgery or alteration of, any                               others to test for, monitor, clean up,
                check, draft, promissory note, bill of                           remove, contain, treat, detoxify or
                exchange or similar written promise of                           neutralize, or In any way respond to,
                payment In "money", that you or your                             or assess the effects of "pollutants".
                agent has Issued, or that was Issued
                by someone who Impersonates you or                           (6) The most we will pay under this Add I·
                your agent.                                                      tlonal Coverage, for each described


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                building Insured under this Coverage                          described premises. The glass must be
                Form, Is $10,000.                                             owned by you, or owned by others but
                                                                              In your care, custody or control. We will
                The amount payable under this Addi-
                                                                              also pay for necessary:
                tional Coverage Is In addition to the
                limit of Insurance.                                           (a) Expenses incurred to put up tem-
            (7) With respect to this Additional                                   porary plates or board up openings;
                Coverage:
                                                                              (b) Repair or replacement of encas-
                (a) We will not pay for the Increased                             Ing frames, and
                    Cost of Construction:
                                                                              (c) Expenses Incurred to remove or
                    (I)   Until the property Is actually                          replace obstructions.
                          repaired or replaced, at the
                          same or another premises; and                   (2) Paragraph A.3., Covered Causes Of
                                                                              loss and Section B., Exclusions do
                    (ii) Unless the repairs or replace-
                                                                              not apply to this Additional Coverage,
                         ment are made as soon as                             except for:
                         reasonably possible after the
                         loss or damage, not to exceed                        (a) Paragraph B.1.b., Earth Movement;
                         two years. We may extend
                         this period In writing during                        (b) Paragraph 8.1 .c., Governmental
                         the two years.                                           Action;
                (b) lf the building Is repaired or                            (c) Paragraph B.1.d., Nuclear Hazard;
                    replaced at the same premises, of
                    If you elect to rebuild at another                        (d) Paragraph B.1.f., War And Military
                    premises, the most we will pay for                            Action; and
                    the Increased Cost of Construc-
                    tion Is the increased cost of con-                        (e) Paragraph B.1.g., Water.
                    struction at the same premises.
                                                                          (3) We will not pay for loss or damage
                (c) If the ordinance or law requires                          caused by or resulting from:
                    relocation to another premises,
                    the most we will pay for the In-                          (a} Wear and tear;
                    creased Cost of Construction Is
                    the Increased cost of construction                        (b) Hidden or latent defect;
                    at the new premises for a building                        (c) .Corrosion; or
                    of like kind and quality and of the
                    same size.                                                (d) Rust.
           (8) This Additional Coverage Is not subject                    (4) The most we pay under this Additional
                to the terms of the Ordinance or Law                          Coverage Is the Building Limit of Jn..
                Exclusion, to the extent that such Ex-                        surance shown In the Declarations.
                clusion would conflict with the
                provisions of this Additional Coverage.                      However, if you are a tenant and no
           (9) The costs addressed In the Loss Pay-                          Limit of Insurance Is shown In the
               ment Property Loss Condition In this                          Declarations for Building property,
               Coverage Form do not Include the                              the most we will pay under this Addi-
               increased cost attributable to enforce~                       tional Cov~rage Is the Tenant's Ex-
               ment of an ordinance or law. The                              terior Building Glass Llmlt of
               amount payable under this Additional                          Insurance shown In the Declarations.
               Coverage, as stated In 1.(6) of this
                                                                     n.   Equipment Breakdown
               Additional Coverage, Is not subject to
               such limitation.                                           (1) We will pay for loss caused by or
       m. Exterior Building Glass                                             resulting from an "accident" to
                                                                              "covered equipment."
           (1) We will pay for direct physical loss of or
               damage to glass, Including lettering or                    (2) The following coverages also apply to
               ornamentation, that Is part ofthe exterior                     loss caused by or resulting from an
               of a covered building or structure at the                      "accident" to "covered equipment."

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                   These coverages do not provide addi-                             {iv) If you are unable to replace
                   tional amounts of Insurance.                                           the "perishable stock" before
                                                                                          Its anticipated sale, the
                   (a) Expediting Expenses
                                                                                          amount of our payment will
                      With respect to your damaged                                        be determined on the basis of
                      Covered Property, we will pay, up                                   the safes price of the "perish-
                      to $50,000, the reasonable extra                                    able stock" at the time of the
                      cost to:                                                            "accident," less discounts
                                                                                          and expenses you otherwise
                      (i) make temporary repairs; and
                                                                                          would have had. Otherwise
                      (ii) expedite permanent repairs                                     our payment will be deter-
                           or permanent replacement.                                      mined In accordance with the
                                                                                          Loss Payment condition.
                   (b) Hazardous Substances
                                                                                    The most we will pay for loss or
                      We will pay for the additional cost
                                                                                    damage under this coverage Is
                      to repair or replace Covered
                                                                                    $50,000.
                      Property because of contamina-
                      tion by a hazardous substance.                            (d) Computer Equipment
                      This Includes the additional ex-
                      penses to clean up or dispose of                              We will pay for loss or damage
                      such property.                                                caused by or resulting from an "ac-
                                                                                    cident" to "computer equipment."
                      Hazardous substance means any
                      substance other than ammonia                                  The most we will pay for Joss or
                      that has been declared to be haz-                             damage under this coverage, in-
                      ardous to health by a governmen-                              cluding actual loss of Business In-
                      tal agency.                                                   come you sustain and necessary
                                                                                    Extra Expense you Incur, Is
                      Additional costs mean those                                   $50,000. Computers used primari-
                      beyond what would have been                                   ly to control or operate "covered
                      required had no hazardous sub-                                equipment" are not subject to this
                      stance been Involved.                                         limit.
                      The mosl we will pay for loss or                          (e) Data Restoration
                      damage under this coverage, In-
                      cluding actual loss of Business                               We will pay for your cost to re-
                      Income you sustain, necessary                                 search, replace and restore data,
                      Extra Expense you Incur and loss                              Including programs and operat-
                      under Spoilage coverage, Is                                   Ing systems, that Is lost or cor-
                      $50,000.                                                      rupted due to an "accident." The
                                                                                    most we will pay for loss or
               (c) Spoilage                                                         damage under thls coverage, Is
                      (I)   We will pay for your loss of                            $50,000.
                            "perishable stock" due to                           (f) CFC Refrigerants
                            spoilage.
                                                                                    We will pay for the additional cost
                      (II) We will also pay for your loss of                        to repair or replace Covered
                            "perishable stock" due to con-                          Property because of the use or
                            tamination from the release of
                                                                                    presence of a refrigerant contain-
                            refrigerant, including but not                          Ing CFC (chlorofluorocarbon)
                            limited to ammonia.                                     substances. This means the addi-
                      (Ill) We will also pay any neces-                             tional expense to do the least ex-
                            sary expenses you Incur to                              pensive of the following:
                            reduce the amount of loss
                                                                                    (I)   Repair the damaged property
                            under' this coverage. We will
                                                                                          and replace any lost CFC
                            pay for such expenses to the
                                                                                          refrigerant;
                            extent that they do not exc·eed
                            the amount of loss that other-                          (II) Repair the damaged proper-
                            wise would have been pay-                                     ty, retrofit the system to ac-
                            able under this coverage.                                     cept a non-FC refrlgerar:Jt and


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                          charge the system with a non-                p.   Back Up Of Sewer Or Drain Water
                          FC refrigerant; or                                Damage
                      (Ill) Replace the system.wlth one.                    (1) For the purpose of this Back Up Of
                            using a non-CFC refrigerant.                        Sewer Or Drain Water Damage Add!-
                                                                                tlonal Coverage the following deflni-
                      Additional costs mean those                               tlon Is added;
                      beyond what would have been
                      required had no CFC refrigerant                           "Flood" means a general and tem-
                      been Involved.                                            porary condition of partial or com-
                                                                                plate Inundation of normally dry land
                      The most we will pay for loss or                          areas from:
                      damage under this coverage, In-
                      eluding actual loss of Business                           (a) The unusual and rapid accumula-
                      Income you sustain, necessary                                 lion or runoff of surface waters
                      Extra Expense you incur and loss                              from any source;
                      under Spoilage coverage, Is                               (b) The overflow of Inland or tidal
                      $50,000.                                                      waters; or
                  (g) Service Interruption                                      (c) Waves, tides or tidal waves.
                      The Insurance provided for Bus!-                      (2) We will pay for loss of or damage to
                      ness Income, Extra Expense and                            Covered Property caused by water
                      Spoilage is extended to apply to                          that backs up from a sewer or drain,
                      loss caused by or resulting from                          sump pump well or similar device
                      an "accident" to equipment that Is                        designed to prevent overflow,
                      owned by a utility, landlord, or                          seepage or leakage of subsurface
                      other supplier with whom you                              water.
                      have a contract to provide you
                                                                                HOWEVER, we will not pay for loss or
                      with any of the following services:
                                                                                damage that results from sewer back-
                      electrical power, communlca-
                                                                                up or sump pump overflow that oc-
                      tlons, waste disposal, air con-
                                                                                curs during the period beginning 10
                      dltlonlng, refrigeration, heating,
                      gas, air, water or steam.
                                                                                days before and ending 1o days alter
                                                                                a "flood" on the Insured pmmlses.
        0.   Appurtenant Structures                                         (3) The most we will pay for loss or
             We will pay for direct physical loss of or                         damage under this coverage Is:
             damage to any separate garages, storage                            (a) $5,000 per building; or
             buildings, swimming pools, spas, fences,
             retaining walls and other appurtenant                              (b) $25,000 in any one policy period,
             structures usual to your business at the                               regardless of the number of losses.
             premises described In the Declarations                         (4) The limit of Insurance that applies to
             caused by or resulting from any Covered                            coverage under this Back Up Of
             Cause of Loss.                                                     Sewer Or Drain Water Damage Acldi-
             The most we will pay for loss or damage                            tlonal Coverage Includes any loss
             under this Appurtenant Structures Adell-                           arising from Business l ncome Add I·
             tiona! Coverage In any one occurrence Is                           tlonal Coverage and Extra Expense
             10% of the Building Limit of Insurance                             Additional Coverage.
             shown In the Declarations for that                             (5) Thellmltforthls Back Up Of Sewer Or
             described premises.                                                Drain Water Damage Additional
                                                                                Coverage Is In addition to the Limits
             HOWEVER, If the value of any one garage,
                                                                                of Insurance.
             storage building, swimming pool, spa,
             fence, retaining wall or other appurtenant               q.    Dependent Properties - Business Income
             structure exceeds $50,000, this Appur-
             tenant Structures Additional Coverage                          (1) We will pay for the actual loss of bus!-
             does not apply to that structure.                                  ness Income you sustain due to the
                                                                                necessary and unavoidable suspen-
             The limit for this Additional Coverage Is In                       slon of your "operations'' during the
             addition to the Limits of Insurance.                               "period of restoration" .. The suspension

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                 must be caused by direct physical loss             Except as otherwise provided, the following
                 of or damage to dependent property                 Extensions apply to property located In or on
                 caused by or resulting from any                    the building described In the Declarations or
                 Covered Cause of Loss.                             in the open (or In a vehicle) within 100 feet of
                                                                    the described premises, unless a higher Limit
            (2) We will only pay for loss of business
                                                                    of Insurance Is shown In the Declarations.
                Income that occurs within 12 con-
                secutive months after the date of                   a.    Newly Acquired or Constructed Property
                direct physical loss or damage.
                                                                          (1) You may extend the Insurance that
             (3) This Additional Coverage Is not sub-                         applies to Buildings to apply to:
                 Ject to the Limits of Insurance.
                                                                              (a) Your new buildings while being bui~
            (4) For the purpose of this additional                                on the described premises; and
                coverage, dependent property means
                                                                              (b) Buildings you acquire at loca-
                property owned or operated by
                                                                                  tions, other than the described
                others, not including any described
                                                                                  premises, Intended for:
                premises, on whom you depend to:
                                                                                 · (i)   Similar use as the building
                (a) Deliver materials or services to
                                                                                         described In the Declara-
                    you, or to others for your account.
                                                                                         tions; or
                    Services does not Include water,
                    steam, fuel, communication, or                                (II) Use as a warehouse.
                    power supply services.
                                                                             The most we will pay for loss or
                (b) Purchase your products or services.                      damage under this Coverage Exten-
                                                                             sion for buildings Is $500,000 for each
                (c) Manufacture products for delivery
                                                                             building.
                    to your customers under contract
                    of sale.                                              (2) You may extend the insurance that
                                                                             applies to Business Personal Property
                (d) Attract customers to your busi-
                                                                             to apply to that property at any
                    ness. But this does not Include
                                                                             premises you acquire, other than at
                    firms In the business of promoting
                                                                             fairs or exhibitions.
                    or advertising your business.
                                                                             The most we will pay for loss or
            (5) For the purpose of this Additional
                                                                             damage under this Coverage Exten-
                Coverage, dependent property
                                                                             sion Is $250,000 at each premises.
                means property owned or operated
                by others, not lnclud.lng any                            . (3) Insurance under this Extension for
                described premises, on whom you                                each newly acquired premises will
                depend to:                                                     end when any of the following first
                                                                               occurs:
                (a) Deliver materials or services to
                    you, or to others for your account.                       (a) This policy expires;
                    Services does not include water,
                                                                              (b) 90 days expire after you acquire
                    steam, fuel, communication, or
                                                                                  or begin construction at the new
                    power supply services.
                                                                                  premises; or
                (b) Purchase your products or services.
                                                                              (c) You report values to us.
                (c) Manufacture products for delivery
                    to your customers under contract
                                                                             We will charge you additional
                                                                             premium for values reported from the
                    of sale.
                                                                             date construction begins or you ac-
                (d) Attract customers to your busi-                          quire the premises.
                    ness. But this does not Include
                                                                    b. Personal Property Off Premises
                    firms In the business of promoting
                    or advertising your business.                        You may extend the Insurance that ap-
                                                                         plies to Business Personal Property to
   6.   Coverage Extensions
                                                                         apply to covered Business Personal
        In addition to the Limits of Insurance, you may                  Property, other than "money" and
        extend the Insurance provided by this policy                     "securities". uvaluable papers and
        as provided below.                                               records': or accounts receivable, while It Is


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                In the course of transit or temp.orarily at a                  apply to personal effects owned by you,
                premises you do not own, lease or                              your officers, your partners or your
                operate. The most we will pay for loss or                      employees. This extension does not
                damage underthis Extension Is $15,000.                         apply to:
         c.     Outdoor Property                                               (1) Tools or equipment used In your busi-
                (1) Outdoor Trees, Shrubs, Plants,                                 ness; or
                    Fences And Antennas                                        (2) "Money", "securities", or jewelry.
                    You may extend the Insurance                               The most we will pay for loss or damage
                    provided by this policy to apply to                        under this Extension Is $10 ,ooo at each
                    your outdoor fences, radio and                             described premises. In any one occur-
                    television antennas (including satellite                   rence, but not more than $500 for the
                    dishes), trees, shrubs and plants, In-                     personal effects of any one Individual.
                    eluding debris removal expense,
                    caused by or resulting from any of the                e.   "Valuable Papers And Records"
                    following causes of loss:                                  (1) You may extend the Insurance that
                    Fire; Lightning; Explosion; Riot or Civil                     applies to Business Personal Property
                    Commotion; Aircraft or vehicles; Van-                         to apply to direct physical loss or
                    dallsm; or Theft.                                             damage to "valuable papers and
                                                                                  records" that you own, or that are In
                   The most we will pay for loss or                               your care, custody or control caused
                   damage under this Extension Is                                 by or resulting from a Covered Cause
                   $10,000 in any one occurrence.                                 of Loss. This Coverage Extension In·
                   The Debris Removal Additional                                  eludes the cost to research lost Infor-
                   Coverage does not apply to this                                mation on "valuable papers and
                   Coverage Extension.                                            records", Including those which exist
                                                                                  on electronic media and records, for
              (2) Outdoor Signs                                                   which duplicates do not exist.
                   You may extend the Insurance                                (2) This Coverage Extension does not
                   provided by this policy to apply to                            apply to:
                   your outdoor signs, Including debris
                   removal expense, caused by or result-                          (a) Property held as samples or for
                   ing from risks of direct physical loss                             delivery after sale;
                   or damage.                                                     (b) Property In storage away from the
                   HOWEVER, we will not pay for loss or                               premises shown In the Declarations.
                   damage caused by or resulting from                          (3) The most we will pay under this
                   any of the following causes of loss:                           Coverage Extension for loss or
                   (a) Wear and tear;                                             damage to "valuable papers and
                                                                                  records", Including those which exist
                   (b) Hidden or latent defect;                                   on electronic media and records, In
                                                                                  any one occurrence at the described
                   (c) Rust; or
                                                                                  premises Is $10,000, unless a higher
                   (d) Corrosion.                                                 Limit of Insurance for "valuable
                                                                                  papers and records" Is shown In the
                   The most we will pay for loss or                               Declarations.
                   damage under this Coverage Exten-
                   slon Is $2,500 In any one occurrence,                          For "valuable papers and records",
                   unless a higher limit for outdoor signs                        Including those which exist on
                   Is shown In the Declarations.                                  electronic media and records, not at
                                                                                  the described premises, the most we
                  The Debris Removal Additional Cover-                            will pay Is:
                  age does not apply to this Coverage
                  Extension.                                                      (a) $2,500; or
       d.     Personal Effects                                                    (b) 25% of the "valuable papers and
                                                                                      records" limit;
              You may extend the Insurance that ap-
              plies to Business Personal Property to                              whichever Is higher.

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              {4) Section B. Exclusions of this Coverage                        Coverage Extension for Ioss or damage
                  Form does not apply to this Coverage                          In any one occurrence at the described
                  Extension except for:                                         premises Is $10,000, unless a higher
                                                                                Limit of Insurance for accounts receiv-
                   (a) Paragraph B.1.c., Governmental
                                                                                able Is shown In the Declarations.
                       Action;
                                                                                For accounts receivable not at the
                   (b) Paragraph B.1.d., Nuclear Hazard;
                                                                                described premises, the most we will
                   (c) Paragraph B.1.f., War And                                pay Is $2,500.
                       Military Action;
                                                                           (3) Section B. Exclusions of this
                   (d) Paragraph B.2.f., Dishonesty;                           Coverage Form does not apply to this
                                                                               Coverage Extension except for:
                   (e) Paragraph B.2.g., False Pretense;
                                                                                (a) Paragraph B.1.c., Governmental
                   (f) Paragraph 8.3.; and                                          Action;
                   (g) The Accounts Receivable and                              (b) Paragraph B.1.d., Nuclear Hazard;
                       "Valuable Papers And Records"
                       Exclusions.                                              (c) Paragraph 8.1.1., War And
                                                                                    Military Action;
             For the purpose of this Coverage Exten-
             sion, electronic media and records.                                (d) Paragraph B.2.f., Dishonesty;
             means:
                                                                               (e) Paragraph B.2.g., False Pretf;lnse;
                      Electronic data processing, record-
                                                                               (f)   Paragraph 8.3.; and
                      Ing or storage media such as films,
                      tapes, discs, drums or cells;                            (g) The Accounts Receivable and
                                                                                   "Valuable Papers And Records"
                 II   Data stored on such media; or
                                                                                   Exclusions.
                 Ill Programming records used for
                      electronic data processing or                   g.   Business Income and Extra Expense-
                                                                           Increased Period of Restoration Due to
                      electronically controlled equipment.
                                                                           Ordinance or Law
        f.   Accounts Receivable
                                                                           If a Covered Cause of Loss occurs to
             (1) You may extend the Insurance that                         property at the premises described In the
                 applies to Business Personal Property                     Declarations, coverage Is extended to In-
                 to apply to accounts receivable. We                       clude the amount of actual and necessary
                 will pay:                                                 loss you sustain during the "period of
                                                                           restoration" of "operations" caused by or
                 (a) All amounts due from your cus-                        resulting from the enforcement of any or-
                     tomers that you are unable to                         dinance or law that:
                     collect;
                                                                           (1) Regulates the construction or repair of
                 (b) Interest charges on any loan re-                          any property;
                     quired to offset amounts you are
                     unable to collect pending our pay-                    (2) Requires the tearing down of parts of
                     ment of these amounts,                                    any property not damaged by a
                                                                               Covered Cause of Loss; and
                 (c) Collection expenses In excess of
                     your normal collection expenses                       (3) Is In force at the time of loss.
                     that are made necessary by loss
                                                                      h.   Newly Acquired Locations - Business
                     or damage, and
                                                                           income
                (d) Other reasonable expenses that
                      you Incur to reestablish your                        (1) You may extend the Insurance that
                      records of accounts receivable;                          applies to Business Income Additional
                                                                               Coverages to apply to property at any
                that result from direct physical loss or                       location you newly acquire, other than
                damage by any Covered Cause of                                 temporary locations such as fairs or
                Loss to your records of accounts                               exhibitions, whether attended regular·
                receivable.                                                    ly or not.
             (2) The most we will pay under this                           (2) The most we will pay for loss under this


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                        Newly Acquired Locations - Business                           loss or damage caused by that fire or
                        Income Coverage Extension Is the                              explosion.
                        lesser of:
                                                                                  (2) Volcanic eruption, explosion or ef-
                        (a) The actual loss of business Income                        fusion. But If volcanic eruption, ex-
                            you sustain, as provided for and                          plosion or effusion results in fire,
                            described under the Business In-                          building glass breakage or volcanic
                            come Add~fonaf Coverage; or                               action, we will pay for the loss or
                                                                                      damage caused by that fire, building
                        (b) $100,000.                                                 glass breakage or volcanic action.
                   {3) This Insurance will end the earlier of:                        Volcanic action means direct loss or
                        (a) The policy expiration date;                               damage resulting from the eruption of
                                                                                      a volcano when the loss or damage Is
                        (b) 90 days after you acquire the                             caused by:
                            property; or
                                                                                       (a} Airborne volcanic blast or air-
                        (c) You report the property to us.                                 borne shock waves;
                   We will charge you any additional                                   (b) Ash, dust, or particulate matter; or
                   premium from the date you acquire the
                                                                                       (c) Lava flow.
                   property.
                                                                                      All volcanic eruptions that occur
   B.   EXCLUSIONS
                                                                                      within any 168-hour period will con-
        1.   We will not pay for loss or damage caused                                stitute a single occurrence.
             directly or Indirectly by any of the following.                          Volcanic action does not Include the
             Such loss or damage is excluded regardless                               cost to remove ash, dust or particulate
             of any other cause or event that contributes
                                                                                      matter that does not cause direct
             concurrently or In any sequence to the loss.
                                                                                      physical loss of or damage to Covered
             a.    Ordinance Or Law                                                   Property.

                   The enforcement of any ordinance or law:                  c.   Governmental Action

                   (1) Regulating the construction, use or                        Seizure or destruc:tlon of property by
                       repair of any property; or                                 order of governmental authority.

                   (2) Requiring the tearing down of any                          But we will pay for loss or damage caused
                       property, Including the cost of remov-                     by or resulting from acts of destruction
                       Ing its debris.                                            ordered by governmental authority and
                                                                                  taken at the time of a fire to prevent Its
                   This exclusion, Ordinance Or Law, applies                      spread, If the fire would be covered under
                   whether the loss results from:                                 this policy.
                   (i) An ordinance or law that Is enforsed                  d.   Nuclear Hazard
                       even If the property has not been
                                                                                  Nuclear reaction or radiation, or radioac-
                       damaged; or
                                                                                  tive contamination, however caused.
                   (2) The Increased costs Incurred to com-
                                                                                  But If nuclear reaction or radiation, or
                       ply with an ordinance or law In the
                                                                                  radioactive contamination, results In fire,
                       course of construction, repair,
                                                                                  we will pay for the loss or damage caused
                       renovation, remodeling or demolition
                                                                                  by that fire.
                       of property or removal of its debris,
                       following a physical loss to that                     e.   Power Failure
                       property.
                                                                                  The failure of powsr or other utility service
             b.    Earth Movement                                                 supplied to the described premises, how-
                                                                                  ever caused, If the failure occurs away
                   (1) Any earth movement (other than
                                                                                  from the described premises.
                       sinkhole collapse), such as an
                       earthquake, landslide, mlhe sub-                           But if failure of power or other utility ser-
                       sidence or earth sinking, rising or                        vice results In a Covered Cause of Loss,
                       shifting. But If earth movement results                    we will pay for the loss or damage caused
                       In fire or explosion, we will pay for the                  by that Covered Cause of Loss.


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        f.    War And Military Action                                       except as covered under Additional
                                                                            Coverage n., Equipment Breakdown.
              (1) War, Including undeclared or civil war;
                                                                            But if artificially generated electrical current
              (2) Warlike action by a military force, In-
                                                                            results In fire, we will pay for the loss or
                  eluding action in hindering or defend-
                                                                            damage caused by fire.
                  lng against an actual or expected
                  attack, by any government, sovereign                 b.   Consequential Losses
                  or other authority using military per-
                  sonnel cir other agents; or                               Delay, loss of use or loss of market.

              (3) I nsurrectlon, rebellion, revolution,                c.   Smoke, Vapor, Gas
                  usurped power, or action taken by                         Smoke, vapor or gas from agricultural
                  govern mental authority in hindering                      smudging or industrial operations.
                  or defending against any of these.
                                                                       d. Steam Apparatus
        g.    Water
                                                                            Explosion of steam boilers, steam pipes,
              (1) Flood, surface water, waves, tides,                       steam engines or steam turbines owned
                  tidal waves, overflow of any body of                      or leased by you, or operated under your
                  water, or their spray, all whether                        control, except as covered under Addl·
                  driven by wind or not;                                    tiona! Coverage n., Equipment Break·
              (2) Mudsllde or mudflow;                                      down. But If explosion of steam boilers,
                                                                            steam pipes, steam engines or steam tur-
             (3) Water that backs up or overflows from                      blnes results In fire or combustion ex·
                 a sewer, drain or sump except as                           ploslon, we will pay for the loss or damage
                 provided under the Back Up Of Sewer                        caused by that fire or combustion ex-
                 or Drain Water Damage Additional                           plosion. We will also pay for loss or
                 Coverage; or                                               damage caused by or resulting from the
                                                                            explosion of gases or fuel within the fur-
             {4) Water under the ground surface                             nace of any fired vessel or within the flues
                 pressing on, or flowing or seeping                         or passages through which the gases of
                 through:                                                   combustion pass.
                 (a) Foundations, walls, floors or                          Frozen Plumbing
                                                                      e.
                     paved surfaces;
                                                                            Water, other liquids, powder or molten
                 (b) Basements, whether paved or                            material that leaks or flows from plumbing,
                     not; or                                                heating, air conditioning or other equipment
                 (c) Doors, windows or other openings.                      (except fire protective systems) caused by or
                                                                            resulting from freezing, unless:
             But' If Water, as described In 8.1.g.(1)
             through B.1.g.(4), results In fire, explosion                  (1) You do your best to maintain heat In
             or sprinkler leakage, we will pay for the                          the building or structure; or
             loss or damage caused by that fire, ex-                        (2) You drain the equipment and shut off the
             ploslon or sprinkler leakage.
                                                                                supply If the heat Is not maintained.
             However, if electrical "covered equip-                   f.    Dishonesty
             ment" requires drying out because of (2),
             (3) or (4) above, we will pay for the direct                   Dishonest or criminal acts by you, anyone
             expenses of such drying out subject to the                     else with an interest In the property, or any
             applicable Limit of Insurance and deduct-                      of your or their partners, employees,
             ible for Building or Business Personal                         directors, trustees, authorized repre-
             Property, whichever applies.                                   sentatlves or anyone to whom you entrust
                                                                            the property for any purpose:
    2. We will not pay for loss or damage caused by
       or resulting from any of the following:                              (1) Acting alone or In collusion with
                                                                                others;
       a.    Electrical Apparatus
                                                                            (2) Whether or not occurring during the
             Artificially generated electrical current,                         hours of employment.
             including electric arcing, that disturbs
             electrical devices, appliances or wires,                       This exclusion does not apply to acts of


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                destruction by your employees, but theft                          under Additional Coverage n., Equip·
                by employees Is not covered.                                      ment Breakdown; or
               With respect to accounts receivable and                       (7) The following causes of loss to per·
               "valuable papers and records", this ex-                           sonal property:
               clusion does not apply to carriers for hire.
         g.     False Pretense                                                    (a) Dampness or dryness of atmosphere;

               Voluntary parting with any property by                             (b) Changes In or extremes of
               you or anyone else to whom you have                                    temperature, or
               entrusted the property If Induced to do so
               by any fraudulent scheme, trick, device or                         (c) Marring or scratching.
               false pretense.
                                                                             But If an excluded cause of loss that Is
         h.    Exposed Property                                              listed In B.2.k.(1) through B.2.k.(7) results
                                                                             In a "specified cause of loss", an "acci-
               Rain, snow, Ice or sleet to personal property                 dent" or building glass breakage, we will
               In the open.                                                  pay for the loss or damage caused by that
        I.     Collapse                                                      "specified cause of loss", "accident" or
                                                                             building glass breakage.
               Collapse, except as provided In the Addi-
               tional Coverage for Collapse. But if col-            3. We will not pay for loss or damage caused by
               lapse results in a Covered Cause of Loss,               or resulting from any of the following B.3.a.
               we will pay for the loss or damage caused               through B.3.c. But If an excluded cause of loss
               by that Covered Cause of Loss.                          that Is listed In B.3.a. through B.3.c. results in
                                                                       a Covered Cause of Loss, we will pay for the
        J.     Pollution                                               loss or damage caused by that Covered Cause
              We will not pay for loss or damage caused                of Loss.
              by or resulting from the discharge, disper-
              sal, seepage, migration, release or escape                a.   Weather Conditions
              of "pollutants" unless the discharge, dis-
                                                                             Weather conditions. But this exclusion
              persal, seepage, migration, release or es-
                                                                             only applies If weather conditions con-
              cape h; Itself caused by any of the
                                                                             tribute in any way with a cause or event
              "specified causes of loss". But if the dis-
                                                                             excluded in Paragraph 1. above to
              charge, dispersal, seepage, migration,
                                                                             produce the loss or damage.
              release or escape of "pollutants" results in
              a "specified cause of loss", we will pay for              b. Acts Or Decisions
              the loss or damage caused by that
              "specified cause of loss".                                     Acts or decisions, Including the failure to
        k.    Other Types Of Loss                                            act or decide, of any person, group, or-
                                                                             ganization or governmental body.
              (1) Wear and tear;
                                                                        c.   Negligent Work
              (2) Rust, corrosion, fungus, decay,
                  deterioration, hidden or latent defect                     Faulty, Inadequate or defective:
                  or any quality In property that causes
                  it to damage or destroy Itself;                            (1) Planning, zoning, development, sur·
                                                                                 veylng, siting;
              (3) Smog;

              (4) Settling, cracking, shrinking or                           (2} Design, specifications, workmanship,
                  expansion;                                                     repair, construction, renovation,
                                                                                 remodeling, grading, compaction;
              (5) Nesting or Infestation, or discharge or
                  release of waste products or secret-                       (3) Materials used In repair, construction,
                  Ions, by Insects, birds, rodents or                            renovation or remodeling; or
                  other animals;
                                                                             (4) Maintenance;
              (6) Mechanical breakdown, including
                  rupture or bursting caused by                              of part or all of any property on or off the
                  centrifugal force, except as covered                       described premises.


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     4.    Business Income And EX1ra Expense Ex-                         c.   Applicable to Accounts Receivable only:
           elusions
                                                                              We will not pay for:
          We will not pay for:
                                                                              (1) Loss or damage caused by or resulting
          a.   Any Extra Expense, or Increase of Business                         from alteration, falsification, conceal·
               Income loss, caused by or resulting from:                          ment or destruction of records of ac-
                                                                                  counts receivable done to conceal the
                (1) Delay in rebuilding, repairing or                             wrongful giving, taking or withholding
                    replacing the property or resuming                            of "money", "securities" or other
                    "operations", due to Interference at                          property.
                    the location of the rebuilding, repair or
                    replacement by strikers or other per-                         Thls exclusion applies only to the ex·
                    sons; or                                                      tent of the wrongful giving, taking or
                                                                                  withholding.
               (2) Suspension, lapse or cancellation of
                   any license, lease or contract. But if                     (2) Loss or damage caused by or result-
                   the suspension, lapse or cancellation                          Ing from bookkeeping, accounting or
                   is directly caused by the suspension                           billing errors or omissions.
                   of "operations", we will cover such                        (3) Any loss or damage that requires any
                   loss that affects your Business Income                         audit of records or any inventory com-
                   during the "period of restoration".                            putation to prove its factual existence.
          b. Any other consequential loss.                          6.   Equipment Breakdown Exclusions
    5. Accounts Receivable And "Valuable Papers                          a.   We will not pay under this coverage for
          And Records" Exclusions                                             loss or damage caused by or resulting
                                                                              from any defect, virus, loss of data or other
          The following additional exclusions apply to                        situation within Electronic Media and
          the Accounts Receivable and "Valuable                               Records as defined In Property Loss Con-
          Papers And Records" Coverage Extensions:                            ditions, Limitation-Electronic Media and
          a.   We will not pay for loss or damage caused                      Records. But If loss or damage from an
               by or resulting from electrical or magnetic                    "accident" results, we will pay for that
               Injury, disturbance or erasure of                              resulting loss or damage; or
               electronic recordings that Is caused by or                b. With respect to Service I nterruptlon
               results from:                                                coverage and Perishable Stock coverage,
                                                                            we will also not pay for loss or damage
                   (a) Programming errors or faulty
                                                                            caused by or resulting from: fire; lightning;
                       machine instructions;
                                                                            windstorm or hall; explosion (except for
                   (b) Faulty installation or maintenance                   steam or centrifugal explosion); smoke;
                       of data processing equipment or                      aircraft or vehicles; riot or civil commotion;
                       component parts;                                     vandalism; sprinkler leakage; falllog ob-
                                                                            jects; weight of snow, Ice or sleet; freezing
                   But we will pay for direct loss or                       or collapse.
                   damage caused by lightning.
                                                                C. LIMITS OF INSURANCE
          b.   Applicable to "Valuable Papers and
               Records" only:                                       1. The most we will pay for loss or damage In any
                                                                       one occurrence Is the applicable Limit of In-
               We will not pay for loss or damage caused               surance shown In the Declarations.
               by or resulting from any of the following:
                                                                    2.   Building Limit -Automatic Increase ·
               (1) Errors or omissions In processing or
                                                                         a. The Limit of Insurance for B\,lildlngs will
                   copying. But If errors or omissions In
                                                                            automatically Increase by the annual per·
                   processing or copying results In fire or
                                                                            centage shown In the Declarations.
                   explosion, we will pay for the direct
                   loss or damage oaused by the fire or                  b. The amount of Increase will be:
                   explosion.
                                                                              (1) The Building limit that applied on the
               (2) Wear and tear, gradual deterioration                           most recent of the policy Inception
                   or latent defect.                                              date, the policy anniversary date, or

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                     any other policy change amending                     c.   Interior Glass; and
                     the Building limit, times
                                                                          d. Outdoor Signs.
                 (2} The percentage of annual Increase
                     shown In the Declarations, expressed                 But this Optional Coverage/Exterior Building
                     as a decimal (example: 8% is .08), times             Glass Deductible will not Increase the Deduct-
                                                                          Ible shown In the Declarations. This Deduct-
                (3) The number of days since the begin-                   Ible will be used to satisfy the requirements of
                     ning of the current policy year· of the              the Deductible In the Declarations.
                     effective date ofthe most recent policy
                     change amending the Building limit,             3.   No deductible applies to the following Addi-
                     divided by 365.                                      tional Coverages:

          Example:                                                        a.   Fire Department Service Charge;

          If:   The applicable Building limit is $1 oo,ooo.               b. Business Income;
                The annual percentage Increase Is 8%.                     c.   Extra   Exp~nse;   and
                The number of days since the beginning
                of the policy year (or last policy change)                d. Civil Authority;
                Is 146.                                           E. PROPERTY LOSS CONDITIONS
         The amount of Increase is                                   1. Abandonment
         $100,000 X .08 X 146/365 = $3,200.
                                                                          There can be no abandonment of any proper-
    3.   Business Personal Property Limit -                               ty to us.
         Seasonal Increase
                                                                     2. Appraisal
         a.     The Limit of Insurance for Business Per-
                sonal Property will automatically Increase                If we and you disagree on the amount of loss,
                by 25% to provide for seasonal variations.                either may make written demand for an ap-
                                                                          praisal of the loss. In this event, each party
         b. This increase will apply only if the Limit of                 will select a competent and Impartial ap-
            Insurance shown for Business Personal                         praiser. The two appraisers will select an um-
            Property In the Declarations Is at least                      pire. If they cannot agree, either may request
            100% of your average monthly values                           that selection be made by a judge of a court
            during the lesser of:                                         having jurisdiction. The appraisers will state
                (1) The 12 months Immediately preced-                     separately the amount of loss. If they fall to
                    Ing the date the loss or damage oc-                   agree, they will submit their differences to the
                    curs; or                                              umpire. A decision agreed to by any two will
                                                                          be binding. Each party will:
                (2) The period of time you have been in
                    business as of the date the loss or                   a.   Pay Its chosen appraiser; and
                    damage occurs.                                        b.   Bear the other expenses of the appraisal
D. DEDUCTIBLES                                                                 and umpire equally.

    1. We will not pay for loss or damage In any one                      If there Is an appraisal, we will still retain our
         occurrence until the amount of loss or damage                    right to deny the claim.
         exceeds the Deductible shown in the Declara-                3.   Duties In The Event Of Loss Or Damage
         tions. We will then pay the amount of loss· or
         damage In excess of the Deductible up to the                     a.   You must see that the following are done
         applicable Limit of Insurance.                                        In the event of loss or damage to Covered
                                                                               Property:
   2.    Regardless of the amount of the Deductible,
         the most we will deduct from any loss or                              (1) Notify the pollee If a law may have
         damage under all of the following Optional                                been broken.
         Coverages and the Additional Coverage - Ex-
         terior Building Glass In any one occurrence Is
                                                                               (2) Give us prompt notice of the loss or
                                                                                   damage. Include a description of the
         the Optional Coverage/ Exterior Building
                                                                                   property Involved.
         Glass Deductible shown In the Declarations:
         a.     Money and Securities;
                                                                               (3) As soon as possible, give us a descrip-
                                                                                   tion of how, when and where the loss
         b.     Employee Dishonesty;                                               or damage occurred.               ·


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             (4) Take all reasonable steps to protect             5.   Limitation - Electronic Media And Records
                 the Covered Property from further
                 damage, and keep a record of your                     We will not pay for any loss of Business In-
                 expenses necessary to protect the                     come caused by direct physical loss of or
                 Covered Property, for consideration                   damage to Electronic Media and Records after
                 In the settlement of the claim. This will             the longer of:
                 not Increase the Limit of Insurance.                  a.   60 consecutive days from the date of
                 However, we will not pay for any sub-                      direct physical loss or damage; or
                 sequent loss or damage resulting from
                 a cause of loss that Is not a Covered                 b. The period, beginning with the date of
                 Cause of Loss. Also, If feasible, setthe                   direct physical loss or damage, necessary
                 damaged property aside and In the                          to repair, rebuild or replace with
                 best possible order for examination.                       reasonable speed and similar quality,
                                                                            other property at the described premises
             (5) At our request, give us complete Inven-                    due to loss or damage caused by the
                 tories of the damaged and undamaged                        same occurrence.
                 property. Include quantities, costs,
                 values and amount of loss claimed.                         Electronic Media and Records are:
             (6) As often as may be reasonably re-                          (1) Electronic data processing, recording
                 quired, permit us to inspect the                               or storage media such as films, tapes,
                 property proving the loss or damage                            discs, drums or cells;
                 and examine your books and records.
                                                                            (2) Data stored on such media; or
                 Also permit us to take samples of
                 damaged and undamaged property                             (3) Programming records used for
                 for Inspection, testing and analysis,                          electronic data processing or
                 and permit us to make copies from                              electronically controlled equipment.
                 your books and records.
                                                                       Example No. 1:
             (7) Send us a signed, sworn proof of loss
                                                                       A Covered Cause of Loss damages a computer
                 containing the Information we request
                 to Investigate the claim. You must do                 on June 1. It takes until September 1 to replace
                                                                       the computer, and until October 1 to rE;Jstore the
                 ttlls within 60 days after our request.
                                                                       data that was lost when the damage occurred.
                 We will supply you with the necessary
                                                                       We will only pay for the Business Income loss
                 forms.
                                                                       sustained during the period June 1 -September
             (8) Cooperate with us In the Investigation                1 . Loss during the period September 2 - Oc-
                 or settlement of the claim.                           tober 1 Is not covered.

             (9) Resume all or part of your "opera-                    Example No.2:
                 tions" as quickly as possible.
                                                                       A Covered Cause of Loss results In the loss
        b. We may examine any Insured under oath,                      of data processing programming records
           while not In the presence of any other                      on August 1. The records are replaced on
           insured and at such times as may be                         October 15. We will only pay for the Busi-
           reasonably required, about any matter                       ness Income loss sustained during the
           relating to this insurance or the claim,                    period August 1 - September 29 (60 con-
           lnci uding an Insured's books and records.                  secutive days). Loss during the period Sep-
           In the event of an examination, an                          tember 30 - October 15 Is not covered.
           Insured's answers must be signed.
                                                                  6. Loss Payment
   4.   Legal Action Against Us
                                                                       In the event of loss or damage covered by this
        No one may bring a legal actlc>n against us                    policy:
        under this Insurance unless:
                                                                       a.   At our option, we will either:
        a.   There has been full compliance with all of
             the terms of this Insurance; and                               (1) Pay the value of lost or damaged
                                                                                property;
        b. The action Is brought within 2 years after
           the date on which the direct physical loss                       (2) Pay the cost of repairing or replacing
           or damage occurred.                                                  the lost or damaged property;


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             (3) Take all or any part of the property at                         more than the Limit of Insurance
                 an agreed or appraised value; or                                that applies to the property:

             (4) Repair, rebuild or replace the proper-                          (I) The actual cash value or the
                 ty with other property of like kind and                             lost or damaged property; or
                 quality, subject to d.(1)(e) below.                             (li) A proportion of the cost to
                                                                                       repair or replace the lost or
        b. We will give notice of our Intentions within
                                                                                       damaged property, after ap-
             30 days after we receive the sworn proof
                                                                                       plication of. the deductible
             of loss.
                                                                                       and without deduction for
        c.   We will not pay you more than your finan-                                 depreciation. This propor-
             cial Interest In the Covered Property.                                    tion will equal the ratio of the
                                                                                       applicable Limit of Insurance
        d.   Except as provided In (2) through (8)                                     to 80% of the cost of repair or
             below, we will determine the value of                                     replacement.
             Covered Property as follows:                                    (c) You may make a claim for Joss or
                                                                                 damage covered by this In-
             (1} At replacement cost without deduc-
                                                                                 surance on an actual cash value
                tion for depreciation, subject to the
                                                                                 basis instead of on a replacement
                following:
                                                                                 cost basis. In the event you elect
                (a) If, at the time of loss, the Limit of                        to have loss or damage settled on
                    Insurance on the lost or damaged                             an actual cash value basis, you
                    property Is 80% or more of the full                          may still make a claim on a re-
                    replacement cost of the property                             placement cost basis If you notify
                    Immediately before the loss, we                              us of your Intent to do so within
                    will pay the cost to repair or                               180 days after the loss or damage.
                    replace, after application of the                        (d) We will not pay on a replacement
                    deductible and without deduction                             cost basis for any loss or damage:
                    for depreciation, but not more
                    than the least of the following                              (i)   Until the lost or damaged
                    amounts:                                                           property Is actually repaired
                                                                                       or replaced; and
                     (i) The Limit of Insurance under
                                                                                 (il) Unless the repairs or replace-
                         this policy that applies to the
                                                                                      ment are made as soon as
                         lost or damaged property;
                                                                                      reasonably possible after the
                    (il) The cost to replace, on the                                  loss or damage.
                         same premises, the lost or                          (e) The cost to repair, rebuild or
                         damaged property with other                             replace does not Include the in-
                         property:                                               creased cost attributable to enfor-
                                                                                 cement of any ordinance or law
                         I.   Of comparable material                             regulating the construction, use
                              and quality; and                                   or repair of any property.
                         II   Used for the same pur-                     (2} If the "Actual Cash Value - Buildings"
                              pose; or                                       option applies, as shown In the Dec-
                                                                             larations, Paragraph (1) above does
                    (Ill) The amount that you actually                       not apply to Buildings. Instead, we
                        spend that Is necessary to                           will determine the value of Buildings at
                        repair or replace the lost or                        actual cash value.
                        damaged property.
                                                                         (3) The following property at actual cash
                (b) If, at the time of loss, the Limit of                    value:
                    Insurance applicable to the lost or
                                                                             (a) Used or second·hand merchan-
                    damaged property Is less than
                                                                                 dise held In storage or tor sale;
                    80% of the full replacement cost of
                    the property Immediately before                          (b) Property of others, but this
                    the loss, we will pay the greater of                         property Is not covered for more
                    the following amounts, but not                               than the amount for which you are


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                       liable, plus the cost of labor,                          "valuable papers and records" that
                       materials or services furnished or                       are actually replaced or restored.
                       arranged by you on personal
                       property of others;                                  (7) Applicable only to the Optional
                                                                                Coverages:
                   (c) Household contents, except per-
                                                                                (a) "Money" at Its face value; and
                       sonal property In apartments or
                       rooms furnished by you as                                (b) "Securities" at their value at the
                       landlord;                                                    close of business on the day the
                                                                                    loss Is discovered.
                   (d) Manuscripts;
                                                                            (8) Applicable only to Accounts Receivable:
                   (e) Works of art, antiques or rare ar-
                       ticles, Including etchings, pictures,                    (a) If you cannot accurately establish
                       statuary, marbles, bronzes, por-                             the amount of accounts receivable
                       celains and brae-a-brae.                                     outstanding as of the time of loss or
                                                                                    damage:
            (4) Glass at the cost of replacement with
               safety glazing material If required by law.
                                                                                     (I) We will determine the total of the
                                                                                         average monthly amounts of
            (5) Tenants' Improvements and Better-                                        accounts receivable for the 12
                ments at:                                                                months immediately preceding
                                                                                         the month In which the loss or
                   (a) Replacement cost If you make                                      damage occurs; and
                       repairs promptly.
                                                                                    (II) We will adjust that total for any
               (b) A proportion of your original cost                                    normal fluctuations In the
                   If you do not make repairs                                            amount of accounts receiv-
                   promptly. We will determine the                                       able for the month In which
                   proportionate value as follows:                                       the loss or damage occurred
                                                                                         or for any demonstrated
                      (I)   Multiply the original cost by
                                                                                         variance from the average for
                            the number of days from the
                                                                                         that month.
                            loss or damage to the expira-
                            tion of tfle lease; and                             (b) The following will be deducted
                                                                                    from the total amount of accounts
                      (II) Divide the amount deter-                                 receivable, however that amount
                           mined In (I) above by the                                Is established:
                            number of days from the In-
                            stallation of Improvements to                           (i) The amount of the accounts
                            the expiration of the lease.                                for which there Is no loss or
                                                                                        damage;
                      If your lease contains a renewal
                      option, the expiration of the                                 (if) The amount of the accounts
                      renewal option period will replace                                 that you are able to rees-
                      the expiration of the lease In this                                tablish or collect;
                      procedure.                                                    (lll) An amount to allow for probable
                                                                                         bad debts that you are normally
               (c) Nothing If others pay for repairs
                                                                                         unable to collect; and
                   or replacement.
                                                                                    (lv) All unearned Interest and ser-
           (6) "Valuable papers and records", In-                                        vice charges.
               cluding those which exist on
               electronic or magnetic media (other                     e.   Our payment for loss of or damage to
               than     prepackaged       software                          personal property of others will only be for
               programs), at the cost of:                                   the account of the owners of the property.
                                                                            We may adjust losses with the owners of
               (a) Blank materials for reproducing                          lost or damaged property If other than
                   the records; and                                         you_ If we pay the owners, such payments
               (b) Labor to transcribe or copy the                          will satisfy your claims against us for the
                   records.                                                 owners' property. We will not pay the
                                                                            owners more than their financial Interest
               This condition does not apply to                             In the Covered Property.


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         f.    We may elect to defend you against suits                            building Is vacant when 70% or
               arising from claims of owners of property.                          more of Its total square footage:
               We will do this at our expense.
                                                                                    (I) Is not rented; or
         g.    We will pay for covered loss or damage                              {II)· Is not used to conduct cus-
               within 30 days after we receive the sworn                                 tomary operations.
               proof of loss, provided you have complied
               with all of the terms of this policy, and                   (2) Buildings under construction or
                                                                               renovation are not considered vacant.
               (1) We have reached agreement with you
                   on the amount of loss; or                           b. Vacancy Provisions
                                                                           If the building where loss or damage oc-
               (2) An appraisal award has been made.                       curs has been vacant for more than 60
    7.   Recovered Property                                                consecutive days before that loss or
                                                                           damage occurs:
         If either you or we recover any property after                    (1) We will not pay for any loss or damage
         loss settlement, that party must give the other                       caused by any of the following even If
         prompt notice. At your option, you may retain                         they are Covered Causes of Loss:
         the property. But then you must return to us
         the amount we paid to you for the property.                           (a) Vandalism;
         We will pay recovery expenses and the expen·                          (b) S prlnkler leakage, unless you
         ses to repair the recovered property, subject
                                                                                   have protected the system
         to the Lfmlt of rnsurance.                                                against freezing;
    8.   Resumption Of Operations                                              (c) Building glass breakage;
         We will reduce the amount of your:                                    (d) Water damage;

         a.    Business Income loss, other than Extra                          (e) Theft; or
               Expense, to the extent you can 'resume                          (f) Attempted theft.
               your "operations", In whole or In part, by
               using damaged or undamaged property                         (2) With respect to Covered Causes of
               (Including merchandise or stock) at the                         Loss uther than those listed In b. (1 )(a)
               described premises or elsewhere.                                through b.(1)(f) above, we will reduce
                                                                               the amount we would otherwise pay
         b. Extra Expense loss to the extent you can                           for the loss or damage by 15%.
            return "operations" to normal and discon-
            tinue such Extra Expense.                             10. Environmental, Safety And Efficiency
                                                                      Improvements
    9.   Vacancy                                                       If "covered equipment" requires replacement
         a.    Description Of Terms                                    due to an "accident," we will pay youraddl-
                                                                       tional cost to replace with equipment that Is
               (1) As used In this Vacancy Condition, the              better for the environment, safer or more effi-
                   term building and the term vacant                   cient than the equipment being replaced.
                   have the meanings set forth in (1 ){a)              However, we will not pay more than 125% of
                   and (1)(b) below:                                   what the cost would have been to repair or
                   (a) When this policy Is Issued to a                 replace with like kind and quality. This condi-
                       tenant, and with respect to that                tion does not Increase any of the applicable
                       tenant's Interest In Covered                    limits. This condition does not apply to any
                       Property, building means the unit               property to which Actual Cash Value applies.
                       or suite rented or leased to the       F. PROPERTY GENERAL CONDITIONS
                       tenant. Such building Is vacant
                       when It does not contain enough            1.   Control Of Property
                       business personal property to                   Any act or neglect of any person other than
                       conduct customary operations.                   you beyond your direction or control will not
                                                                       affect this Insurance.
                  (b) When this policy Is Issued to the
                      owner of a building, building                    The breach of any condition of this Coverage
                      means the entire building. Such                  Form at any one or more locations will not


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          affect coverage at any location where, at the                   f.   If we cancel this policy, we will give written
          time of loss or damage, the breach of condi-                         notice to the mortgageholder at least:
          tion does not exist.
                                                                               (1) 1o days before the effective date of
     2.   Mortgageholders                                                          cancellation If we cancel for your non-
                                                                                   payment of premium; or
          a.   The term "mortgageholder" Includes trustee.
                                                                               (2) ,30 days before the effective date of
          b. We will pay for covered loss of or damage                              cancellation If we cancel for any other
               to buildings or structures to each                                   reason.
               mortgageholder shown in the Declara-                       g.   If we elect not to renew this policy, we will
               tions In their order of precedence, as In-                      give written notice to the mortgageholder
               terests may appear.                                             at least 10 days before the expiration date
                                                                               of this policy.
          c.   The mortgageholder has the right to receive
               loss payment even if the mortgage holder has          3.   No Benefit To Bailee
               started foreclosure or similar action on the
                                                                          No person or organization, other than you,
               building or structure.
                                                                          having custody of Covered Property will
                                                                          benefit from this Insurance.
          d.   If we deny your claim because of your acts
               or because you have failed to comply with             4.   Policy Period, Coverage Territory
               the terms of this policy, the mortgageholder
               will still have the right to receive loss payment          Under this form:
               if the mortgageholder:                                     a.   We cover loss or damage commencing:
               (1) Pays any premium due under this                             (1) During the policy period shown in the
                   policy at our request if you have failed                        Declarations; and
                   to do so;
                                                                               (2) Within the coverage terrhory or, with
               (2) Submits a signed, sworn proof of loss                           respect to property in transit, while it is
                   within 60 days after receiving notice                           between points In the coverage territory.
                   from us of your failure to do so; and                  b. The coverage territory Is:
               (3) Has notified us of any change In                            (1) The United States of America (Includ-
                   ownership, occupancy or substantial                             Ing Its territories and possessions);
                   change in risk known to the
                                                                               (2) Puerto Rico; and
                   mortgageholder.
                                                                               (3) Canada.
               All of the terms ofthls policy will then apply
               directly to the mortgageholder.                       5. Jurisdictionallnspections
                                                                          If any property that Is "covered equipment"
          e.   If we pay the mortgageholder for any loss                  under this coverage requires Inspection to
               or damage and deny payment to you
                                                                          comply with state or municipal boiler and
               because of .your acts or because you have
                                                                          pressure vessel regulations, we agree to per-
               failed to comply with the terms of this
                                                                          form such Inspection on your behalf.
               policy:
                                                                     6.   Suspension
               (1) The mortgageholder's rights under the
                   mortgage will be transferred to us to the              When any "covered equipment" Is found to be
                   extent of the amount we pay; and                       In, or exposed to a dangerous condition, any
                                                                          of our representatives may immediately
               (2) The mortgageholder's right to recover                  suspend the Insurance against loss from an
                   the full amount of the mortgageholder's                "accident" to that "covered equipment." We
                   claim will not be Impaired.                            can do thfs by mailing or delivering a written
                                                                          notice of suspension to your address as
               At our option, we may pay to the                           shown In the Declarations, or at the address
               mortgageholder' the whole principal on                     where the equipment Is located. Once
               the mortgage plus any accrued Interest.                    suspended In this way, your Insurance can be
               In this event, your mortgage and note will                 reinstated only by an endorsement for that
               be transferred to us and you will pay your                 "covered equipment." If we suspend your
               remaining mortgage debt to us.                             Insurance, you will get a pro rata refund of


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            premium. But the suspension will be effective                           floor level of the building or structure,
            even If we have not yet made or offered a                               unless the Declarations show that this
            refund.                                                                 Optional Coverage Is applicable to In-
                                                                                    terlor glass at all floors; and
   G. OPTIONAL COVERAGES
                                                                                (3) Owned by you, or owned by others
      If shown as applicable In the Declarations, the
                                                                                    but In your care, custody or control.
      following Optional Coverages also apply. These
      coverages are subject to the terms and conditions                    b. We will also pay for necessary:
      applicable to property coverage In tflls policy,
      except as provided below.                                                 {1) Expenses incurred to put up tem-
                                                                                    porary plates or board up openings;
       1.   Outdoor Signs
                                                                                (2) Repair or replacement of encasing
            a.    We will pay for direct physical loss of or                        frames; and
                  damage to all outdoor signs at the
                  described premises:                                           (3) Expenses incurred to remove or
                                                                                    replace obstructions.
                  (1) Owned by you; or
                                                                           c.   Paragraph A.3., Covered Causes Of Loss,
                  {2) Owned by others but In your care,                         and Section B., Exclusions, do not apply to
                      custody or control.                                       this Optional Coverage, except for:
            b. Paragraph A.3., Covered Causes Of Loss,                          {1) Paragraph B.1.c., Governmental Action,
                  and Section B., Exclusions, do not apply to
                  this Optional Coverage, except for:                           {2) Paragraph B.1.d., Nuclear Hazard; and
                  (1) Paragraph B.1.c., Governmental Action;                    {3) Paragraph B.1.f, War And Military
                                                                                    Action.
                  (2) Paragraph B.1.d., NudearHazard; and
                                                                           d. We will not pay for loss or damage caused
                  {3) Paragraph B.1.f., War And Military                      by or resulting from:
                      Action.
                                                                                (1} Wear and tear;
            c.    We will not pay for loss or damage caused
                  by or resulting from:                                         (2} Hidden or latent defect;
                  (1) Weo.r and tear;                                           (3} Corrosion; or

                  {2) Hidden or latent defect,                                  {4) Rust.
                  (3) Rust; or                                             e.   This Optional Coverage supersedes all
                                                                                limitations In this policy that apply to lnte-
                  (4) Corrosion.                                                rlor glass.
            d. The most we will pay for loss or damage                3.   Money And Securities
               In any one occurrence Is the Limit of In-
               surance for Outdoor Signs shown In the                      a.   We will pay for loss of "money" and
               Declarations.                                                    "securities" used In your business while at a
                                                                                bank or savings Institution, within your living
            e.   The provisions of this Optional Coverage                       quarters or the liVIng quarters of your
                 supersede all other references to outdoor                      partners or any employee having use and
                 signs In this policy.                                          custody of the property, at the described
      2.    Interior Glass                                                      premises, or In transit between any of these
                                                                                places, resulting directly from:
            a. We will pay for direct physical loss of or
               damage to Items of glass that are per-                           (1) Theft, meaning any act of stealing;
               manently affixed to the Interior walls, floors                   (2) Disappearance; or
               or ceilings of a covered building or struc-
               ture at the described premises, provided                         (3) Destruction.
               each Item Is:
                                                                           b. In addition to the Limitations and Ex-
                 (1) Described In the Declarations as                           elusions applicable to property coverage,
                     covered under this Optional                                we will not pay for loss:
                     Coverage; and
                                                                                (1) Resulting from accounting or arlth-
                 (2) Located In the basement or ground                              metical errors   or omissions;
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              {2) Due to the giving or surrendering of                         partners commit whether acting alone
                  property In any exchange or pur-                             or In collusion with other persons.
                  chase; or
                                                                           (2) The only proof of which as to Its exist-
              (3) Of property contained In any                                 ence or amount Is:
                  "money"-operated device unless the
                                                                               (a) An Inventory computation; or
                  amount of "money" deposited In It Is
                  recorded by a continuous recording                           (b) A profit and loss computation.
                  Instrument in the device.
                                                                      c.   The most we will pay for loss or damage
         c.   The most we will pay for loss in any one                     ln. any one occurrence Is the Limit of In-
              occurrence is:                                               surance for Employee Dishonesty shown
                                                                           in the Declarations.
              (1) The limit shown In the Declarations for
                  Inside the Premises for "money" and                 d. All loss or damage:
                  "securities" while:
                                                                           (1) Caused by one or more persons; or
                  (a) In or on the described premises; or
                                                                           (2) Involving a single act or series of re-
                  (b) Within a bank or savings lnstitu-                        fated acts;
                      tlon; and
                                                                           is considered one occurrence.
              (2) The limit shown In the Declarations for
                  Outside the Premises for "money"                    e.   We will pay only for loss or damage you
                  and "securities" while anywhere· else.                   sustain through acts committed or events
                                                                           occurring during the Polley Period.
         d. All loss:                                                      Regardless of the number of years this
                                                                           policy remains in force or the number of
              (1) Caused by one or more persons; or
                                                                           premiums paid, no Limit of Insurance
              (2) Involving a single act or series of re-                  cumulates from year to year or period to
                  fated acts;                                              period.
              Is considered one occurrence.                           f.   This Optional Coverage does not apply to
                                                                           any employee Immediately upon dis-
         e.   You must keep records of all "money" and
                                                                           covary by:
              "securities" so we can verify the amount
              of any loss or damage.                                       (1) You; or
    4.   Employee Dishonesty                                               (2) Any of your partners, officers or dlrec-
                                                                               tors not In collusion with the
         a.   We will pay for direct loss of or damage to
                                                                               employee;
              Business Personal Property and "money"
              and "securities" resulting from dishonest                    of any dishonest act committed by that
              acts committed by any of your employees                      employee before or after being hired by you.
              acting alone or In collusion with other
              persons (except you or your partner) with               g. We will pay only for covered loss or
              the manifest Intent to:                                      damage discovered no later than one year
                                                                           from the end of the Polley Period.
              (1) Cause you to sustain loss or damage;
                  and also                                            h.   If you (or any predecessor In Interest)
                                                                           sustained loss or damage during the
              (2) Obtain financial benefit (other than                     period of any prior Insurance that you
                  salaries, commissions, fees, bonuses,                    could have recovered under that In-
                  promotions, awards, profit sharing,                      surance except that the time within which
                  pensions or other employee benefits                      to discover loss or damage had expired,
                  earned In the normal course of                           we will pay for It under this Optional
                  employment) for:                                         Coverage, provided:
                  (a) Any employee; or                                     (1) ThIs Optional Coverage became effec-
                                                                               tlve at the time of cancellation or ter-
                  (b) Any other person or organization
                                                                               mlnatlon of the prior Insurance; and
         b. We will not pay for loss or damage:                            (2) The loss or damage would have been
              (1) Resulting from any dishonest or                              covered by this Optional Coverage
                  criminal act that you or any of your                         had it been In effect when the acts or


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                       events causing the loss or damage                     b.   Insulating or refractory material;
                       were committed or occurred.
                                                                             c.   sewer piping, underground vessels or
             i.    The insurance under Paragraph h. above                         piping, or piping forming a part of a
                   is part of, not In addition to, the Lfmlt of                   sprinkler system;
                   Insurance applying to this Optional
                   Coverage and Is limited to the lesser of the              d. water piping other than boiler feedwater
                   amount recoverable under:                                    piping, boiler condensate return piping or
                                                                                water piping forming a part of a refrigerat-
                   (1) This Optional Coverage as of Its effec-                  Ing or air conditioning system;
                       tive dat'e; or
                                                                             e.   excavation equipment or construction
                   (2) . The prior Insurance had It remained                      equipment; or
                       In effect.
                                                                             f.   vehicle, aircraft, floating vessel or any
   H. PROPERTY DEFINITIONS                                                        equipment mounted on such vehicle,
       1.    "Accident" means direct physical loss as                             aircraft or floating vessel. However, any
             follows:                                                             property that Is stationary, permanently
                                                                                  Installed at a covered location and that
             a.    mechanical breakdown, Including rupture                        receives electrical power from an external
                   or bursting caused by centrifugal force;                       power supplier will not be considered a
             b.    artificially generated electric current, In-                   vehicle, aircraft or floating vessel.
                   cluding electric arcing, that disturbs               4.   "Money" means:
                   electrical devices, appliances or wires;
                                                                             a.   Currency, coins and bank notes In current
             c.    explosion of steam boilers, steam pipes,                       use and having a face value; and
                   steam engines or steam turbines owned
                   or leased by you, or operated under your                  b. Travelers checks, register checks and
                   control;                                                     money orders held for sale to the public.
             d. loss or damage to steam boilers, steam                 5.    "Operations" means your business activities
                pipes, steam engines or steam turbines                       occurring at the described premises.
                caused by or resulting from any condition
                or eve_nt Inside such equipment; or·                   6.    "Period of restoration" means:

            e.     loss or damage to hot water boilers or                    a.   For other than the Dependent Properties
                   other water heating equipment caused by                        Additional Coverage and Business In-
                   or resulting from any condition or event                       come and Extra Expense - Increased
                   Inside such boilers or equipment.                              Period of Restoration Due to Ordinance or
                                                                                  Law Additional Coverage:
            If an Initial "accident" causes other "acci-
            dents," all will be considered one "accident."                        (1) The period of time that:
            All "accidents" that are the result of the same
            event will be considered one "accident."                                  (a) Begins with the date of direct
                                                                                          physical loss or damage caused
      2.     "Computer equipment" means Covered                                           by or resulting from any Covered
            Property that Is electronic computer or other                                 Cause of Loss at the described
            data processing equipment, Including                                          premises; and
            peripherals used In conjunction with such
            equipment, and Electronic Media and                                       (b) Ends on the earlier of:
            Records as defined In Property Loss Condi-                                    (I) The date when the property at
            tions, Limitation-Electronic Media and                                            the described premises
            Records.
                                                                                              should be repaired, rebuilt or
      3.    "Covered equipment" means Covered Property                                        replaced with reasonable
            built to operate under vacuum or pressure, other                                  speed and similar quality; or
            than weight of contents, or used for the genera-
                                                                                          (II) The date when business Is
            tion, transmission or utilization of energy.
                                                                                              resumed at a new permanent
            None of the following is "covered equipment":                                     location.

            a.    structure, foundation, cabinet, compartment                     (2) "Period of Restoration" does not in-
                  or air supported structure or building;                             clude any Increased period required


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                   due to the enforcement of any or-                     c.   For Dependent Properties Additional
                   dinance or Jaw that:                                       Coverage:

                   (a) Regulates the construction, use                        (1) The period of time that:
                      . or repair, or requires the tearing                        (a) Begins:
                        down of any property; or
                                                                                       (I) 24 hours after the time of
                   (b) Requires any Insured or others to                                   direct physical loss or dam
                       test for, monitor, clean up, remove,                                age for Business Income Ad-
                       contain, treat, detoxify or neutral-                                ditional Coverage; or
                       Ize, or In any way respond to or
                       assess the effects of "pollutants".                             (li) Immediately after the time of
                                                                                           direct physical loss or
              (3) The expiration date of this policy will not                              damage for Extra Expense;
                  cut short the "period of restoration".                          (b) Ends on the earlier of:
        b.    For Business Income and Extra Expense                                    (I) The date when the property at
              - Increased Period of Restoration Due to                                     the premises of the "depend-
              Ordinance or Law Additional Coverage:                                        ent property" should be
                                                                                           repaired, rebuilt or replaced
              (1) The period of time that:                                                 with reasonable speed and
                                                                                           similar quality; or
                  (a) Begins:
                                                                                       (II} The date when your business
                       (i) At the time of direct physical loss                              is resumed at a permanent
                           or damage for Bus Iness Income                                   new location.
                           Additional Coverage; or
                                                                              (2) "Period of restoration" does not In-
                      (li) Immediately after the time of                          clude any Increased period required
                           direct physical loss or                                due to the enforcement of any or-
                           damage for Extra Expense                               dinance or law that:
                           Additional Coverage:                                   (a) Regulates the construction, use
                                                                                      or repair, or requires the tearing
                      caused by or resulting from any                                 down of any property; or
                      Covered Cause of Loss at the
                      described premises; and                                     (b) Requires any Insured or others to
                                                                                      test for, monitor, clean up, remove,
                  (b) Ends on the earlier of:                                         contain, treat, detoxify or neutral-
                                                                                      Ize, or in any way respond to or
                      (I) The date when the property at                               assess the effects of "pollutants".
                          the described premises
                          should be repaired, rebuilt or                      (3) The expiration date ofthls policy will not
                          replaced with reasonable                                cut short the "period of restoration".
                          speed and similar quality; or             7.   "Perishable Stock" means property:
                      (II) The date when business Is                     a.   Maintained under controlled temperature or
                           resumed at a new permanent                         humidity cond~lons for Its preservation; and
                           location.
                                                                         b. Susceptible to loss or damage If the con-
             (2) "Period of Restoration" Includes any                       trolled temperature or humldltycondltlons
                 Increased period required to repair or                     change.
                 reconstruct the property to conform                8.   "Pollutants" means any solid, liquid, gaseous
                 with the minimum standards or any                       or thermal Irritant or contaminant, Including
                 ordinance or law, In force at the time                  smoke, vapor, soot, fumes, acids, alkalis,
                 of loss, that regulates the construction                chemicals and waste. Waste Includes
                 or repair, or requires the tearing down                 materials to be recycled, reconditioned or
                 of any property.                                        reclaimed.
             (3) The expiration date of this policy will not       9.    "Securities" means negotiable and non-nego-
                 cut short the "period of restoration".                  tiable Instruments or contracts representing


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          either "money" or other property and in-                           (2) The Interior of a building or structure,
          cludes:                                                                or property Inside a building or struc-
                                                                                 ture, unless the roof or an outside wall
          a.    Tokens, tickets, revenue and other stamps
                                                                                 of the building or structure Is first
                (whether represented by actual stamps or
                                                                                 damaged by a falling object.
                unused value In a meter) In current use; and
          b.    Evidences of debt Issued In connection                  c.   Water damage means accidental discharge
                with credit or charge cards, which cards                     or leakage of water or steam as the direct
                are not Issued by you;                                       result oft he breaking apart or cracking of any
                                                                             part of a system or appliance (other than a
          but does not Include "money".                                      sump system lndudlng Its related equipment
                                                                             and parts) containing water or steam.
    10.   "Specified Causes of Loss" means the following:
          Fire; lightning; explosion, windstorm or hall;            11. "Valuable papers and records" means In-
          smoke; aircraft or vehicles; riot or civil com-               scribed, printed, or written:
          motion; vandalism; leakage from fire extin-
                                                                        a.   Pocuments;
          guishing equipment; sinkhole collapse;
          volcanic action; falling objects; weight of                   b.   Manuscripts; and
          snow, Ice or sleet; water damage.
                                                                        c.   Records;
          a.    Sinkhole collapse means the sudden sink-
                Ing or collapse of land Into under ground               Including abstracts, books, deeds, drawings,
                empty spaces created by the action of                   films, maps or mortgages.
                water on limestone or dolomite. This
                cause of loss does not Include:                         But "valuable papers and records" does not
                                                                        mean:
                (1) The cost of filling sinkholes; or
                (2) Sinking or collapse of land Into man-               d.   "Money" or "Securities";
                    made underground cavities.                          e.   Converted Data;
          b.    Falling objects does not include loss of or
                                                                        f.   Programs or Instructions used In your
                damage to:
                                                                             data processing operations, Including the
                (1) Personal property in the open; or                        materials on which the data Is recorded.




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                                                                                            BUSINESSOWNERS POLICY
         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
          BUSINESSOWNERS COVERAGE ENHANCEMENTS


This endorsement modifies Insurance provided under the following:
    BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
                                                        SUMMARY
                                                                                 Limit
                      Coverage
                      Arson Reward                                            10% or $10,000
                      Fire Extinguisher Recharge                                     Included
                      Salesperson's Samples                                            $2,000
                      Removal Permit                                                  30 days
                      "Money" and "Securities"                                 $1 0,000 I nslde
                                                                             $10,000 Outside


A. The following are added to Paragraph A.5. Addition-                       to Business Personal Property to apply to
   al Coverages:                                                             salespersons samples while away from the
                                                                             described premises·.
    i.   Arson Reward for Conviction
                                                                        b. The most we will pay under this Coverage
         a.   In the event that a covered fire loss was the                Extension for loss or damage in any one
              result of an act of arson, we will pay a reward              occurrence Is $2,000.
              to anyone, other than paid Investigators,
              who gives legal authorities information that         2.   Removal Permit
              leads to the conviction of anyone who com-
              mltted such arson.                                        If Covered Personal Property Is removed to a
                                                                        new premises that Is described In the Declara-
         b. We will pay up to 1o percent of the amount                  tions, you may extend this Insurance to Include
              of the insured fire loss or $1 0,000,                     that Covered Personal Property at each
              whichever Is less. This payment is the most               premises during the removal. Coverage at each
              we will pay In any one occurrence, regard-                premises will apply In the proportion that the
              less of the number of persons providing                   value at each premises bears to the value of all
              Information or con-victed of arson.                       Covered Personal Property being removed.
                                                                        This permit applies up to 30 days after the date
         c.   The limit for this Additional Coverage Is In
                                                                        Covered Personal Property is first removed at
              addition to the Limits of Insurance.
                                                                        the previous premises; after that, this Coverage
         d.   No deductible applies to this Arson Re-ward               Extension does not apply at the previous
              for Conviction Additional Coverage.                       premises.
    2.   Fire Extinguisher Recharge                             C. The following replaces Paragraph G.3. Money and
                                                                   Securities Optional Coverage:
         a.   We will pay the expense you Incur to
              recharge portable fire extinguishers when                 Money And Securities
              used to combat a covered fire.
                                                                        a.   Wewlil pay for loss of"money" and "securkles"
         b. This Additional Coverage Is not subject to                       used In your business while at a bank or
            the Limits of Insurance.                                         savings lnstttution, wrrhln your living quarters
                                                                             or the living quarters of your partners or any
         c.   No deductible applies to this Additional
                                                                             employee having use and custody of the
              Coverage.                                                      property, at the described premises, or In tran-
B. Under Paragraph A.6. the following Coverage Ex-                           SIT by direct route between any of these places,
   tensions are added:                                                       resulting directly from:

   1.    Salespersons Samples                                                (1) Theft, meaning any act of stealing;
         a.   You may extend the insurance that applies                      (2) Disappearance; or

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              (3) Destruction.                                                (b) Within a bank or savings Institution;
         b.   In addition to the Limitations and Ex-                          unless a higher Limit of Insurance for
              clusions applicable to property coverage,                       "money" and "securities" Inside the
              we will not pay for loss:                                       premises Is shown In the Declara-
                                                                              tions; and
              (1) Resulting from accounting or arithmeti-
                  cal errors or omissions;                                (2) Outside the Premises (Limited loss from
                                                                              an unattended motor vehicle Is ex-
              (2) Due to the giving or surrendering of                        cluded), $10,000 for "money" and
                  property In any exchange or purchase;                       "securities") while anywhere else, un-
              (3) Of property contained in any "money"-                       less a higher Limit of Insurance for
                 operated device unless the amount of                         "money'' and "securities" outside the
                 "money" deposited In It Is recorded by                       premises Is shown In the Declarations.
                 a continuous recording Instrument In                d. Allloss:
                 the device; or
                                                                          (1) Caused by one or more persons; or
              (4) From an unattended motor vehicle.
                                                                          (2) Involving a single act or series of
        c.    The most we will pay for loss In any one                        related acts;
              occurrence Is:
                                                                          Is considered one occurrence.
              (1) Inside the Premises, $10,000 for
                 "money" and "securities" while:                     e.   You must keep records of all "money" and
                                                                          "securities" so we can verify the amount of
                 (a) In or on the described premises; or                  any loss or damage.




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                                                                                                       BUSINESSOWNERS



         BUSINESSOWNERS COMMON POLICY CONDITIONS


All coverages of this policy are subject to the following                                  during a period of seasonal unoccu-
conditions.                                                                                pancy; or
A. Cancellation                                                                      {b) Pay property taxes that are owing
                                                                                         and have been outstanding for
    1.   The first Named Insured shown in the Declarations
                                                                                         more than one year following the
         may cancel this policy by mailing or delivering to us                           date due, except that this provision
         advance written notice of cancellation.
                                                                                         will not apply where you are in a
    2.   We may cancel this policy by mailing or delivering                              bona fide dispute with the taxing
         to the first Named Insured written notice of can-                               authority regarding payment of
         cellation at least:                                                             such taxes.

         a.   5 days before the effective date of cancel-                   b.   10 days before the effective date of cancel-
              lation if any one of the following conditions                      lation if we cancel for nonpayment of
              exists at any building that is Covered                             premium.
              Property in this policy.                                      c.   30 days before the effective date of cancel-
              (1) The building has been vacant or                                lation if we cancel for any other reason.
                  unoccupied 60 or more consecutive                    3.   We will mail or deliver our notice to the first
                  days. This does not apply to:                             Named Insured's last mailing address known to
                  (a) Seasonal unoccupancy; or                              us.
                  (b) Buildings in the course of con-                 4.    Notice of cancellation will state the effective
                      struction, renovation or addition.                    date of cancellation. The policy period will end
                                                                            on that date.
                  Buildings with 65% or more of the rental
                  units or floor area vacant or unoccupied             5.   If this policy is cancelled, we will send the first
                  are considered unoccupied under this                      Named Insured any premium refund due. If we
                  provision.                                                cancel, the refund will be pro rata. If the first
                                                                            Named Insured cancels, the refund may be less
              (2) After damage by a covered cause of                        than pro rata. The cancellation will be effective
                  loss, permanent repairs to the building:                  even if we have not made or offered a refund.
                  (a) Have not started, and                           6.    If notice is mailed, proof of mailing will be
                  (b) Have not been contracted for,                         sufficient proof of notice.

                  within 30 days of initial payment of loss.      B. Changes

              (3) The building has:                                   This policy contains all the agreements between you
                                                                      and us concerning the insurance afforded. The first
                  (a) An outstanding order to vacate;                 Named Insured shown in the Declarations is
                  (b) An outstanding demolition order; or             authorized to make changes in the terrns of this
                                                                      policy with our consent. This policy's terms can be
                  (c) Been declared unsafe by govern-                 amended or waived only by endorsement issued by
                      mental authority.                               us and made a part of this policy.
              (4) Fixed and salvag~able items have                C. Concealment, Misrepresentation Or Fraud
                  been or are being removed from the
                  building and are not being replaced.                This Policy is void in any case of fraud by you as it
                  This does not apply to such removal                 relates to this policy at any time. It is also void if you
                  that is necessary or incidental to any              or any other insured, at any time, intentionally
                  renovation or remodeling.                           conceal or misrepresent a material fact concerning:
              (5) Failure to:                                         1.    This policy;
                 (a) Furnish necessary heat, water,                   2.    The Covered Property;
                     sewer service or electricity for 30
                     consecutive days or more, except                 3.    Your interest in the Covered Property; or

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      4.    A claim under this policy.                                I.   Premiums
 D. Examination Of Your Books And Records                                  1. The first Named Insured shown in the
      We may examine and audit your books and records                           Declarations:
      as they relate to this policy at any time during the                      a.   Is responsible for the payment of all
      policy period and up to three years afterward.                                 premiums; and
 E. Inspections And Surveys                                                     b.   Will be the payee for any return premiums
      We have the right but are not obligated to:                                    we pay.

      1. Make inspections and surveys at any time;                         2.   The premium shown in the Declarations was
                                                                                computed based on rates in effect at the time
      2.    Give you reports on the conditions we find; and                     the policy was issued. On each renewal,
      3. Recommend changes.                                                     continuation or anniversary of the effective
                                                                                date of this policy, we will compute the
     Any inspections, surveys, reports or recommend-                            premium in accordance with our rates and
     ations relate only to insurability and the premiums to                     rules then in effect.
     be charged. We do not make safety inspections.
     We do not undertake to perform the duty of any                        3. With our consent, you may continue this policy
     person or organization to provide for the health or                        in force by paying a continuation premium for
     safety of workers or the public. And we do not                             each successive one-year period.         The
     warrant that conditions:                                                   premium must be:

     1. Are safe or healthful; or                                               a.   Paid to us prior to the anniversary dale; and
     2.    Comply with      laws, regulations,      codes or                    b.   Determined in accordance with Paragraph
           standards.                                                                2. above.
     This condition applies not only to us, but also to                         Our forms then in effect will apply. If you do
     any rating, advisory, rate service or similar                              not pay the continuation premium, this policy
     organization which makes insurance inspections,                            will expire on the first anniversary date that we
     surveys, reports or recommendations.                                       have not received the premium.
F.   Insurance Under Two Or More Coverages                                 4. Undeclared exposures or change in your
                                                                                business operation, acquisition or use of
     If two or more of this policy's coverages apply to                         locations may occur during thP. rolicy period
     the same loss or damage, we will no! pay rnore                             that are not shown in the Declarations. If so,
     than the actual amount of the loss or damage.                              we may require an additional premium. That
G. Liberalization                                                               premium will be determined in accordance
                                                                                with our rates and rules then in effect.
     If we adopt any revision that would broaden the
     coverage under this policy without additional                    J.   Premium Audit
     premium within 45 days prior to or during the                         1. This policy is subject to audit if a premium
     policy period, the broadened coverage . will                               designated as an advance premium is shown
     immediately apply to this policy.                                          in the Declarations. We will compute the final
H. Other Insurance                                                              premium due when we determine your actual
                                                                                exposures.
     1.    If there is other insurance covering the same loss
           or damage, we will pay only for the amount of                   2.   Premium shown in this policy as advance
           covered loss or damage in excess of the amount                       premium is a deposit premium only. At the
           due from that other insurance, whether you can                       close of each audit period we will compute the
           collect on it or not. But we will not pay more than                  earned premium for that period.          Audit
           the applicable Limit of Insurance.                                   premiums are due and payable on notice to
                                                                                the first Named Insured. If the sum of the
     2.    Business Liability Coverage is excess over                           advance and audit premiums paid for the
           any other insurance that insures for direct                          policy period is greater than the earned
           physical loss or damage.                                             premium, we will return the excess to the first
                                                                                Named Insured.
     3.    When this insurance is excess, we will have no
           duty under Business Liability Coverage to defend                3. The first Named Insured must keep records of the
           any claim or "suit" that any other insurer has a                     information we need for premium computation,
           duty to defend. If no other insurer defends, we                      and send us copies at such times as we may
           will undertake to do so; but we will be entitled to                  request.
           the insured's rights against all those other
           insurers.

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 K. Transfer Of Rights Of Recovery Against Others                           You may also accept the usual bills of lading
    To Us                                                                   or shipping receipts limiting the liability of
                                                                            carriers.
    1.   Applicable to Businessowners Property Coverage:
                                                                            This will not restrict your insurance.
         If any person or organization to or for whom
         we make payment under this policy has rights                  2.   Applicable to Businessowners Liability Coverage:
         to recover damages from another, those rights
                                                                            If the Insured has rights to recover all or part
         are transferred to us to the extent of our
                                                                            of any payment we have made under this
         payment. That person or organization must
                                                                            policy, those rights are transferred to us. The
         do everything necessary to secure our rights
                                                                            insured must do nothing after loss to impair
         and must do nothing after loss to impair them.
                                                                            them. At our request, the insured will bring
         But you may waive your rights against another
                                                                            "suit" or transfer those rights to us and help us
         party in writing:
                                                                            enforce them. This condition does not apply
         a. Prior to a loss to your Covered Property.                       to Medical Expenses Coverage.
         b.   After a loss to your Covered Property only if,      L.   Transfer Of Your Rights And Duties Under This
              at time of loss, that party is one of the                Policy
              following:
                                                                       Your rights and duties under this policy may not be
              {1) Someone insured by this insurance;                   transferred without our written consent except in
                                                                       the Case of death of an individual Named Insured.
              (2) A business firm:
                                                                       If you die, your rights and duties will be transferred to
                  (a) Owned or controlled by you; or
                                                                       your legal representative but only while acting within
                  (b) That owns or controls you; or                    the scope of duties as your legal representative. Until
                                                                       your legal representative is appointed, anyone having
              (3) Your tenant.                                         proper temporary custody of your property will have
                                                                       your rights and duties but only with respect to that
                                                                       property




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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                CALCULATION OF PREMIUM


This endorsement modifies insurance provided under the following:

    BOILER AND MACHINERY COVERAGE PART
    BUSINESSOWNERS POLICY
    COMMERCIAL AUTOMOBILE COVERAGE PART
    COMMERCIAL CRIME COVERAGE PART
    COMMERCIAL GENERAL LIABILITY COVERAGE PART
    COMMERCIAL INLAND MARINE COVERAGE PART
    COMMERCIAL PROPERTY COVERAGE PART
    EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
    FARM COVERAGE PART
    LIQUOR LIABILITY COVERAGE PART
    OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
    POLLUTION LIABILITY COVERAGE PART
    PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
    PROFESSIONAL LIABILITY COVERAGE PART
    RAILROAD PROTECTIVE LIABILITY COVERAGE PART
    SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY- NEW YORK


The following Is added:

The premium shown in the Declarations was computed based on rates in effect at the time the policy was issued. On
each renewal, continuation, or anniversary of the effective dale of this policy, we will compute the premium in accordance
with our rates and rules then in effect.




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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                WAR LIABILITY EXCLUSION


 This endorsement modifies insurance provided under the following:

      BUSINESSOWNERS LIABILITY COVERAGE FORM
      BUSINESS PROVIDER LIABILITY COVERAGE FORM
      CONTRACTORS LIABILITY COVERAGE FORM


 The following provisions are added to the Businessowners Liability Coverage Form BP 00 06, Business Provider
 Liability Coverage Form BPP-0007 and Contractors Liability Coverage Form ACP-0007:
 A.   Exclusion i. under Paragraph 8.1., Exclusions -Applicable To Business Liability Coverage is replaced by
      the following:
      1. Applicable To Business liability Coverage
         This insurance does not apply to:
         i.   War
              "Bodily injury", "property damage", "personal injury", "advertising injury" or "personal and advertising
              injury", however caused, arising, directly or indirectly, out of:
              (1) War, including undeclared or civil war; or
              (2) Warlike action by a military force, including action in hindering or defending against an actual or
                  expected attack, by any government, sovereign or other authority using military personnel or other
                  agents; or
              (3) Insurrection, rebellion, revolution, usurped power, or action taken by governmental authority in hin-
                  dering or defending against any of these.
 B. Exclusion h. under Paragraph 8.2. Exclusions - Applicable To Medical Expenses Coverage does not
    apply. Medical Expenses due to war are now subject to Exclusion g. of Paragraph B.2. since "bodily injury"
    arising out of war is now excluded under Paragraph B.1., Exclusions ·-Applicable To Business Liability
    Coverage.




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                                                                                                   BUSINESSOWNERS
          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFUL(..Y.

               EXCLUSION .. YEAR 2000 COMPUTER-RELATED
                  AND OTHER ELECTRONIC PROBLEMS


  This endorsement modifies insurance provided under the following:

  BUSINESSOWNERS LIABILITY COVERAGE FORM


 The following exclusion is added to Paragraph 8.,                               (d) Computer networks;
 Exclusions in the Businessowners Liability Coverage
 Form:                                                                           (e) Microprocessors (computer chips)
                                                                                     not part of any computer system; or
     1.   This insurance does not apply to "bodily
          injury," "property damage," "personal injury"                          (f) Any other computerized or elec-
          or "advertising injury" arising directly or                                tronic equipment or components; or
          indirectly out of:
                                                                             (2) Any other products and any services,
          a.   Any actual or alleged failure, malfunction                        data or functions that directly or
               or inadequacy of:                                                 indirectly use or rely upon, in any
                                                                                 manner, any of the items listed in
               (1) Any of the following, whether belong-                         Paragraph 1.a. (1) of this endorsement
                   ing to any insured or to others:
                                                                             due to the inability to correctly recognize,
                   (a) Computer hardware, inducting micro-                   process, distinguish, interpret or accept
                       processors or other Electronic Data                   the year 2000 and beyond.
                       Processing Equipment as may be
                       described elsewhere in the policy;               b.   Any advice, consultation, design, evalua-
                                                                             tion, inspection, installation, maintenance,
                   (b) Computer application software or                      repair, replacement or supervision provided
                       other Electronic Media and Records                    or done by you or for you to determine,
                       as may be described elsewhere in                      rectify or test for, any potential or actual
                       the policy;                                           problems described in Paragraph 1.a. of
                                                                             this endorsement.
                   (c) Computer operating systems and
                       related software;




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                                                                                                  BUSINESSOWNERS
        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

             EMPLOYMENT-RELATED PRACTICES EXCLUSION


This endorsement modifies insurance provided under the following:

    BUSINESSOWNERS POLICY


The following exclusion is added to Section B. EXCLUSIONS of the Businessowners Liability Coverage Form:
This insurance does not apply to:
    1 . "Bodily injury" or "personal injury" to:
        a.   A person arising out of any:
             (1) Refusal to employ that person;
             (2) Termination of that person's employment; or
             (3) Employment-related practices, policies, acts or omissions, such as coercion, demotion, evaluation,
                 reassignment, discipline, defamation, harassment, humiliation or discrimination directed at that
                 person; or
        b.   The spouse, child, parent, brother or sister of that person as a consequence of "bodily injury" or "personal
             injury" to that person at whom any of the employment-related practices described in paragraphs (1 ), (2)
             or (3) above is directed.
        This exclusion applies:
        a.   Whether the insured may be liable as an employer or in any other capacity; and
        b.   To any obligation to share damages with or repay someone else who must pay damages because of the
             injury.




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           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                    LIMITED FUNGI OR BACTERIA COVERAGE


 This endorsement modifies insurance provided under the following:

      BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
      BUSINESSOWNERS STANDARD PROPERTY COVERAGE FORM
      BUSINESS PROVIDER SPECIAL PROPERTY COVERAGE FORM
      BUSINESS PROVIDER STANDARD PROPERTY COVERAGE FORM
      CONTRACTORS SPECIAL PROPERTY COVERAGE FORM


 A.   Fungi Or Bacteria Exclusions                                              This exclusion does not apply:
      i.   Paragraph (5) of the Increased Cost Of Construc-                     (1) When "fungi", wet or dry rot or bacte-
           tion Additional Coverage in the Businessowners                           ria result from fire or lightning; or
           Special Property Coverage Form and the Busi-
                                                                                (2) To the extent that coverage is provided
           nessowners Standard Property Coverage Form
                                                                                    in the Additional Coverage - Limited
           is replaced by the following:
                                                                                    Coverage For "Fungi", Wet Or Dry Rot
               (5) Under this Additional Coverage, we                               and Bacteria (contained in the Limited
                   will not pay for:                                                Fungi or Bacteria Coverage) if any, with
                                                                                    respect to loss or damage by a cause of
                    (a) The enforcement of any ordinance                            loss other than fire or lightning.
                        or law which requires demolition,
                        repair, replacement, reconstruction,           3.   Paragraph B.2.k.(2) of the Exclusions in the
                        remodeling or remediation of" prop-                 Businessowners Special Property Coverage
                        erty due to contamination by "pollut-               Form and in the Business Provider Special
                        ants" or due to the presence,                       Property Coverage Form and paragraph
                        growth, proliferation, spread or any                B.2.d.(2) of the Exclusions in the Contractors
                        activity of "fungi", wet or dry rot or              Special Property Coverage Form is replaced
                        bacteria; or                                        by the following:
                    (b) Any costs associated with the en-                       (2) Rust or other corrosion, decay, dete-
                        forcement of an ordinance or law                            rioration, hidden or latent defect or
                        which requires any insured or others                        any quality in property that causes it
                        to test for, monitor, clean up, re-                         to damage or destroy itself;
                        move, contain, treat, detoxify or
                                                                  B.   Limited Fungi Or Bacteria Coverage
                        neutralize, or in any way respond to
                        or assess the effects of "pollutants",         1.   The following Additional Coverage is added:
                        ''fungi", wet or dry rot or bacteria.
                                                                            Limited Coverage For "Fungi", Wet Rot,
      2.   The following exclusion is added to B. Exclusions:               Dry Rot And Bacteria
               "Fungi", Wet Rot, Dry Rot And Bacteria                           (i) The coverage described in Paragraphs
                                                                                    (2) and (6) of this Additional Coverage
               Presence, growth, proliferation, spread or
                                                                                    only applies when the "fungi", wet or dry
               any activity of "fungi", wet or dry rot or
                                                                                    rot or bacteria are the result of a
               bacteria. But if "fungi", wet or dry rot or
               bacteria result in a "specified cause of                             (a) "specified cause of loss" other than
               loss" when a Special Property Coverage                                   fire or lightning when a Special
               Form applies, or a Covered Causes of                                     Property Coverage Form applies, or
               Loss when a Standard Property Cover-
                                                                                    (b) Covered Causes of Loss when a
               age Form applies, we will pay for the loss
                                                                                        Standard Property Coverage Form
               or damage caused by that "specified
                                                                                        applies
               cause of loss" or Covered Cause of Loss,
               which ever applies.                                                  that occurs during the policy period
                                                                                    and only if all reasonable means


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                were used to save and preserve the                              Insurance on the affected Covered
                property from further damage at the                             Property.
                time of and after that occurrence.
                                                                                If there is covered loss or damage to
           (2) We will pay for loss or damage by                                Covered Property, not caused by
               "fungi", wet or dry rot or bacteria. As                          "fungi", wet or dry rot or bacteria, loss
               used in this Limited Coverage, the                               payment will not be limited by the
               term loss or damage rneans:                                      terms of this Limited Coverage, ex-
                (a) Direct physical loss or damage to                           cept to the extent that "fungi", wet or
                                                                                dry rot or bacteria causes an in-
                    Covered Properly caused by "fungi",
                    wet or dry rot or bacteria, including                       crease in the loss. Any such increase
                                                                                in the loss will be subject to the terms
                    the cost of removal of the "fungi",
                                                                                of this Limited Coverage.
                    wet or dry rot or bacteria;
                                                                           (5) The terms of this Limited Coverage do not
               (b) The cost to tear out and replace
                                                                               increase or reduce the coverage provided
                   any part of the building or other
                                                                               under the Water Damage, Other Liquids,
                   property as needed to gain ac-
                                                                               Powder Or Molten Material Damage or
                   cess to the "fungi", wet or dry rot
                                                                               Collapse Additional Coverages.
                   or bacteria; and
                                                                           (6) The following applies only if Business In-
               (c) The cost of testing performed af-
                                                                               come and/or Extra Expense Coverage
                   ter removal, repair, replacement
                                                                               applies to the described premises and
                   or restoration of the damaged
                                                                               only if the suspension of "operations"
                   property is completed, provided
                                                                               satisfies all the terms and conditions of
                   there is a reason to believe that
                                                                               the applicable Business Income and/or
                   "fungi", wet or dry rot or bacteria
                                                                               Extra Expense Additional Coverage.
                   are present.
                                                                                a.   If the loss which resulted in "fungi'\
           (3) The coverage described under this Lim-
                                                                                     wet or dry rot or bacteria does not in
               ited Coverage is limited to $15,000. Re-
                                                                                     itself necessitate a suspension of
               gardless of the number of claims, this
                                                                                     "operations", but such suspension is
               limit is the most we will pay for the total
                                                                                     necessary due to loss or damage to
               of all loss or damage arising out of all
                                                                                     property caused by ''fungi", wet or
               occurrences of
                                                                                     dry rot or bacteria, then our payment
               (a) "specified causes of loss" (other                                 under the Business Income and/or
                   than fire or lightning) when a Special                            Extra Expense Is limited to the
                   Properly Coverage Form applies, or                                amount of loss and/or expense sus-
                                                                                     tained in a period of not more than
               (b) Covered Causes of Loss when a
                                                                                     30 days. The days need not be
                   Standard Property Coverage Form
                                                                                     consecutive.
                   applies,
                                                                               b.     If a covered suspension of "opera-
              which take place in a 12-month pe-
                                                                                     tions" was caused by loss or damage
              riod (starting with the beginning of the
                                                                                     other than "fungi", wet or dry rot or
              present annual policy period). With
                                                                                     bacteria, but remediation of "fungi",
              respect to a particular occurrence of
                                                                                     wet or dry rot or bacteria prolongs the
              loss which results in "fungi", wet or
                                                                                     "period of restoration", we will pay for
              dry rot or bacteria, we will not pay
                                                                                     loss and/or expense sustained during
              more than the total of $15,000 even if
                                                                                     the delay (regardless of when such a
              the "fungi", wet or dry rot or bacteria
                                                                                     delay occurs during the "period of
              continues to be present or active, or
                                                                                     restoration"), but such coverage is
              recurs, in a later policy period.                                      limited to 30 days. ·The days need not
          (4) The coverage provided under this                                       be consecutive.
              Limited Coverage does not Increase
                                                              C. Fungi Definition
              the applicable Limit of Insurance on
              any Covered Property. If a particular               1.   The following definition is added to Property
              occurrence results in loss or damage                     Definitions:
              by "fungi", wet or dry rot or bacteria,
                                                                       "Fungi" means any type or form of fungus •. in-
              and other loss or damage, we will not
                                                                       cluding mold or mildew, and any mycotox1ns,
              pay more, for the total of all loss or
                                                                       spores, scents or by-products produced or re-
              damage, than the applicable Limit of
                                                                       leased by fungi.



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           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                 FUNGI OR BACTERIA EXCLUSION (LIABILITY)


     This endorsement modifies insurance provided under the following:

        BUSINESSOWNERS LIABILITY COVERAGE FORM
        BUSINESS PROVIDER LIABILITY COVERAGE FORM
        CONTRACTORS LIABILITY COVERAGE FORM


    A   The following exclusion is added to Paragraph 1.,                   (2) Any loss, cost or expenses arising out of the
        Applicable to Business Liability Coverage of Section B.                 abating, testing for, monitoring, cleaning up,
        Exclusions:                                                             removing, containing, treating, detoxifying,
                                                                                neutralizing, remediating or disposing of, or In
        B. Exclusions
                                                                                any way responding to, or assessing the ef-
            Fungi or Bacteria                                                   fects of, "fungi" or bacteria, by any insured or
                                                                                by any other person or entity.
            (1) "Bodily injury", "property damage" or "per-
                sonal and advertising injury" which would not               This exclusion does not apply to any "fungi" or
                have occurred, in whole or in part, but for the             bacteria that are, are on, or are contained in, a
                actual, alleged or threatened inhalation of, in-            good or product intended for consumption.
                gestion of, contact with, exposure to, exis-        B. The following definition is added:
                tence of, or presence of, any "fungi" or bacte-
                ria on or within a building or structure,               1. "Fungi" means any type or form of fungus, in-
                including its contents, regardless of whether               cluding mold or mildew and any mycotoxins,
                any other cause, event, material or product                 spores, scents or by-products produced or re-
                contributed concurrently or in any sequence                 leased by fungi.
                to such injury or damage.




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                                                                                                     BUSINESSOWNERS



              BUSINESSOWN.ERS LIABILITY COVERAGE FORM


Various provisions in this policy restrict coverage.                       b.   This insurance applies:
Read the entire policy carefully to determine rights,
                                                                                (1) To "bodily injury" and "property dam-
duties and what is and is not covered.
                                                                                    age" only if:
Throughout this policy the words "you" and "your" refer to                          (a) The "bodily injury" or "property dam-
the Named Insured shown in the Declarations. The words                                  age" is caused by an "occurrence'
"we", "us" and "our" refer to the Company providing this                                that takes place in the "coverage
insurance.                                                                              territory"; and
The word "insured" means any person or organization                                 (b) The "bodily injury" or "property dam-
qualifying as such under Section C - Who Is An                                          age" occurs during the policy period.
Insured.
                                                                                (2) To:
Other words and phrases that appear in quotation
                                                                                    (a) "Personal injury" caused by an of-
marks have special meaning. Refer to Section IF
                                                                                        fense arising out of your business,
Liability And Medical Expenses Definitions.
                                                                                        excluding advertising, publishing,
A. Coverages                                                                            broadCasting or telecasting done by
                                                                                        or for you;
    1.   Business Liability
                                                                                    (b) "Advertising injury" caused by an
         a.   We will pay those sums that the insured                                   offense committed in the course of
              becomes legally obligated to pay as                                       advertising your goods, products or
              damages because of "bodily injury'', "property                            services;
              damage", "personal injury'' or "advertising                       but only if the offense was committed in
              injury'' to which this insurance applies. We                      the "coverage territory" during the policy
              will have the right and duty to defend the                        period.
              insured against any "suif' seeking those
              damages. However, we will have no duty to                    c.   Damages because of 'bodily injury" include
              defend the insured against any sulf' seeking                      damages claimed by any person or organ-
              damages for "bodily injury'', property dam-                       ization for care, loss of services or death
              age", "personal injury'', or advertising injury''                 resulting at any time from the "bodily injury".
              to which this insurance does not apply. We                   d.   Coverage Extension - Supplementary
              may at our discretion, investigate any "occur-
                                                                                Payments
              rence" and settle any daim or "suir' that may
              result. But:                                                      In addition to the limit of Insurance we
                                                                                will pay, with respect to any claim we
              (1) The amount we will pay for damages                            investigate or settle, or any "suit" against
                  is limited as described in Section D.                         an insured we defend:
                  Liability And Medical Expenses Limits
                  Of Insurance; and                                             (1) All expenses we incur,
                                                                                (2) Up to $250 for cost of bail bonds
              (2) Our right and duty to defend end
                                                                                    required because of accidents or traffic
                  when we have used up the applicable
                                                                                    law violations arising out of the use of
                  limit of insurance in the payment of
                                                                                    any vehicle to which Business Liability
                  judgments or settlements or medical
                                                                                    Coverage for "bodily injury'' applies. We
                  expenses.
                                                                                    do not have to furnish these bonds.
              No other obligation or liability to pay sums or                   {3) The cost of bonds to release attach-
              perfomn acts or services Is covered .unless
                                                                                    ments, but only for bo~d amounts
              explicitly provided for under Coverage                                within our Limit of Insurance. We do
              Extension -Supplementary Payments.                                    not have to furnish these bonds.



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             (4) All reasonable expenses incurred by                                (c) Notify any other insurer whose
                 the insured at our request to assist                                   coverage is available to the
                 us in the investigation or defense of                                  indemnitee; and
                 the claim or "suit", including actual
                                                                                    (d) Cooperate with us with respect to
                 loss of earnings up to $250 a day
                                                                                        coordinating other applicable insur-
                 because of time off from work.
                                                                                        ance available to the indemnitee; and
             (5) All costs taxed against the insured in
                                                                                (2) Provides us with written authorization to:
                 the "suit".
                                                                                    (a) Obtain records and other informa-
             (6) Prejudgment interest awarded against
                                                                                        tion related to the "suir'; and
                   the insured on that part of the judgment
                   we pay. If we make an offer to pay the                           (b) Conduct and control the defense
                   Limit of Insurance, we will not pay any                              of the indemnitee in such "suit".
                   prejudgment interest based on that
                                                                           So long as the above conditions are met,
                   period of time after the offer.
                                                                           attorneys' fees incurred by us in the defense of
             (7) All interest on the full amount of any                    that indemnitee, necessary litigation expenses
                 judgment that accrues after entry of                      incurred by us and necessary litigation expenses
                 the judgment and before we have                           incurred by the indemnitee at our request will be
                 paid, offered to pay, or deposited in                     paid as Supplementary Payments. Notwithstand-
                 court the part of the judgment that is                    ing the provisions of Paragraph B.1.b.(2) of
                 within our Limit of Insurance.                            Exclusions, such payments will not be deemed to
                                                                           be damages for "bodily injury" and "property
        If we defend an insured against a "suit" and
                                                                           damage" and will not reduce the limits of
        an indemnitee of the insured is also named
                                                                           insurance.
        as a party to the "suit", we will defend that
        indemnitee if all of the following conditions                      Our obligation to defend an insured's indemnitee
        are met:                                                           and to pay for attorneys' fees and necessary
                                                                           litigation expenses as Supplementary Payments
        a.   The "suif' against the indemnitee seeks dam-
                                                                           ends when:
             ages for which the insured has assumed the
             liability of the indemnitee in a contract or                  a.   We have used up the applicable limit of
             agreement that is an "insured contracf';                           insurance in the payment of judgments or
                                                                                settlements; or
        b.   This insurance applies to such liability
             assumed by the insured;                                       b.   The conditions set forth above, or the
                                                                                terms of the agreement described in
        c.   The obligation to defend, or the cost of
                                                                                Paragraph f. above are no longer met.
             the defense of, that indemnitee, has also
             been assumed by the insured in the                       2.   Medical Expenses
             same "insured contract";
                                                                           a.   We will pay medical expenses as described
        d.   The allegations in the "suif' and the infor-                       below for "bodily injury" caused by an
             mation we know about the "occurrence" are                          accident:
             such that no conflict appears to exist
                                                                                (1) On premises you own or rent;
             between the interests of the insured and the
             interests of the indemnitee:                                       (2) On ways next to premises you own or
                                                                                    rent; or
        e. The indemnitee and the insured ask us to
             conduct and control the defense of that                            (3) Because of your operations;
             indemnitee against such "suif' and agree that
             we can assign the same counsel to defend                               provided that:
             the insured and the indemnitee; and                                    (a) The· accident takes place in the
                                                                                        "coverage territory" and during
       f.    The indemnitee:
                                                                                        the policy period;
             (1) Agrees in writing to:
                                                                                    (b) The expenses are incurred and
                 (a) Cooperate with us in the investi-                                  reported to us within one year of
                     gation, settlement or defense of                                   the date of the accident; and
                     the "suit";
                                                                                    (c) The injured person submits to
                 (b) Immediately send us copies of any                                  examination, at our expense, by
                     demands, notices, summonses or                                     physicians of our choice as often
                     legal papers received in connection                                as we reasonably require.
                     with the "suif';

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         b.   We will make these payments regardless                       c.   Liquor Liability
              of fault. These payments will not exceed
              the Limit of Insurance.   We will pay                             "Bodily injury'' or "property damage" for
              reasonable expenses for:                                          which any insured may be held liable by
                                                                                reason of:
               (1) First aid administered at the time of
                                                                                (1) Causing or contributing to the intoxication
                   an accident;
                                                                                    of any person;
              (2) Necessary medical, surgical, x-ray and
                                                                                (2) The furnishing of alcoholic beverages to
                   dental services,    including   prosthetic
                                                                                     a person under the legal drinking age or
                   devices; and
                                                                                     under the influence of alcohol; or
              (3) Necessary ambulance, hospital, profes-                        (3) Any statute, ordinance or regulation
                   sional nursing and funeral services.                             relating to the sale, gift, distribution or
B. Exclusions                                                                       use of alcoholic beverages.
                                                                                This exclusion applies only if you are in the
    1. Applicable To Business Liability Coverage
                                                                                business of manufacturing, distributing, selling,
        This insurance does not apply to:                                       serving or furnishing alcoholic beverages.

        a.    Expected Or Intended Injury                                  d.   Workers' Compensation And Similar
                                                                                Laws
              "Bodily injury" or "property damage" expected
              or intended from !he standpoint of !he                            Any obligation of the insured under a
              insured. This exclusion does not apply to                         workers' compensation, disability benefits
              "bodily injury" resulting from the use of rea-                    or unemployment compensation law or
              sonable force to protect persons or property.                     any similar law.

        b.    Contractual Liability                                        e.   Employer's Liability

              "Bodily injury" or "p.roperty damage" for                         "Bodily Injury'' to:
              which the insured is obligated to pay                             ( 1) An "employee" of the insured arising
              damages by reason of the assumption of                                out of and in the course of:
              liability in a contract or agreement. This
              exclusion does not apply to liability for                             (a) Employment by the insured; or.
              damages:                                                              {b) Perfoniling duties related to the con-
              (1) That the insured would have in the ab-                                  duct of the insured's business; or
                  sence of the contract or agreement; or                        (2) The spouse, child, parent, brother or
                                                                                    sister of that "employee" as a conse-
              (2) Assumed in a contract or agreement
                                                                                    quence of Paragraph (1) above.
                  that is an "insured contracf', provided the
                  "bodily injury'' or "property damage"                             This exclusion applies:
                  occurs subsequent to the execution of
                                                                                    (a) Whether the insured may be
                  the contract or agreement. Solely for the
                                                                                        liable as an employer or in any
                  purposes of liability assumed in an
                                                                                        other capacity; and
                  "insured contracf', reasonable attorney
                  fees and necessary litigation expenses                            (b) To any obligation to share dam-
                  incurred by or for a party other than an                              ages with or repay someone else
                  insured are deemed to be damages                                      who must pay damages because
                  because of "bodily injury'' or "property                              of the injury.
                  damage", provided:
                                                                                This exclusion does not apply to liability
                  {a) Liability to such party for, or for                       assumed by the insured under an
                      the cost of, that party's defense                         "insured contract".
                      has also been assumed in the
                                                                          f.    Pollution
                      same "insured contract"; and
                                                                                ( 1) "Bodily injury'' or "property damage"
                 (b) Such attorney fees and litigation
                                                                                     ari?ing out of the actual, alleged or
                     expenses are for defense of that
                                                                                     threatened discharge, dispersal, see-
                     party against a civil or alternative
                                                                                     page, migration, release or escape of
                     dispute resolution proceeding in
                                                                                     "pollutants":
                     which damages to which this
                     insurance applies are alleged.                                 (a) At or from any premises, site or
                                                                                        location which is or was at any

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                        time owned or occupied by, or                                       sub-contractor. However, this sub-
                        rented or loaned to, any insured.                                   paragraph does not apply to:
                        However,     this  subparagraph
                        does not apply to:                                                  (i)   "Bodily injury" or "property
                                                                                                  damage" arising out of the
                        (i)   "Bodily injury" if sustained within                                 escape of fuels, lubricants or
                              a building and caused by                                            other operating ftuids which are
                              smoke, fumes, vapor or soot                                         needed to perform the normal
                              produced by or originating from                                     electrical, hydraulic or mech-
                              equipment that is used to heat,                                     anical functions necessary for
                              cool or dehumidify the building,                                    the operation of "mobile equip-
                              or equipment that is used to                                        menr· or its parts, if such fuels,
                              heat water for personal use, by                                     lubricants or other operating
                              the building's occupants or their                                   ftuids escape from a vehicle
                              guests;                                                             part designed to hold, store or
                                                                                                  receive them. This exception
                        (ii) "Bodily injury'' or "property                                        does not apply if the "bodily
                              damage" for which you may be                                        injury" or "property damage"
                              held liable, if you are a                                           arises out of the intentional
                              contractor and the owner or                                         discharge, dispersal or release
                              lessee of such premises, site or                                    of the fuels, lubricants or other
                              location has been added to                                          operating ftuids, or if such fuels,
                             your policy as an additional                                         lubricants or other operating
                              insured with respect to your                                        ftuids are brought on or to the
                             ongoing operations performed                                         premises, site or location with
                             for that additional insured at that                                  the intent that they be dis-
                             premises, site or location and                                       charged, dispersed or released
                             such premises, site or location                                      as part of the operations being
                             is not and never was owned or                                        performed by such insured,
                             occupied by, or rented or                                            contractor or subcontractor;
                             loaned to, any insured, other
                             than that additional insured; or                               (ii) "Bodily injury" or "property
                                                                                                 damage" sustained within a
                       (iii) "Bodily injury'' or "property dam-                                  building and caused by the
                             age" arising out of heat, smoke                                     release of gases, fumes or
                             or fumes from a "hostile fire";                                     vapors from materials brought
                   (b) At or from any premises, site or                                          into that building in connection
                       location which is or was at any time                                      with operations being performed
                       used by or for any insured or others                                      by you or on your behalf by a
                       for the handling, storage, disposal,                                      con-tractor or subcontractor; or
                       processing or treatment of waste;                                    (iii} "Bodily injury'' or "property dam-
                   (c) Which are or were at any time                                              age" arising out of heat, smoke
                       transported, handled, stored, treated,                                     or fumes from a "hostile fire".
                       disposed of, or processed as waste                           (e) At or from any premises, site or
                       by or for:                                                       location on which any insured or any
                       (i) Any Insured; or                                              contractors or subcontractors work-
                                                                                        ing directly or indirectly on any
                       (ii) Any person or organization                                  insured's behalf are performing
                            for whom you may be legally                                 operations if the operations are to
                            responsible; or                                             test for, monitor, clean up, remove,
                                                                                        contain, treat, detoxifY or neutralize,
               (d) At or from any premises, site or
                                                                                        or in any way respond to, or assess
                   location on which any Insured or any
                                                                                        the effects of, "pollutants".
                   contractors or subcontractors work-
                   ing directly or indirecUy on any                             (2) Any loss, cost or expense arising out
                   insured's behalf are performing                                  of any:
                   operations if the "pollutants" are
                   brought on or to the premises, site or                           (a) Request, demand, order or statutory
                   location In connection with such oper-                               or regulatory requirement that any
                   ations by such insured, contractor or                                insured or others test for, monitor,
                                                                                        clean up, remove, contain, treat,

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                       detoxify or neutralize, or in any way                              Paragraph f.(2) or f.(3) of the
                       respond to, or assess the effects of,                              definition of "mobile equipment".
                       "pollutants"; or
                                                                           h.   Mobile Equipment
                   (b) Claim or suit by or on behalf of a
                                                                                "Bodily injury'' or "property damage" arising
                       governmental authority for damages
                                                                                out of:
                       because of testing for, monitoring,
                       cleaning up, removing, containing,                       (1) The transportation of "mobile equip-
                       treating, detoxifying or neutralizing, or                     menf' by an "auto" owned or operated
                       in any way responding to, or assess-                          by or rented or loaned to any insured; or
                       ing the effects of, "pollutants".
                                                                                (2) The use of "mobile equipment" in, or
             However, this paragraph does not apply                                 while in practice for, or while being
             to liability for damages because of                                    prepared for, any prearranged racing,
             "property damage" that the insured would                               speed, demolition or stunting activity.
             have in the absence of such request,
                                                                           i.   War
             demand, order or statutory or regulatory
             requirement, or such claim or "suit" by or                         "Bodily injury'' or "property damage" due to
             on behalf of a govern-mental authority.                            war, whether or not declared, or any act or
                                                                                condition incident to war. War includes civil
        g.   Aircraft, Auto Or Watercraft                                       war, insurrection, rebellion or revolution. This
             "Bodily injury'' or "property damage" arising                      exclusion applies only to liability assumed
             out of the ownership, maintenance, use or                          under a contract or agreement.
             entrustment to others of any aircraft, "auto" or              j.   Professional Services
             watercraft owned or operated by or rented or
             loaned to any insured. Use includes oper-                          "Bodily injury'', "property damage", "personal
             ation and "loading or unloading".                                  injury'' or "advertising injury'' due to rendering
                                                                                or failure to render any professional service.
             This exclusion does not apply to:                                  This includes but is not limited to:
             (1) A watercraft while ashore on premises                          (1) Legal, accounting or advertising services;
                 you own or rent;
                                                                                (2) Preparing, approving, or failing to
             (2) A watercraft you do not own that is:                                prepare or approve maps, drawings,
                   (a) Less than 26 feet long; and                                   opinions, reports, surveys, change
                                                                                     orders, designs or specifications;
                   {b) Not being used to carry persons
                       or property for a charge;                                (3) Supervisory, inspection or engineering
                                                                                     services;
             (3) Parking an "auto" on, or on the ways
                 next to, premises you own or rent,                             (4) Medical, surgical, dental, x-ray or
                 provided the "auto" is not owned by                                nursing services treatment, advice or
                 or rented or loaned to you or the                                  Instruction;
                 insured;                                                       (5) Any health or therapeutic service treat-
             (4) Liability assumed under any ''insured                              ment, advice or instruction;
                 contracf' for the ownership, mainten-                          (6) Any service, treatment, advice or in-
                 ance or use of aircraft or watercraft; or                          struction for the purpose of appearance
             (5) "Bodily injury'' or "property damage"                              or skin enhancement, hair removal or
                 arising out of the operation of: :                                 replacement or personal grooming;

                 (a) The operation of machinery or equip-                       (7) Optometry or optical or hearing aid ser-
                     ment that is attached to, or part of, a                        vices including the prescribing, prepar-
                     land vehicle that would qualify under                          ation, fitting, demonstration or distribution
                     the definition of "mobile equipmenf' if                        of ophthalmic lenses and similar products
                     it were not subject to a compulsory or                         or heating aid devices;
                     financial responsibility law or other                      (8) Body piercing services; and
                     motor vehicle insurance law in the
                     state where it is licensed or principally                  (9) Services in the practice of pharmacy;
                     garaged: or                                                    but this exclusion does not apply to
                                                                                    an insured whose operations include
                 (b) The operation of any of the                                    those of a retail druggist or drugstore.
                     machinery or equipment listed in



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         k.    Damage To Property                                                   contract or agreement in accordance
                                                                                    with its terms.
               "Property damage" to:
                                                                                This exclusion does not apply to the loss
               (1) Property you own, rent or occupy;
                                                                                of use of other property arising out of
               (2) Premises you        sell, give away or                       sudden and accidental physical injury to
                   abandon, if the "property damage" arises                     "your product" or "your work" after it has
                   out of any part of those premises;                           been put to its intended use.
               (3) Property loaned to you;                                 o.   Recall Of Products, Work Or Impaired
                                                                                Property
               (4) Personal property in the care,
                   custody or control of the insured;                           Damages claimed for any loss, cost or
                                                                                expense incurred by you or others for the
               (5) That particular part of real property on
                                                                                loss of use, withdrawal, recall, inspection,
                   which you or any contractor or sub-
                                                                                repair, replacement, adjustment, removal
                   contractor working directly or indirectly
                                                                                or disposal of:
                   on your behalf is performing operations,
                   if the "property damage" arises out of                       ( 1) "Your product";
                   those operations; or
                                                                                (2) "Your work"; or
              (6) That particular part of any property
                  that must be restored, repaired or                            (3) "Impaired property";
                  replaced because "your work" was                              if ·such product, Work or property is
                  incorrectly performed on it.                                  withdrawn or recalled from the market or
                                                                                from use by any person or organization
              Paragraph (2) of this exclusion does not
                                                                                because of a known or suspected defect,
              apply if the premises are "your work" and
                                                                                deficiency, inadequacy or dangerous
              were never occupied, rented or held for
                                                                                condition in it,
              rental by you.
              Paragraphs (3), (4), (5) and (6) of this                    p.    Personal Or Advertising Injury
              exclusion do not apply to liability                               "Personal injury" or "advertising injury":
              assumed under a sidetrack agreement.
                                                                                (1) Arising out of oral or written publication
              Paragraph (6) of this exclusion does not                              of material, if done by or at the direction
              apply to "property damage" included in the                            of the insured with knowledge of its
              "products-completed operations hazard".                               falsity;
        I.    Damage To Your Product                                            (2) Arising out of oral or written publication
                                                                                    of material whose first publication took
              "Property damage" to "your product"
                                                                                    place before the beginning of the policy
              arising out of it or any part of it.
                                                                                    period;
        m. Damage To Your Work
                                                                                (3) Arising out of the willful violation of a
              "Property damage" to ''your work" arising out                         penal statute or ordinance committed
              of it or any part of it and included in the                           by or with the consent of the insured;
              "products-completed operations hazard".
                                                                                (4) For which the insured has assumed
              This exclusion does not apply if the damaged                          liability in a contract or agreement.
              work or the work out of which the damage                              This exclusion does not apply to
              arises was performed on your behalf by a                              liability for damages that the insured
              subcontractor.                                                        would have in the absence of the
                                                                                    contract or agreement; or
        n.    Damage To Impaired Property               Or
              Property Not Physically Injured                                   (5) Arising out of the actual, alleged or
                                                                                    threatened discharge, dispersal, seep-
              "Property damage" to "impaired property"                              age, migration, release or escape of
              or property that has not been physically                              "pollutants" at any time.
              injured, arising out of:
                                                                                (6) With respect to any loss, cost or
              (1) A defect, deficiency, inadequacy or                               expense arising out of any:
                  dangerous condition in "your product"
                  or "your work"; or                                                (a) Request, demand or order that any
                                                                                        insured or others test for, monitor,
              {2) A delay or failure by you or anyone                                   clean-up, remove, contain, treat,
                  acting on your behalf to perform a                                    detoxify or neutralize or in any way


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                             respond to, or assess the effects of                    includes civil war, insurrection, rebellion
                             "pollutants"; or                                        or revolution.
                         (b) Claim or suit by or on behalf of a             3. Applicable To Both Business Liability Cover-
                             governmental authority for damages                age And Medical Expenses Coverage ·Nuclear
                             because of testing for, monitoring,                Energy Liability Exclusion
                             cleaning up, removing, containing,
                             treating, detoxifying or neutralizing              This insurance does not apply:
                             or in any way responding to, or                    a.   Under Business Liability Coverage, to
                             assessing the effects of "pollutants".                  "bodily injury'' or "property damage":
              q.    Advertising Injury                                               (1) With respect to which an insured under
                    "Advertising injury'' arising out of:                                 the policy is also an insured under a
                                                                                          nuclear energy liability policy issued by
                    (1) Breach of contract, other than misap-                             Nuclear Energy Liability Insurance
                        propriation of advertising ideas under                            Association, Mutual Atomic Energy
                        an implied contract;                                              Liability Underwriters or Nuclear Insur-
                    (2) The failure of goods, products or                                 ance Association of Canada, or would
                        services to conform with advertised                               be an insured under any such policy but
                        quality or performance;                                           for its tennination upon exhaustion of its
                                                                                          limit of liability; or
                    (3) The wrong description of the price of
                        goods, products or services; or                              (2) Resulting from the "hazardous proper-
                                                                                          ties" of "nuclear material" and with respect
                    (4) An offense committed by an insured                                to which:
                        whose business is advertising, broad-
                        casting, publishing or telecasting.                               (a) Any person or organization is
                                                                                              required to maintain financial pro-
          Exclusions c., d., e., f., g., h., i., k., 1., m., n.                               tection pursuant to the Atomic
          and o. do not apply to damage by fire or                                            Energy Act of 1954, or any law
          explosion to premises while rented to you, or                                       amendatory thereof; or
          temporarily occupied by you with permission
                                                                                         (b) The insured is, or had this policy not
          of the owner. A separate Limit of Insurance
          applies to this coverage as described in                                           been issued would be, entitled to
          Section D., Limits of Insurance.                                                   indemnity from the United States of
                                                                                             America, or any agency thereof,
    2.    Applicable To Medical Expenses Cov:erage                                           under any agreement entered into
                                                                                             by the United States of America, or
         We will not pay expenses for "bodily injury'':
                                                                                             any agency thereof, with any per-
         a.        To any insured.                                                           son or organization.
         b.        To a person hired to do work for or on                      b.    Under Medical Expenses Coverage, to
                   behalf of any insured or a tenant of any                          expenses incurred with respect to "bodily
                   insured.                                                          injury'' resulting from the "hazardous
                                                                                     properties" of "nuclear material" and
         c.        To a person injured on that part of
                                                                                     arising out of the operation of a "nuclear
                   premises you own or rent that the person
                                                                                     facility'' by any person or organization.
                   normally occupies.
                                                                               c.    Under Business Liability Coverage, to "bodily
         d.        To a person, whether or not an "employee"
                                                                                     injury" or "property damage" resulting from
                   of any insured, if benefits for the "bodily
                                                                                     the "hazardous properties" of the "nuclear
                   Injury" are paY?ble or must be provided
                                                                                     material"; if:
                   under a workers' compensation or disability
                   benefits law or a similar law.                                    (1) The "nuclear material":
         e.        To a person injured while taking part in                              (a) Is at any "nuclear facility'' owned
                   athletics.                                                                by, or operated by or on behalf
                                                                                             of, an insured; or
         f.        Included within the "products-completed
                   operations l1azard".                                                  (b) Has been discharged or dispersed
                                                                                             therefrom;
         g.        Excluded under Business Liability Coverage.
                                                                                     (2) The "nuclear material" is contained in
         h.        Due to war, whether or not declared, or
                                                                                         "spent fuel" or "waste" at any time
                   any act or condition incident to war. War
                                                                                         possessed, handled, used, processed,


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                   stored, transported or disposed of by or                  "Property damage" includes all forms of
                   on behalf of an insured; or                               radioactive contamination of property.
             (3) The "bodily injury'' or "property dam-age"                  "Source material" has the meaning given it in
                  arises out of the furnishing by an insured                 the Atomic Energy Act of 1954 or in any law
                  of services, materials, parts or equipment                 amendatory thereof;
                · in connection with the planning, con-
                                                                             "Special nuclear material" has the meaning
                  struction, maintenance, operation or use
                                                                             given it in the Atomic Energy Act of 1954 or in
                  of any "nuclear facility", but if such facility
                                                                             any law amendatory thereof;
                  is located within the United States of
                  America, its tenitories or possessions or                  "Spent fuel" means any fuel element or fuel
                  Canada, this Exclusion (3) applies only to                 component, solid or liquid, which ~as been
                 "property damage" to such "nuclear                          used or exposed to radiation in a "nuclear
                  facility'' and any property thereat.                       reactor";
        As used in this exclusion:                                           "Waste" means any waste material:
        "Byproduct material" has the meaning given it                        (a) Containing "byproduct material" other than
        in the Atomic Energy Act of 1954 or in any                               the tailings or wastes produced by the
        law amendatory thereof;                                                  extraction or concentration of uranium or
                                                                                 thorium from any ore processed primarily for
        "Hazardous properties" include radioactive,
                                                                                 its "source material" content; and
        toxic or explosive properties;
                                                                             (b) Resulting from the operation by any
        "Nuclear facility" means:
                                                                                 person or organization of any "nuclear
        (a) Any "nuclear reactor";                                               facility" included under Paragraphs (a)
                                                                                 and (b) of the definition of "nuclear
        (b) Any equipment or device designed or                                  facility".
            used for:
                                                                    C. Who Is An Insured
            (1) Separating the isotopes of uranium
                   or plutonium;                                        1.   If you are designated in the Declarations as:
            (2) Processing or utilizing "spent fuel"; or                     a.   An individual, you and your spouse are
                                                                                  insureds, but only with respect to the
            (3) Handling, processing or packaging
                                                                                  conduct of a business of which you are
                "waste";
                                                                                  the sole owner.
        (c) Any equipment or device used for the
                                                                             b.   A partnership or joint venture, you are an
            processing, fabricating or alloying of
                                                                                  insured. Your members, your partners
            "special nuclear material" if at any time
                                                                                  and their spouses are also insureds, but
            the total amount of such material in the
                                                                                  only with respect to the conduct of your
            custody of the insured at the premises
                                                                                  business.
            where such equipment or device is
            located consists of or contains more than                        c.   A limited liability company, you are an insured.
            25 grams of plutonium or uranium 233 or                               Your members are also insureds, but only with
            any combination thereof, or more than                                 respect to the conduct of your business. Your
            250 grams of uranium 235;                                             managers are insureds, but only with respect
                                                                                  to their duties as your managers.
        (d) Any structure, basin, excavation, premises or
            place prepared or used for the storage or                        d.   An organization other than a partnership,
            disposal of ''waste",                                                 joint venture or limited liability company,
                                                                                  you are an insured.         Your "executive
       and includes the site on which any of the
                                                                                  officers" and directors are insureds, but
       foregoing is located, all operations conducted
                                                                                  only with respect to their duties as your
       on such site and all premises used for such
                                                                                  officers or directors. Your stockholders
       operations;
                                                                                  are also insureds, but only with respect to
       'Nuclear material" means "source material",                                their liability as stockholders.
       "special nuclear material" or "byproduct material";
                                                                       2. Each of the following is also an insured:
       "Nuclear reactor" means any apparatus
                                                                             a.   Your "employees", other than either your "ex-
       designed or used to sustain nuclear fission in
                                                                                  ecutive officers" (if you are an organization
       a self-supporting chain reaction or to contain
                                                                                  other than a partnership, joint venture or
       a critical mass of fissionable material;                                   limited liability company) or your managers (if
                                                                                  you are a limited liability company), but only


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            for acts within the scope of their employment                       (2) Until your legal representative has
            by you or while performing duties related to                            been appointed.
            the conduct of your business. However,
            none of these "employees" is an Insured for:                   d.   Your legal representative if you die, but
                                                                                only with respect to duties as such. That
            (1) "Bodily injury'' or "personal injury'':                         representative will have all your rights
                                                                                and duties under this policy.
                   {a) To you, to your partners or mem-
                       bers (if you are a partnership or                   No person or organization is an insured with
                       joint venture), to your .members                    respect to the conduct of any current or past
                       (if you are a limited liability                     partnership, joint venture or limited liability
                       company), or to a co-"employee"                     company that is not shown as a Named
                       while that co-"employee" is either                  Insured in the Declarations.
                       in the course of his or her
                       employment or performing duties             D. Liability And Medical Expenses Limits Of
                       related to the conduct of your                 Insurance
                       business;                                       1. The Limits of Insurance shown in the
                   (b) To the spouse, child, parent,                       Declarations and the rules below fix the most
                       brother or sister of that co-                       we will pay regardless of the number of:
                       "employee" as a consequence of                      a.   Insureds;
                       Paragraph (1 )(a) above;
                                                                           b.   Claims made or "suits" brought; or
                   (c) For which there is any obligation
                       to share damages with or repay                      c.   Persons or organizations making claims
                       someone else who must pay                                or bringing "suits".
                       damages of the injury described                2.   The most we will pay for the sum of all
                       in Paragraphs (1 )(a) or (1 )(b); or.               damages because of all:
                   {d) Arising out of his or her providing                 a.   "Bodily injury", "property damage" and
                       or failing to provide professional                       medical expenses arising out of any one
                       health care services. However, if                        "occurrence"; and
                       you have "employees" who are
                       pharmacists      in   your retail                   b.   "Personal injury" and "advertising injury"
                       druggist or drugstore operation,                         sustained by any one person or organization;
                       they are insured with respect to                    is the Liability and Medical Expenses limit
                       their providing or failing to                       shown in the Declarations. But the most we
                       provide professional health care                    will pay for all medical expenses because of
                       services; or                                        "bodily injury" sustained by any one person is
            (2) "Property damage" to property:                             the Medical Expenses limit shown in the
                                                                           Declarations.
                   (a) Owned, occupied or used by,
                                                                      3.   The most we will pay under Business Liability
                   (b) Rented to, in the care, custody or                  Coverage for damages because. of "property
                       control of, or over which physical                  damage" to premises while rented to you or
                       control Is being exercised for any                  temporarily occupied by you with permission
                       purpose by                                          of the owner, arising out of any one fire or
               you, any of your "employees", any                           explosion is the Fire Legal Liability limit
               partner or member (if you are a                             shown in the Declarations.                  ·
               partnership or joint venture), or any                  4. Aggregate limits The most we will pay for:
               member (if you are a limited liability
               company).                                                   a.   Injury or damage under the "products-
                                                                                completed operations hazard" arising from all
        b. Any person (other than your "employee"),                             "occurrences" during the policy period is the
           or any organization while acting as your                             Liability and Medical Expenses limit; and
           real estate manager.
                                                                           b.   All other injury or damage, including medical
        c. Any person or organization having proper                             expenses, arising from all "occurrences"
           temporary custody of your property if you                            during the policy period is twice the Liability
           die, but only:                                                       and Medical Expenses limit. This limitation
           (1) With respect to liability arising out of                         does not apply to "property damage" to
               the maintenance or use of that                                   premises while rented to you or temporarily
               property; and                                                    occupied by you with permission of the
                                                                                owner, arising out of fire or explosion.

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      The Limits of Insurance of this policy apply                                 (4) Assist us, upon our request, in the
      separately to each consecutive annual period and                                 enforcement of any right against any
      to any remaining period of less than 12 months,                                  person or organization that may be
      starling with the beginning of the policy period                                 liable to the insured because of injury
      shown in the Declarations, unless the policy                                     or damage to which this insurance
      period is extended after issuance for an additional                              may also apply.
      period of less than 12 months. In that case, the
      additional period will be deemed part of the last                       d.   No insured will, except at that insured's
      preceding period for purposes of determining the                             own cost, voluntarily make a payment,
      Limits of Insurance.                                                         assume any obligation, or incur any
                                                                                   expense, other than for first aid, without
 E.   Liability And        Medical     Expenses      General                       our consent.
      Conditions
                                                                         3.   Legal Action Against Us
      1.   Bankruptcy
                                                                              No person or organization has a right under
           Bankruptcy or insolvency of the insured or of                      this policy:
           the insured's estate will not relieve us of our
                                                                              a.   To join us as a party or otherwise bring
           obligations under this policy.
                                                                                   us into a "suit" asking for damages from
      2.   Duties In The Event Of Occurrence, Offense,                             an insured; or
           Claim Or Suit
                                                                              b.   To sue us on this policy unless all of its
           a.   You must see to it that we are notified as                         terms have been fully complied with.
                soon as practicable of an "occurrence" or
                                                                              A person or organization may sue us to recover
                an offense which may result in a claim.
                                                                              on an agreed settlement or on a final judgment
                To the extent possible, notice should
                                                                              against an insur.ed obtained after an actual trial;
                include:
                                                                              but we will not be liable for damages that are not
                (1) How, when and where the "occur-                           payable under the terms of this policy or that are
                    rence" or offense took place;                             in excess of the applicable limit of insurance. An
                                                                              agreed settlement f]leans a settlement and re-
                (2) The names and addresses of any                            lease of liability signed by us, the insured and the
                     injured persons and witnesses; and                       claimant or the claimant's legal representative.
                (3) The nature and location of any injury or            4.    Separation Of Insureds
                    damage arising out of the "occurrence"
                    or offense.                                               Except with respect to the Limits of Insurance,
                                                                              and any rights or duties specifically assigned in
           b.   If a claim is made or "suit" is brought                       this policy to the first Named Insured, this insur-
                against any insured, you must:                                ance applies:
                (1) Immediately record the specifics of                       a.   As if each Named Insured were the only
                    the claim or "suit" and the date re-                           Named Insured; and
                    ceived; and
                                                                              b.   Separately to each insured against whom
                (2) Notify us as soon as practicable.                              claim is made or "suit" is brought.
                You must see to it that we receive written          F. Liability And Medical Expenses Definitions
                notice of the claim or "suit" as soon as
                practicable.                                            1. "Advertising Injury" means injury arising
                                                                              out of one or more of the following offenses:
           c.   You and any other Involved insured must:
                                                                              a.   Oral or written publication of material that
                (1) Immediately send us copies of any                              slanders or libels a person or organization or
                    demands, notices, summonses or                                 disparages a person's or organization's goods,
                    legal papers received in connection                            products or serviees;              ·
                    with the claim or "suit";
                                                                              b.   Oral or written publication of material that
                {2) Authorize us to obtain records and                             violates a person's right of privacy;
                    other information;
                                                                              c.   Misappropriation of advertising ideas or
                (3) Cooperate with us in the investigation, or                     style of doing business; or
                    settlement of the claim or defense
                    against the "suir'; and                                   d.   Infringement of copyright, title or slogan.




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     2.    "Auto" means:                                                       b.   You have failed to fulfill the terms of a
                                                                                    contract or agreement;
           a.    A land motor vehicle, trailer or semitrailer
                 designed for travel on public roads, including                     if such property can be restored to use by:
                 any attached machinery or equipment.
                                                                                    (1) The repair, replacement, adjustment
           b.    Any other land vehicle that is subject to a                            or removal of "your product" or "your
                 compulsory or financial responsibility law                             work"; or
                 or other motor vehicle insurance law in
                 the state where it is licensed or principally                      (2) Your fulfilling the terms of the contract or
                 garaged.                                                               agreement,

           However, "auto" does not include "mobile                        9. "Insured contract" means:
           equipment".                                                         a.   A contract for a lease of premises. However,
     3.    "Bodily injury" means bodily injury, sickness or                         that portion of the contract for a lease of
           disease sustained by a person, including death                           premises that indemnifies any person or
           resulting from any of these at any time.                                 organization for damage by fire to premises
                                                                                    while rented to you or temporarily occupied
     4.    "Coverage territory" means:                                              by you with permission of the owner is not an
           a.   The United States of America (including its                         "insured contracf';
                territories and possessions), Puerto Rico and                  b.   A sidetrack agreement;
                Canada;
                                                                               c.   Any easement or license agreement,
          b.     International waters or airspace, provided the                     except in connection with construction or
                 injury or damage does not occur in the                             demolilion operations on or within 50 feet
                .course of travel or transportation to or from                      of a railroad;
                 any place not included in a. above; or
                                                                               d.   An obligation, as required by ordinance, to
          c.    All parts of the world if:                                          indemnify a municipality, except in con-
                {1) The injury or damage arises out of:                             nection with. work for a municipality;

                     {Cl) Guut.lo ur prut.lud:; IIIC:lUtl ur :mit.!            e.   An elevator maintenance agreement;
                          by you it1 the territory described                   f.   That part of any other contract or agreement
                          in a. above; or                                           pertaining to your business (including an
                     {b) The activities of a person whose                           indemnification of a municipality in connection
                         home is in the territory described                         with work performed for a municipality) under
                         in a. above, but is away for a                             which you assume the tort liability of another
                         short time on your business; and                           party to pay for "bodily injury" or "property
                                                                                    damage" to a third person or organization.
                (2) The   insured's responsibility to pay                           Tort liability means a liability that would be
                    damages is determined in a "suif' on the                        imposed by law in the absence of any contract
                    merits in the territory described in a.                         or agreement,
                    above or in a settlement we agree to.
                                                                                    Paragraph f. does not include that part of
    5.    "Employee" includes a "leased worker". "Em-                               any contract or agreement:
          ployee" does not include a '1emporaryworker''.
                                                                                    (1) That indemnifies a railroad for "bodily
    6.    "Executive officer" means a person holding                                    injury" or "property damage" arising out of
          any of the officer positions created by your                                  construction or demolition operations,
          charter, constitution, by-laws or any other                                   within 50 feet of any railroad property and
          similar governing document.                                                   affecting any railroad bridge or treslle,
                                                                                        tracks, road beds, tunnel, underpass or
    7.    "Hostile fire" means one which becomes                                        crossing;
          uncontrollable or breaks out from where It
          was intended to be.                                                       (2) That indemnities an architect, engineer
                                                                                        or surveyor for injury or damage arising
    8.    "Impaired property" means tangible property,                                  out of:
          other than "your producf' or ''your work", that
          cannot be used or is less useful because:                                     (a) Preparing, approving or failing to
                                                                                            prepare or approve maps, draw-
          a.    It incorporates 'your producf' or ''your work"                              ings, opinions, reports, surveys,
                that is known or thought to be defective,                                   change orders, designs or speci-
                deficient, inadequate or dangerous; or                                      fications; or



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                   (b) Giving directions or instructions,                      permanently attached equipment of the
                       or failing to give them, if that is                     following types:
                       the primary cause of the injury or
                       damage; or                                              (1) Air compressors, pumps and gener-
                                                                                   ators, including spraying, welding, build-
              (3} Under which the insured, if an architect,                        ing cleaning, geophysical exploration,
                   engineer or surveyor, assumes liability                         lighting and well servicing equipment; or
                   for an injury or damage arising out of the
                                                                               {2) Cherry pickers and similar devices
                   insured's rendering or failure to render
                   professional services, including those                          used to raise or lower workers;
                   llsted in (2) above and supervisory,                   f.   Vehicles not described in a., b., c. or d.
                   inspection or engineering services.                         above maintained primarily For purposes
                                                                               other than the transportation of persons
    10. "Leased worker" means a person leased to you
                                                                               or cargo.
        by a labor leasing firm under an agreement
        between you and the labor leasing firm, to                             However, self-propelled vehicles with the
        perform duties related to the conduct of your                          following types of permanently attached
        business. "Leased worker" does not include a                           equipment are not "mobile equipment"
        "temporary worker''.                                                   but will be considered "autos":

    11. "Loading     or unloading"            means      the                   (1) Equipment designed primarily for:
        handling of property:                                                      (a) Snow removal;
        a. After it is moved from the place where it                               (b) Road maintenance, but not con-
             is accepted for movement into or onto an                                  struction or resurf;;~cing; or
             aircraft, watercraft or 'auto";
                                                                                   (c) Street cleaning;
        b.   While it is in or on an aircraft, watercraft
             or "auto"; or                                                     {2) Cherry pickers and similar devices
                                                                                   mounted on automobile or truck
        c.   While it is being moved from an aircraft,                             chassis and used to raise or lower
             watercraft or "auto" to the place where it                            workers; and
             is finally delivered;
                                                                               {3) Air compressors, pumps and genera-
        but "loading or unloading" does not include                                tors, including spraying, welding, build-
        the movement of property by means of a                                     ing clee:ming, geophysical exploration,
        mechanical device, other than a hand truck,                                lighting and well servicing equipment.
        that is not attached to the aircraft, watercraft
                                                                          However, "mobile equipment" does not
        or "auto".
                                                                          include land vehicles that are subject to a
    12. "Mobile equipment" means any of the following                     compulsory or financial responsibility law or
        types of land vehicles, including any attached                    other motor vehicle insurance law In the state
        machinery or equipment:                                           where it is licensed or principally garaged.
                                                                          Land vehicles subject to a compulsory or
        a. Bulldozers, farm machinery, forklifts and                      financial responsibility law or other motor
             other vehicles designed for use principally off              vehicle insurance law are considered "autos".
             public roads;
                                                                      13. "Occurrence" means an accident, including
        b.   Vehicles maintained for use solely on or                     con-tinuous or repeated exposure to substantially
             next to premises you own or rent:                            the same general harmful conditions.
       c.    Vehicles that travel on crawler treads;                  14. "Personal injury" means injury, other than
       d.    Vehicles, whether self-propelled or not,                     "bodily injury", arising out of one or more of
             on which are permanently mounted:                            the following offenses:
                                                                          a.   False arrest, detention or imprisonment;
             (1) Power cranes, shovels, loaders, dig-
                 gers or drills; or                                       b.   Malicious prosecution;
             (2) Road construction or resurfacing equip-                  c.   The wrongful eviction from, wrongful
                 ment such as graders, scrapers or                             entry into, or invasion of the right of
                 rollers;                                                      private occupancy of a room, dwelling or
                                                                               premises that a person occupies, by or
       e. Vehicles not described in a., b., c. or d.                           on behalf of its owner, landlord or lessor;
             above that are not self-propelled and are
             maintained primarily to provide mobility to


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         d.    Oral or written publication of material that                          or unloading" of that vehicle by any
               slanders or libels a person or organization or                        insured; or
               disparages a person's or organization's
               goods, products or services; or                                  (2) The existence of tools, uninslalled
                                                                                    equipment or abandoned or unused
         e.    Oral or written publication of material that                         materials.
               violates· a person's right of privacy.
                                                                       17. "Property damage" means:
     15. "Pollutants"    means any solid, liquid,
         gaseous or thermal irritant or contaminant,                       a.   Physical injury to tangible property, including all
         including smoke, vapor, soot, fumes, acids,                            resulting loss of use of that property. All such
         alkalis, chemicals and waste.        Waste                             loss of use shall be deemed to occur at the
         includes    materials    to  be   recycled,                            lime of the physical injury that caused it; or
         reconditioned or reclaimed.
                                                                           b.   Loss of use of tangible property that is
     16. "Products-completed operations hazard":                                not physically injured. All such loss of
                                                                                use shall be deemed to occur at the time
         a.    Includes all "bodily injury'' and "property                      of the "occurrence" that caused it.
               damage" occurring away from premises
               you own or rent and arising out of "your                18. "Suit" means a civil proceeding in which
               product" or "your work" except:                             damages because of "bodily injury", "property
                                                                           damage", "personal injury" or "advertising
              · (1) Products that are still in your physical
                                                                           injury'' to which this insurance applies are
                    possession; or
                                                                           alleged. "Suit" includes:
               {2) Work that has not yet been completed
                                                                           a.   An arbitration proceeding in which such
                   or abandoned. However, "your work"
                                                                                damages are claimed and to which the
                   will be deemed completed at the earliest
                                                                                insured must submit or does submit with
                   of the following times:
                                                                                our consent; or
                   (a) When all of the work called for in
                       your contract has been completed.                   b.   Any other alternative dispute resolution
                                                                                proceeding in which such damages are
                   (b) When all of the work to be done at                       claimed and to which the insured submits
                       the job site has been completed if                       with our consent.
                       your contract calls for work at more
                       than one job site.                              19. "Temporary worker" means a person who
                                                                           is furnished to you to substitute for a
                   (c) When that part of the work done at                  permanent "employee" on leave or to meet
                       the job site has been put to its                    seasonal or shorl-term workload conditions.
                       intended use by any other person or
                       organization other than another                20. "Your product" means:
                       contractor or subcontractor working                a.    Any goods or products, other than real
                       on the same project.                                     property, manufactured, sold, handled,
                  Work that may need service, main-                             distributed or disposed of by:
                  tenance, correction, repair or replace-                       (1) You;
                  ment, but which is otherwise complete,
                  will be treated as completed.                                 (2) Others trading under your name: or
              The "bodily injury'' or "property damage"                         (3) A person or organization whose bus-
              must occur away from premises you own                                 iness or assets you have acquired; and
              or rent, unless your business includes the
              selling, handling or distribution of "your                  b.    Containers (other than vehicles), materials,
              product" for consumption on premises                              parts or equipment furnished in connection
              you own or rent.                                                  with such goods or products.

        b.    Does not include 'bodily injury" or "property               "Your product" includes:
              damage" arising out of:                                     a.    Warranties or representations made at
              (1) The transportation of property, unless                        any time with respect to the fitness,
                  the injury or damage arises out of a                          quality, durability, performance or use of
                  condition in or on a vehicle not                              "your product"; and
                  owned or operated by you, and that                      b.    The providing of or failure to provide
                  condition was created by the "loading                         warnings or instructions.



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        "Your product" does not include vending                         "You.r work" includes:
        machines or other property rented to or
        located for the use of others but not sold.                     a. Warranties or representations made at
                                                                           any time with respect to the fitness,
    21. "Your work" means:                                                 quality, durability, performance or use of
                                                                           "your work"; and
        a.   Work or operations performed by you or
             on your behalf, and                                        b.   The providing of or failure to provide
                                                                             warnings or instructions.
        b.   Materials, parts or equipment furnished in
             connection with such work or operations.




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                                                                                                     BUSINESSOWNERS
        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                       CHANGES IN COLLAPSE COVERAGE


 This endorsement modifies insurance provided under the following:

     BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM


The COLLAPSE Additional Coverage is replaced by                     (3) Insect or vermin damage hidden from view,
the following:                                                          unless the presence of such damage was
                                                                        known to an insured prior to collapse;
COLLAPSE
                                                                    (4) Weight of people or personal property;
The term Covered Cause of Loss includes the
Additional Coverage d. Collapse as described and                    (5) Weight of rain that collects on a roof;
limited in a. through e. below.
                                                                    (6) Use of defective material or methods in con-
a.   With respect to buildings:                                         struction, remodeling, or renovation if the collapse
                                                                        occurs during the course of the construction, re-
     (1) Collapse means an abrupt falling down or                       modeling, or renovation. However, if the collapse
         caving in of a building or any part of a                       occurs after construction, remodeling, or renov-
         building with the result that the building or                  ation is complete and is caused in part by a
         part of the building cannot be occupied for its                cause of loss listed in b.{1) through b.(5), we will
         intended purpose.                                              pay for the loss or damage even if use of
     (2) A building or any part of a building that is in                defective material or methods, in construction,
         imminent danger of collapse is not considered to               remodeling, or renovation, contributes to the
         be in a state of collapse.                                     collapse.

     (3) A building that is standing is not considered              The criteria set forth in a.(1) through a.(4) do not limit
         to be in state of collapse even if it has                  the coverage otherwise provided under this form for
         separated from another part of the building;               the causes of listed in b.(1 ), b.(4) and b.(5).

     (4) A building that is standing or any part of a          c.   With respect to the following property:
         building that is standing is not considered to             (1) Awnings, gutters and downspouts;
         be in a state of collapse even if it shows
         evidence of decay, insect or vermin damage,                (2) Yard fixtures;
         cracking, bulging, sagging, bending, leaning,
                                                                    (3) Outdoor swimming pools;
         settling, shrinkage or expansion.
                                                                    (4) Piers, wharves and docks;
b. We will pay for direct physical loss or damage to
   Covered Property, caused by collapse of a                        (5) Beach or diving platforms or appurtenances;
   building or any part of a building that is insured
   under this Coverage Form or that contains                        {6) Retaining walls; and
   Covered Property insured under this coverage                     (7) Walks, roadways and other paved surfaces;
   form, if the collapse is caused by one or more of
   the following:                                                   if the collapse is caused by a cause of loss listed
                                                                    in b.{2) through b.(6), we will pay for loss or
     (1) The "specified cause of loss" or breakage of               damage to that property only if:
         building glass, all only as Insured against in
         this Coverage Form;                                        (1) Such loss or damage is a direct result of the
                                                                        collapse of a building insured under this
     (2) Decay hidden ·from view, unless the presence                   Coverage Form; and
         of such decay was known to an insured prior
         to collapse.                                               (2) The property is Covered Property under this
                                                                        Coverage Form.



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Cas 6162 (1 0-01)                          Commercial Risk Services, Inc., 1995                                  Page 1 of2
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 d.   If personal property abruptly falls down or caves            The coverage stated in this Paragraph d. does
      in and such collapse is not the result of collapse           not apply to personal property if marring and/or
      of a building, we will pay for loss or damage to             scratching is the only damage to that personal
      Covered Property caused by such collapse of                  property caused by the collapse.
      personal property only if:
                                                                   Collapse of personal property does not mean
      (1) The collapse was caused by a Cause of Loss               cracking, bulging, sagging, bending, leaning,
          listed in b.(1) through b.(6) above;                     settling, shrinkage or expansion.
      (2) The personal property which collapses is            e.   This Additional Coverage, Collapse, will not Increase
          inside a building; and                                   the Limits of Insurance provided in this policy.
      (3) The property which collapses is not of a kind
          listed in c. above, regardless of whether that
          kind of property is considered to be personal
          property or real property.




                                          Includes Copyrighted Material of ISO
Cas 6162 (10-01)                          Commercial Risk Services, Inc., 1995                              Page 2 of 2
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        AMENDATORY ENDORSEMENT .. PREMIUM PAYMENT



  The named insured has elected to pay the premium for this policy or bond in payments in accordance with the
  premium payment plans approved for use by us and set forth in our approved portfolios or manuals. For each
  separate payment, including the initial payment, there is a payment plan service charge of five dollars ($5.00).




)cas. 3687 -A   (1-94)
                                                                                                    Sabbah-Robertson
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                                                                                                    BUSINESSOWNERS
          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                         ALABAMA CHANGES


This endorsement modifies insurance provided under the following:

     BUSINESSOWNERS POLICY


A.   Paragraph 2.a. of the Cancellation Common                            furtherance of an abusive act by insured who is
     Policy Condition does not apply.                                     a family or household member. Such coverage
                                                                          will be provided only if the innocent co-insured:
B.   In the Who Is An Insured section of the Business-
     owners Liability Coverage Form, the term "executive                  a.   Provides evidence of the abuse to us, to
     officer" means only a person holding any of the officer                   demonstrate that the loss is abuse-
     positions created by your charter, constitution or by-                    related; and
     laws or any other similar governing document.
                                                                          b.   For the act causing the loss either:
C. The following is added to any provision which uses                          (1) Files a complaint under the Protection
   the term actual cash value:                                                     From Abuse Act against the abuser,
     Actual cash value is calculated as the amount it                              and does not voluntarily dismiss the
     would cost to repair or replace Covered Property, at                          complaint; or
     the lime of loss or damage, with material of like kind                    (2) Seeks a warrant for the abuser's arrest
     and quality, subject to a deduction for deterioration,                        and cooperates in the prosecution of
     depreciation and obsolescence. Actual cash value                              the abuser.
     applies to valuation of Covered Property regardless
     of whether that property has sustained partial or.total         3.   If we pay a claim pursuant to Paragraph 0.2.,
     loss or damage.                                                      our payment to the innocent co-insured is
                                                                          limited to that insured's legal interest in the
     The actual cash value of the lost or damaged                         property less any payments we first made to
     property may be slgnlficanlly less than its                          a mortgagee or other party with a legal
     replacement cost.                                                    secured interest in the property. In no event
D. The following exclusion and related provisions                         wi.ll we pay more than the Limit of Insurance.
   are added to Paragraph B.2. Exclusions in the                 E. The following is added to the Transfer Of Rights
   Businessowners Standard and Special Property                     Of Recovery Against Others To Us Condition:
   Coverage Forms:
                                                                     If we pay an innocent co-insured for loss arising out
     1.   We will not pay for loss or damage arising out             of an act of abuse by another insured, the rights of
          of any act committed:                                      the innocent co-insured to recover damages from
          a.   By or at the direction of any insured; and            the abuser are transferred to us to the extent of our
                                                                     payment. Following the loss, the innocent co-insured
          b.   With the intent to cause a loss.                      may not waive such rights to recover against the
     2.   However, this exclusion will not apply to deny             abuser.
          coverage to an innocent co-insured when the
          loss or damage is otherwise covered under this
          policy and is proximately related to and in




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                  AMENDATORY ENDORSEMENT- ADDITIONAL
                           POLICY CONDITION


    It is agreed that the following condition is made a part of this policy:

    If this policy and any other policy issued to you by us or any affiliated Company apply to the same occurrence, the
    total maximum amount payable under all policies, including limits of liability, general aggregate limit and products-
    completed operations aggregate limit, shall not exceed the highest applicable limits of liability, general aggregate limit
    or products-completed operations aggregate limit under any one policy. This condition does not apply to any policy
    issued by us or an affiliated Company specifically to apply as excess insurance over this policy.




                                 Includes copyrighted material of Insurance Services Office, with its
)   c;:as. 2527-B (7-94)         permission. Copyright, Insurance Services Office, Inc., 1977, 1979
                                                                                                               Sabbah-Robertson
                                                                                                                     0387
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                                         MANDATORY ENDORSEMENT


       POLICYHOLDER MEMBERSHIP                                       POLICYHOLDER MEMBERSHIP
            IN THE COMPANY                                                IN THE COMPANY
(Applicable Only in the Nationwide Mutual Insurance          (Applicable Only in the Nationwide Mutual Insurance
Company or the Nationwide Mutual Fire Insurance              Company or the Nationwide Mutual Fire Insurance
Company in All States Except Those Specifically              Company When This Policy is Issued in The State of
Provided For)                                                Texas)
Because this policy is issued by a mutual insurance          1. MUTUALITY -           MEMBERSHIP AND VOTING
company, you are a member of the company while this          NOTICE. You are notified that by virtue of this policy you
or any other policy is in force. While a member you          are a member of the Nationwide Mutual Insurance
are entitled to a vote only- either in person or by proxy    Company of Columbus, Ohio or the Nationwide Mutual
- at meetings of the company. You are entitled to any        Fire Insurance Company of Columbus, Ohio as shown on
dividends which are declared by the Board of Directors       the Declarations Page of this Policy, and you are entitled,
and are applicable to coverages in your policy.              as is lawfully provided in the charter, constitution, or by-
                                                             laws to only one vote regardless of the number of policies
The annual meeting of the members of the company
                                                             owned either in person or by proxy, in any or all meetings
issuing your policy (the company Is indicated on the
                                                             of the company. The annual meetings are held at the
Declarations Page) will be held at the Nationwide
                                                             Home Office at Columbus, Ohio, on the first Thursday of
Plaza in Columbus, Ohio, on the first Thursday of
                                                             April, in each year, at 9:30A.M. for the Nationwide Mutual
April. The time of the meeting for the Nationwide
                                                             Fire Insurance Company and 10:00 A.M. of the same day
Mutual Fire Insurance Company is 9:30 A.M. and the
                                                             for the Nationwide Mutual Insurance Company.
time of the meeting for the Nationwide Mutual
Insurance Company is 10:00 A.M. We will mail notice          2. MUTUALS - PARTICIPATION CLAUSE WITHOUT
of any change in meeting dates, times or place to you        CONTINGENT LIABILITY. No Contingent Liability: This
at your address last known to us at least ten days prior     policy is non-assessable. You are a member of the
to the rescheduled meeting date.                             company and shall participate, to the extent and upon the
                                                             conditions fixed and determined by the Board of Directors
This policy is non-assessable, meaning that you are
                                                             in the distribution of dividends so fixed and determined
not subject to any assessment beyond the premiums
                                                             provided such determinations are in accordance with the
we require for each policy term.
                                                             provisions of the Texas Insurance Code and other
                                                             applicable law, which includes the rules and regulations of
                                                             the State Board of Insurance.

IN WITNESS WHEREOF: Nationwide Mutual Insurance Company, Nationwide Mutual Fire Insurance Company or
Nationwide Property and Casualty Insurance Company, whichever is the issuing company, as designated on the
Declarations, has caused this policy to be signed by its President and Secretary at Columbus, Ohio, and
countersigned by a duly authorized representative of the company.
ATTEST:




                                              Secretary                                                   President

                                                            Nationwide Mutua/Insurance Company
                                                            Nationwide Mutual Fire Insurance Company




                                                                                                          President

                                                            Nationwide Property and Casualty Insurance Company



Cas. 3228                                                                                                 Sabbah-Robertson
                                                                                                                      0388
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                                                                                        BUSINESSOWNERS POLICY


                      LIMITS OF INSURANCE ENDORSEMENT


This endorsement modifies insurance provided by the Businessowners Liability Coverage Form.
Item D. Liability and Medical Expenses Limits of Insurance is amended by:
1.   The addition of subpart 1.d., as follows:
     1. d.    Premises, operations or projects insured.
2. The replacement of subpart 4.b. with the following:
     4. b.   All other injury or damage, including medical expenses, arising from all "occurrences" or offenses during
             the policy period is twice the Liability and Medical Expenses limit. This limitation does not apply to
             "property damage" to premises while rented to you or temporarily occupied by you with permission of the
             owner, arising out of fire or explosion.




Cas. 3391 (8-02)
                                                                                                       Sabbah-Robertson
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                         ASBESTOS LIABILITY EXCLUSION


The following exclusion is added:

    "This insurance does not apply to bodily injury, properti damage, personal injury or advertising injury arising out of
    asbestos or goods containing asbestos or real property containing asbestos. This exclusion applies whether the
    bodily injury, property damage, personal injury or advertising injury is caused solely by asbestos or goods
    containing asbestos or real property containing asbestos, or is caused by other means in conjunction or
    separately with asbestos or goods containing asbestos or real property containing asbestos."




Cas. 3880 (8-97)
                                                                                                          Sabbah-Robertson
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                                                                                BUSINESSOWNERS
           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                       WATER AND SEWER BACKUP COVERAGE


   This endorsement modifies insurance provided under the following:

       BUSINESSOWNERS PROPERTY COVERAGE FORM

   The following exclusion is deleted from Section B. EXCLUSIONS:

   B. 1. g. (3) Water that backs up or overflow from a sewer, drain or sump .




. ) Cas. 4422 (7-00)
                                                                                   Sabbah-Robertson
                                                                                         0391
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               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                EXCLUSION- VIOLATION OF STATUTES THAT GOVERN
                E-MAILS, FAX, PHONE CALLS OR OTHER METHODS OF
                       SENDING MATERIAL OR INFORMATION


     This endorsement modifies insurance provided under the following:
          CONTRACTORS LIABILITY COVERAGE FORM
          BUSINESSOWNERS LIABILITY COVERAGE FORM
          BUSINESS PROVIDER LIABILITY COVERAGE FORM


     A.   The following exclusion is added to Section B.1 -                sion is added to paragraphs p. Personal Injury or Ad-
          Exclusions, applicable to Business Liability;                    vertising Injury and q. Advertising Injury of Section 8.1.
                                                                           - Exclusions, applicable to Business Liability;
          This insurance does not apply to:
                                                                           This insurance does not apply to:
          DISTRIBUTION OF MATERIAL IN VIOLATION OF
          STATUTES                                                         DISTRIBUTION OF MATERIAL IN VIOLATION OF
                                                                           STATUTES
          "Bodily injury" or "property damage" arising di-
          rectly or indirectly out of any action or omission               "Personal and injury" or "advertising injury" aris-
          that violates or is alleged to violate:                          ing directly or indirectly out of any action or
                                                                           omission that violates or is alleged to violate:
          a.   The Telephone Consumer Protection Act
               (TCPA), including any amendment of or ad-                   a.   The Telephone Consumer Protection Act
               dition to such law; or                                           (TCPA), including any amendment of or ad-
                                                                                dition to such law; or
          b.   The CAN-SPAM Act of 2003, including any
               amendment of or addition to such law; or                    b.   The CAN-SPAM Act of 2003, including any
                                                                                amendment of or addition to such law; or
)         c.   Any statute, ordinance or regulation, other
               than the TCPA or CAN-SPAM Act of 2003,                      c.   Any statute, ordinance or regulation, other
               that prohibits or limits the sending, transmit-                  than the TCPA or CAN-SPAM Act of 2003,
               ting, communicating or distribution of mate-                     that prohibits or limits the sending, transmit-
               rial or information.                                             ting, communicating or distribution of mate-
                                                                                rial or information.            ·
    B.    The following exclusion is added to Section B.l. -
          Exclusions, applicable to Business Liability, p. - Per-
          sonal Injury or Advertising lnjury;The following exclu-




    Cas. 6356 (1 0-04)                          Copyright, ISO Properties, Inc., 2004                               Pape 1 of 1     0
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D
                                BLANKET PROTECTOR
                               COMMON DECLARATIONS



            ISSUED BY   NATIONWIDE MUTUAL FIRE INSURANCE COMPANY

                                             POLICY NUMBER    77PR762940-3007


              NAMED INSURED   SABBAH BROTHERS ENTERPRISES
                              INC
                              DBA 14TH STREET BP
            MAILING ADDRESS   PO BOX 36661
                              HOOVER               AL 35236



 POLICY PERIOD    FROM 04/05/07 TO 04/05/08 AT
                   12.01 A.M. STANDARD TIME AT YOUR MAILING ADDRESS.

FORM OF BUSINESS     CORPORATION

DESCRIPTION OF BUSINESS CONVENIENCE STORE
IN RETURN FOR THE PAYMF.N'J:' OF THE PREMIUM 1 AND SUBJECT ·TO ALL TilE TERMS OF THE
POLICY, WE AGREE TO Pk0V1DE YOU WITH THE INSURANCE AS STATED IN THIS POLICY.

THIS POLICY CONSISTS OF THE COVERAGES l:NDICATED AS INCLUDED. THE PREMIUM
MAY BE SUBJECT TO ADJUSTMENT.
                                                                               NOT
                                                                INCLUDED    INCLUDED
COMMERCIAL PROPERTY COVERAGE                                                    X
COMMERCIAL GENERAL LIABILITY COVERAGE                               X
COMMERCIAL CRIME COVERAGE                                                       X
MECHANICAL, ELECTRICAL AND PRESSURE EQUIPMENT COVERAGE                          X
COMMERCIAL INI..J\ND MARINE COVERAGE                                            X
COMMERCIAL AUTO COVERAGE                                                        X
GARAGE COVERAGE                                                                 X

. TOTAL ADVANCE PREMIUM $
                                   PREMIUM PAYABLE AT INCEPTION $

IN THE EVENT OF CANCELLATION BY YOU, WE SHALL RECEIVE AND RETAIN NOT
LESS THAN $100 AS THE MINIMUM PREMIUM.

FORMS IN COMMON TO ALL COVERAGES
IL 00 17-1198        CAS 3228                IL 00 03-0498
CAS 3687 A-0194      IL 09 85-0106



ISSUED AT   P.O. BOX 147080
            GAINESVILLE, FL 32614
COUNTERSIGNED AT GAINESVILLE, FL         By PAT DONALSON CLU CHFC         0004330 01

05/09/07                                                       PAGE 001
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             CAS. 3200-A (01-87)                                     c
 00078



                                                                              Sabbah-Robertson
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                                    COMMON POLICY CONDITIONS


All Coverage Parts included in this policy are subject to the following conditions:


A    Cancellation                                                                 such action we do undertake relate only to
                                                                                  insurability and the premiums to be charged. We
     1.    The first Named Insured shown in the Declarations
                                                                                  do not make safety inspections. We do not
           may cancel this policy by mailing or delivering to us
                                                                                  undertake to perform the duty of any person or
           advance written notice of cancellation.
                                                                                  organization to provide for the health or safety of
     2.    We may cancel this policy by mailing or delivering                     workers or the public. And we do not warrant that
           to the first Named Insured written notice of cancel-                   conditions:
           lation at least:                                                       a.   Are safe or healthful; or
           a.    10 days before the effective date of cancellation if             b.   Comply with laws, regulations, codes or
                 we cancel for nonpayment of premium; or                               standards.
           b.    30 days before the effective date of cancel-                3. Paragraphs 1. and 2. of this condition apply not
                 lation if we cancel for any other reason.                        only to us, but also to any rating, advisory., rate
     3.    We will mail or deliver our notice to the first Named                  service or similar organization which makes
           Insured's last mailing address known to us.                            insurance inspections, surveys, reports or
                                                                                  recommendations.
     4.   Notice of cancellation will state the effective date of
          cancellation. The policy period will end on that date.             4.   Paragraph 2. of this condition does not apply to any
                                                                                  inspections, surveys, reports of recommendations
     5.   If this policy is cancelled, we will send the first                     we may make relative to certification, under state or
          Named Insured any premium refund due. If we                             municipal statutes, ordinances or regulations, or
          cancel, the refund will be pro rata. If the first                       boilers, pressure vessels or elevators.
          Named Insured cancels, the refund may be less
          than pro rata. The cancellation will be effective             E. Premiums
          even if we have not made or offered a refund.                      The first Named Insured shown in the Declarations:
    6.    If notice is mailed, proof of mailing will be                      1.   Is responsible for the payment of all premiums; and
          sufficient proof of notice.
                                                                             2.   Will be the payee for any retum premiums we pay.
B. Changes
                                                                        F.   Transfer Of Your Rights And Duties Under This
    This policy contains all the agreements between
                                                                             Policy
    you and us concerning the insurance afforded. The
    first Named Insured shown in the Declarations is                         Your rights and duties under this policy may not be
    authorized to make changes in the terms of this                          transferred without our written consent except in
    policy with our consent. This policy's terms can be                      the case of death of an individual named insured.
    amended or waived only by endorsement issued by
                                                                             If you die, your rights and duties will be transferred to
    us and made a part of this policy.
                                                                             your legal representative but only while acting within the
C. Examination Of Your Books And Records                                     scope of duties as your legal representative. Until your
                                                                             legal representative is appointed, anyone having proper
    We may examine and audit your books and records
                                                                             temporary custody of your property will have your rigl1ts
    as they relate to this policy at any time during the
                                                                             and duties but only with respect to that property.
    policy period and up to three years afterward.
D. Inspections And Surveys
    1. We have the right to:
          a.    Make inspections and surveys at any time;
          b.    Give you reports on the conditions we find; and
          c. Recommend changes.
    2.    We are not obligated to make any inspections,
          surveys, reports or recommendations and any

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 D                                         MANDATORY ENDORSEMENT


        POLICYHOLDER MEMBERSHIP                                        POLICYHOLDER MEMBERSHIP
             IN THE COMPANY                                                 IN THE COMPANY
 (Applicable Only in the Nationwide Mutual Insurance           (Applicable Only in the Nationwide Mutual Insurance
 Company or the Nationwide Mutual Fire Insurance               Company or the Nationwide Mutual Fire Insurance
 Company in All States Except Those Specifically               Company When This Policy is Issued in The State of
 Provided For)                                                 Texas)
Because this policy is issued by a mutual insurance             1. MUTUALITY - MEMBERSHIP AND VOTING
company, you are a member of the company while this            NOTICE. You are notified that by virtue of this policy you
or any other policy is in force. While a member you            are a member of the Nationwide Mutual Insurance
are entitled to a vote only - either in person or by proxy     Company of Columbus, Ohio or the Nationwide Mutual
- at meetings of the company. You are entitled to any          Fire Insurance Company of Columbus, Ohio as shown on
dividends which are declared by the Board of Directors         the Declarations Page of this Policy, and you are entitled,
and are applicable to coverages in your policy.                as is lawfully provided in the charter, constitution, or by-
                                                               laws to only one vote regardless of the number of policies
The annual meeting of the members of the company
                                                               owned either in person or by proxy, in any or all meetings
issuing your policy (the company is indicated on the
                                                               of the company. The annual meetings are held at the
Declarations Page) will be held at the Nationwide
                                                               Home Office at Columbus, Ohio, on the first Thursday of
Plaza in Columbus, Ohio, on the first Thursday of
                                                               April, in each year, at 9:30A.M. for the Nationwide Mutual
April. The time of the meeting for the Nationwide
                                                               Fire Insurance Company and 10:00 A.M. of the same day
Mutual Fire Insurance Company is 9:30 A.M. and the
                                                               for the Nationwide Mutual Insurance Company.
time of the meeting for the Nationwide Mutual
Insurance Company is 10:00 A.M. We will mail notice             2. MUTUALS - PARTICIPATION CLAUSE WITHOUT
of any change in meeting dates, times or place to you           CONTINGENT LIABILITY. No Contingent Liability: This
at your address last known to us at least ten days prior       policy is non-assessable. You are a member of the
to the rescheduled meeting date.                               company and shall participate, to the extent and upon the
This policy is non-assessable, meaning that you are            conditions fixed and determined by the Board of Directors
not subject to any assessment beyond the premiums              in the distribution of dividends so fixed and determined
we require for each policy term.                               provided such determinations are in accordance with the
                                                               provisions of the Texas Insurance Code and other
                                                               applicable law, which includes the rules and regulations of
                                                               the State Board of Insurance.

IN WITNESS WHEREOF: Nationwide Mutual Insurance Company, Nationwide Mutual Fire Insurance Company or
Nationwide Property and Casualty Insurance Company, whichever is the issuing company, as designated on the
Declarations, has caused this policy to be signed by its President and Secretary at. Columbus, Ohio, and
countersigned. by a duly authorized representative of the company.
ATTEST:




                                              Secreta1y                                                    President

                                                             Nationwide Mutual Insurance Company
                                                             Nationwide Mutual Fire Insurance Company




                                                                                                           President

                                                             Nationwide Property and Casually Insurance Company


Cas.3228                                                                                                Sabbah-Robertson
                                                                                                              0395
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             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                     CALCULATION OF PREMIUM


     This endorsement modifies insurance provided under the following:

        BOILER AND MACHINERY COVERAGE PART
        BUSINESSOWNERS POLICY
        COMMERCIAL AUTOMOBILE COVERAGE PART
        COMMERCIAL CRIME COVERAGE PART
        COMMERCIAL GENERAL LIABILITY COVERAGE PART
        COMMERCIAL INLAND MARINE COVERAGE PART
        COMMERCIAL PROPERTY COVERAGE PART
        EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
        FARM COVERAGE PART
        LIQUOR LIABILITY COVERAGE PART
        OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
        POLLUTION LIABILITY COVERAGE PART
        PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
        PROFESSIONAL LIABILITY COVERAGE PART
        RAILROAD PROTECTIVE LIABILITY COVERAGE PART .
        SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY- NEW YORK


    The following is added:

    The premium shown in the Declarations was computed based on rates in effect at the time the policy was issued. On
    each renewal, continuation, or anniversary of the effective date of this policy, we will compute the premium in accordance
)   with our rates and rules then in effect.




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      AMENDATORY ENDORSEMENT- PREMIUM PAYMENT


 The named insured has elected to pay the. premium for this policy or bond in payments in accordance with the
 premium payment plans approved for use by us and set forth in our approved portfolios or manuals. For each
 separate payment, including the inilit:~l payment, there is a payment plan service charge of five dollars ($5.00).




Cas. 3687-A (1-94)
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    POLICY NUMBER:
           THIS ENDORSEMENT IS ATTACHED TO AND MADE PART OF YOUR POLICY IN
           RESPONSE TO THE DISCLOSURE REQUIREMENTS OF THE TERRORISM RISK
          INSURANCE ACT. THIS ENDORSEMENT DOES NOT GRANT ANY COVERAGE OR
         CHANGE THE TERMS AND CONDITIONS OF ANY COVERAGE UNDER THE POLICY.

                 DISCLOSURE PURSUANT TO TERRORISM RISK
                             INSURANCE ACT


                                                          SCHEDULE*

     Terrorism Premium {Certified Acts) $_Q_

    frhis premium is the total Certified· Acts premium attributable to the following Coverage Part(s), Coverage
    Form(s) and/or Policy(s): NOT APPLICABLE


     Additional information, if any, concerning the terrorism premium: NOT APPLICABLE

     Federal Share of Terrorism Losses        %Year: 20
     (Refer to Paragraph B. in this endorsement.)

     Federal Share of Terrorism Losses        % Year: 20
     (Refer to Paragraph B. in this endorsement.)

     * Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


)   A.   Disclosure Of Premium
         In accordance with the federal Terrorism Risk Insurance Act, we are required to provide you with a notice dis-
         closing the portion of your premium, if any, attributable to coverage for terrorist acts certified under that Act. The
         portion of your premium attributable to such coverage is shown in the Schedule of this endorsement or in the
         policy Declarations.
    B.   Disclosure Of Federal Participation In Payment Of Terrorism Losses
         The United States Government, Department of the Treasury, will pay a share of terrorism losses Insured under
         the federal program. For losses occurring in 2006, the federal share equals 90% of that portion of the amount of
         such insured losses that exceeds the applicable insurer retention. For losses occurring in 2007, the federal
         share equals 85% of that portion of the amount of such insured losses that exceeds the applicable insurer re-
         tention. If the federal program is extended beyond 2007, the applicable percentage is shown in the Schedule of
         this endorsement or in the policy Declarations.




    IL 09 85 01 06                            Copyright, ISO Properties, Inc., 2005
                                                                                                                 Sabbah-Robertson
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D
                              BLANKET PROTECTOR
                        COMMERCIAL GENERAL LIABILITY
                         COVERAGE PART DECLARATIONS


            ISSUED BY   NATIONWIDE MUTUAL FIRE INSURANCE COMPANY

                                              POLICY NUMBER    77PR762940-3007

POLICY PERIOD   FROM 04/05/07 TO 04/05/08 AT
                12.01 A.M. STANDARD TI~re AT YOUR MAILING ADDRESS
  OPTIONAL COVERAGES   LIQUOR LAW LIABILITY
                          EACH COMMON CAUSE                   $   1,000,000
                          AGGREGATE                           $ 1,000,000

  LOCATION OF ALL PREMISES YOU OWN, RENT OR OCCUPY

  LOC      BLDG    ADDRESS
  001        01    600 14TH ST
                   EESSE~R                 AL 35023 037


CLASSIFICATION                     CODE        PREMIUM    PRODS/COM!? OPS   ALL OTHER
                                   NO.          BASJ:S      ADV !?REM       ADV PREM

LIQUOR LAW LIABJ:LITY              59211                      EXCLUDED      INCLUDED
                                            GROSS SALES

   COMMERCIAL GENERAL LIABILITY ADVANCE PREMJ:UM $

   FORMS APPLICABLE TO COMMERCIAL GENERAL LIABILITY COVERAGE PART
   IL 00 21-0498       CG 21 67-1204       CG 21 70-1102
   CAS 2527 E-0794     CAS 3392-0887       CAS 3880-0897
   CAS 6184-0702       CG 21 47-0798       CG 21 60-0498
   CG 21 87-0107       CG 00 33-1204




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           CAS. 3203-A (03-05)
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           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                      NUCLEAR ENERGY LIABILITY EXCLUSION
                         ENDO.RSEMENT (BROAD FORM)


 This endorsement modifies insurance provided under the following:

       BUSINESSOWNERS POLICY
       COMMERCIAL AUTO COVERAGE PART
       COMMERCIAL GENERAL LIABILITY COVERAGE PART
       EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
       FARM COVERAGE PART
       LIQUOR LIABILITY COVERAGE PART
       OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
       POLLUTION LIABILITY COVERAGE PART
       PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
       PROFESSIONAL LIABILITY COVERAGE PART
       RAILROAD PROTECTIVE LIABILITY COVERAGE PART
       SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY NEW YORK DEPARTMENT OF
        TRANSPORTATION
       UNDERGROUND STORAGE TANK POLICY


 1.   The insurance does not apply:                                        "nuclear material" and ans1ng out of the
                                                                           operation of a "nuclear facility'' by any person or
      A.    Under any Liability Coverage,         to "bodily               organization.
            injury" or "property damage":
                                                                       C. Under any Liability Coverage, to "bodily injury" or
            (1) With respect to which an "insured" under                  "property  damage"       resulting   from the
                 the policy Is also an insured under a nuclear            "hazardous properties" of "nuclear material," if:
                 energy liability policy Issued by Nuclear
                 Energy Liability Insurance Association,                   (1) The "nuclear material" (a) is at any
                Mutual Atomic Energy Liability Under-                          "nuclear facility'' owned by, or operated
                writers, Nuclear Insurance Associ-ation of                     by or on behalf of, an "insured" or (b) has
                Canada or any of their successors, or                          been discharged or dispersed therefrom;
                would be an insured under any such policy
                but for its termination upon exhaustion of its             (2) The "nuclear material" is contained in
                limit of liability; or                                         "spent fuel" or "waste" at any time
                                                                               possessed, handled, used, processed,
           (2) Resulting from the "hazardous properties"                       stored, transported or disposed of by or
                of "nuclear material" and with respect to                      on behalf of an "insured"; or
               which (a) any person or organization is
               required to maintain financial protection                   (3) The "bodily injury'' or "property damage"
               pursuant to the Atomic Energy Act of 1954,                      arises out of the furnishing by an "insured"
               or any law amendatory thereof, or (b) the                       of services, materials, parts or equipment in
               "insured" is, or had this policy not been                       connection with the planning, construction,
               issued would be, entitled to indemnity from                     maintenance, operation or use of any
               the United States of America, or any                            "nuclear facility," but if such facility is located
               agency thereof, under any agreement                             within the United States of America, its
               entered into by the United States of                            territories or possessions or Canada, this
               America, or any agency thereof, with any                        exclusion (3) applies only to "property
               person or organization.                                         damage" to such "nuclear facility'' and any
                                                                               property thereat.
      B.   Under any Medical Payments coverage, to
           expenses incurred with respect to "bodily injury''      2. As used in this endorsement:
           resulting from the "hazardous properties" of


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     "Hazardous properties" include radioactive, toxic              (b) Any equipment or device designed or used for
     or explosive properties;                                           (1) separating the isotopes of uranium or
                                                                        plutonium, (2) processing or utilizing "spent
     "Nuclear material" means "source material," "Special               fuel," or (3) handling, processing or packaging
     nuclear material" or "by-product material";                        "waste";

     "Source material," "special nuclear material," and             {c) Any equipment or device used for the
     "by-product material" have the meanings given                      processing, fabricating or alloying of "special
     them in the Atomic Energy Act of 1954 or in any                    nuclear material" if at anytime the total amount
     law amendatory thereof;                                            of such material in the custody of the "insured"
                                                                        at the premises where such equipment or
     "Spent fuel" means any fuel element or fuel                        device is located consists of or contains more
     component, solid or liquid, which has been used                    than 25 grams of plutonium or uranium 233 or
     or exposed to radiation in a "nuclear reactor";                    any combination thereof, or more than 250
                                                                        grams of uranium 235;
     'Waste" m~ans any waste material (a) containing
     "by-product material" other than the tailings or               {d) Any structure, basin, excavation, premises or
     wastes produced by the extraction or concentration                 place prepared or used for the storage or
     of uranium or thorium from any ore processed                       disposal of "waste";
     primarily for its "source material" content, and {b)
     resulting from the operation by any person or                  and includes the site on which any of the
     organization of any ''nuclear facility" included under         foregoing is located, all operations conducted on
     the first two paragraphs of the definition of "nuclear         such site and all premises used for such
     facility."                                                     operations;

     "Nuclear facility'' means:                                     "Nuclear reactor" means any apparatus designed
                                                                    or used to sustain nuclear fission in a self-
     (a) Any "nuclear reactor";                                     supporting chain reaction or to contain a critical
                                                                    mass of fissionable material;

                                                                    "Property damage" includes all forms of radio-
                                                                    active contamination of property.




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                                                                                    COMMERCIAL GENERAL LIABILITY
          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                            FUNGI OR BACTERIA EXCLUSION


This endorsement modifies insurance provided under the following:

     COMMERCIAL GENERAL LIABILITY COVERAGE PART


A.   The following exclusion is added to Paragraph 2.             B. The following exclusion is added to Paragraph 2.
     Exclusions of Section I - Coverage A - Bodily                    Exclusions of Section I - Coverage B - Per-
     Injury And Property Damage Liability:                            sonal And Advertising Injury Liability:
     2.   Exclusions                                                  2.   Exclusions
          This insurance does not apply to:                                This insurance does not apply to:
          Fungi Or Bacteria                                                Fungi Or Bacteria
          a.   "Bodily injury" or "properly damage"                        a.   "Personal and advertising injury" which would
               which would not have occurred, in whole                          not have taken place, in whole or in part, but
               or in part, but for the actual, alleged or                       for the actual, alleged or threatened inhala-
               threatened inhalation of, ingestion of,                          tion of, ingestion of, contact with, exposure
               contact with, exposure to, existence of, or                      to, existence of, or presence of any "fungi" or
               presence of, any "fungi" or bacteria on or                       bacteria on or within a building or structure,
               within a building or structure, including its                    including its contents, regardless of whether
               contents, regardless of whether any other                        any other cause, event, material or product
               cause, event, material or product contrib-                       contributed concurrently or in any sequence
               uted concurrently or in any sequence to                          to such injury.
               such injury or damage.
                                                                           b.   Any loss, cost or expense arising out of the
          b.   Any loss, cost or expenses arising out of                        abating, testing for, monitoring, cleaning up,
               the abating, testing for, monitoring, clean-                     removing, containing, treating, detoxifying,
               ing up, removing, containing, treating, de-                      neutralizing, remediating or disposing of, or in
               toxifying, neutralizing, remediating or dis-                     any way responding to, or assessing the ef-
               posing of, or in any way responding to, or                       fects of, "fungr' or bacteria, by any insured or
               assessing the effects of, "fungi" or bacte-                      by any other person or entity.
               ria, by any insured or by any other person
                                                                  C. The following definition is added to the Defini-
               or entity.
                                                                      tions Section:
     This. exclusion does not apply to any "fungi" or
                                                                      "Fungi" means any type or form of fungus, including
     bacteria that are, are on, or are contained in, a
                                                                      mold or mildew and any mycotoxins, spores, scents
     good or product intended for bodily consumption.
                                                                      or byproducts produced or released by fungi.




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                                                                                      COMMERCIAL GENERAL LIABILITY
            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

      CAP ON LOSSES FROM CERTIFIED ACTS OF TERRORISM


     This endorsement modifies insurance provided under the following:

         COMMERCIAL GENERAL LIABILITY COVERAGE PART
         LIQUOR LIABILITY COVERAGE PART
         OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
         POLLUTION LIABILITY COVERAGE PART
         PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
         RAILROAD PROTECTIVE LIABILITY COVERAGE PART
         UNDERGROUND STORAGE TANK POLICY

     With respect to any one or more "certified acts of terrorism", we will not pay any amounts for which we are not
     responsible under the terms of the federal Terrorism Risk Insurance Act of 2002 (including subsequent acts of
     Congress pursuant to the Act) due to the application of any clause which results in a cap on our liability for pay-
     ments for terrorism losses.
    "Certified act of terrorism" means an act that is certified by the Secretary of the Treasury, in concurrence with the
    Secretary of State and the Attorney General of the United States, to be an act of terrorism pursuant to the federal
    Terrorism Risk Insurance Act of 2002. The federal Terrorism Risk Insurance Act of 2002 sets forth the following
    criteria for a "certified act of terrorism":
    1.   The act resulted in aggregate losses in excess of $5 million; and
    2.   The act is a violent act or an act that is dangerous to human life, property or infrastructure and is committed by
         an individual or individuals acting on behalf of any foreign person or foreign interest, as part of an effort to co-
         erce the civilian population of the United States or to influence the policy or affect the conduct of the United
         States Government b¥ coercion.




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                AMENDATORY ENDORSEMENT- ADDITIONAL
                         POLICY CONDITION


  It is agreed that the following condition is made a part of this policy:

  It this policy and any other policy issued to you by us or any affiliated Company apply to the same occurrence, the
  total maximum amount payable under all policies, including limits of liability, general aggregate limit and products-
  completed operations aggregate limit, shall not exceed the highest applicable limits of liability, general aggregate limit
  or products-completed operations aggregate limit under any one policy. This condition does not apply to any policy
  issued by us or an affiliated Company specifically to apply as excess insurance over this policy.




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)cas. 2527-B   (7-94)         permission. Copyright, Insurance Services Office, Inc., 1977, 1979
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                                                                           COMMERCIAL GENERAL LIABILITY
           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY. '

                       LIMITS OF INSURANCE ENDORSEMENT


   This endorsement modifies insurance provided by the Commercial General Liability Coverage Form. Section Ill
   Limits of Insurance is amended by the addition of a subpart 1.d. as follows:
       1.d. Premises, operations or projects insured.




· · Cas. 3392 (8-87)
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                           ASBESTOS LIABILITY EXCLUSION


 The following exclusion is added:

     "This insurance does not apply to bodily injury, property damage, personal injury or advertising injury arising out of
     asbestos or goods containing asbestos or real property containing asbestos. This exclusion applies whether the
     bodily injury, property damage, personal injury or advertising injury is caused· solely by asbestos or goods
     containing asbestos or real property containing asbestos, or is caused by other means in conjunction or
     separately with asbestos or goods containing asbestos or real property containing asbestos."




Cas. 3880 (8-97)
                                                                                                             Sabbah-Robertson
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                                                                                   COMMERCIAL GENERAL LIABILITY
          THIS ENDORSEMENT CHANGES THE POLICY: PLEASE READ IT CAREFULLY.

   AMENDMENT OF PERSONAL AND ADVERTISING INJURY
               LIABILITY EXCLUSIONS


 This endorsement modifies insurance provided under the following:

     COMMERCIAL GENERAL LIABILITY COVERAGE PART


 Exclusion i. under Paragraph 2., Exclusions of Section I - Coverage B - Personal And Advertising Injury Liability is
 replaced by the following:
     2.   Exclusions
          This insurance does not apply to:
          i.   Infringement Of Intellectual Property Rights
               "Personal and advertising injury" arising out of the infringement of copyright, patent, trademark, trade
               secret, trade dress, trade name, service mark or other intellectual property rights.
               However, this exclusion does not apply to infringement, in your "advertisement", of copyright, trade
               dress or slogan.




Cas. 6184 (7-02)              Includes Copyrighted Material of ISO Properties, Inc., 2001
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                                                                                 COMMERCIAL GENERAL LIABILITY
        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE REAP IT CAREFULLY.

          EMPLOYMENT-RELATED PRACTICES EXCLUSION



 This endorsement modifies insurance provided under the following:

     COMMERCIAL GENERAL LIABILITY COVERAGE PART


 A. The following exclusion is added to Paragraph 2.,          B. The following exclusion is added to Paragraph 2.,
    Exclusions of Section I- Coverage A- Bodily                   Exclusions of Section I- Coverage B -Personal
    Injury And Property Damage Liability:                         And Advertising Injury Liability:
    This insurance does not apply to:                              This insurance does not apply to:
    "Bodily injury" to:                                            "Personal and advertising injury" to:
    (1) A person arising out of any;                               (1) A person arising out of any:
         (a) Refusal to employ that person;                            (a) Refusal to employ that person;
        (b) Termination of that person's employment; or                (b) -Termination of that person's employment; or
        (c) Employment-related practices, policies, acts               (c) Employment-related practices, policies, acts
            or omissions, such as coercion, demotion,                      or omissions, such as coercion, demotion,
            evaluation, reassignment, discipline, defama-                  evaluation, reassignment, discipline, defama-
            tion, harassment, humiliation or discrimi-                     tion, harassment, humiliation or discrimi-
            nation directed at that person; or                             nation directed at that person; or
    (2) The spouse, child,' p8rent, brother or sister of           (2) The spouse, child, pnrcnt, brother or sister of
        that person as a consequence of "bodily                        that person as a consequence of "personal and
        injury" to that person at whom any of the                      advertising injury" to that person at whom any of
        employment-related practices described in                      the employment-related practices described in
        Paragraphs (a}, (b), or (c) above is directed.                 Paragraphs (a), (b), or (c) above is directed.
    This exclusion applies:                                        This exclusion applies:
    (1) Whether the insured may be liable as an                    (1) Whether the insured may be liable as an
        employer or in any other capacity; and                         employer or in any other capacity; and
    (2) To any obligation to share damages with or                 (2) To any obligation to share damages with or
        repay someone else who must pay damages                        repay someone else who must pay damages
        because of the injury.                                         because of the injury.




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                                                                                   COMMERCIAL GENERAL LIABILITY
            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                    EXCLUSION- YEAR 2000 COMPUTERMRELATED AND
                           OTHER ELECTRONIC PROBLEMS


 This endorsement modifies insurance provided under the following:

      COMMERCIAL GENERAL LIABILITY COVERAGE PART


 The following exclusion is added to Paragraph 2.,
                                                                              (d) Computer networks;
 Exclusions of Section I - Coverage A - Bodily Injury
                                                                              (e) Microprocessors (computer chips) not
 And Property Damage liability and Paragraph 2.,
                                                                                  part of any computer system; or
 Exclusions of Section I - Coverage B - Personal And
 Advertising Injury Liability:                                                (f) Any other computerized or electronic
                                                                                  equipment or components; or
 2.    Exclusions
                                                                          (2) Any other products, and any services, data or
      This insurance does not apply to "bodily injury",                       functions that directly or indirectly use or rely
      "property damage", "personal injury'' or "advertising                   upon, in any manner, any of the items listed in
      injury'' arising directly or indirectly out of:                         Paragraph 2.a.(1) of this endorsement
      a.   Any actual or alleged failure, malfunction or                  due to the inability to correctly recognize,
           inadequacy of:                                                 process, distinguish, interpret or accept the
           (1} Any of the following, whether belonging to                 year 2000 and beyond.
               any insured or to others:                             b.   Any advice, consultation, design, evaluation,
              (a) Computer hardware, including micro-                     inspection, installation, maintenance, repair,
                  processors;                                             replacement or supervision provided or done
                                                                          by you or for you to determine, rectify or test
              (b) Computer application software;                          for, any potential or actual problems described
              (c) Computer operating systems and related                  in Paragraph 2.a. of this enrlorsement.
                  software;




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                                                                                  COMMERCIAL GENERAL LIABILITY
         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                   CONDITIONAL EXCLUSION OF TERRORISM
              (RELATING TO DISPOSITION OF FEDERAL TERRORISM
                            RISK iNSURANCE ACT)

This endorsement modifies insurance provided under the following:
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY


A. Applicability Of The          Provisions   Of This                          (3) Redefine terrorism or make insur-
   Endorsement                                                                     ance coverage for terrorism subject
                                                                                   to provisions or requirements that
    1.   The provisions of this endorsement become                                 differ from those that apply to other
         applicable commencing on the date when                                    types of events or occurrences under
         any one or more of the following first occurs.                            this policy.
         But if your policy (meaning the policy period
         in which this endorsement applies) begins                   2.   If the provisions of this endorsement
         after such date, then the provisions of this                     become applicable, such provisions:
         endorsement become applicable on the date
         your policy begins.                                              a.   Supersede any terrorism endorsement
                                                                               already endorsed to this policy that
         a.   The federal Terrorism Risk Insurance                             addresses "certified acts of terrorism"
              Program ("Program"}, established by the                          and/or "other acts of terrorism", but only
              Terrorism Risk Insurance Act, has                                with respect to an incident(s) of terrorism
              terminated with respect to the type of                           (however defined) which results in injury
              insurance provided under this Coverage                           or damage that occurs on or after the
              Part or Policy; or                                               date when the provisions of this endorse-
                                                                               ment become applicable (for claims
         b.   A renewal, extension or replacement of                           made policies, such an endorsement is
              the Program has become effective with-                           superseded only with respect to an
              out a requirement to make terrorism                              incident of terrorism {however defined)
              coverage available to you and with                               that results in a claim for injury or
              revisions that:                                                  damage first being made on or after the
              (1) Increase our statutory percentage                            date when the provisions of this endorse-
                  deductible under the Program for                             ment become applicable); and
                  terrorism losses. (That deductible                 b. Remain applicable unless we notify you of
                  determines the amount of all certified                changes in these provisions, In response
                  terrorism losses we must pay in a                     to federal law.
                  calendar year, before the federal
                  government shares in subsequent                    3.   If the provisions of this endorsement do NOT
                  payment of certified terrorism                          become applicable, any terrorism endorse-
                  losses.); or                                            ment already endorsed to this policy, that
                                                                          addresses "certified acts of terrorism" and/or
              {2) Decrease the federal government's                       "other acts of terrorism", will continue in
                  statutory percentage share in                           effect unless we notify you of changes to that
                  potential terrorism losses above                        endorsement in response to federal law. ·
                  such deductible; or
                                                                B.   The following definitions are added and apply
                                                                     under this endorsement wherever the term


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    terrorism, or the phrase any injury or damage, are                   2.   Radioactive material is released, and it appears
    enclosed in quotation marks:                                              that one purpose of the "terrorism" was to release
                                                                              such material; or
    1.    "Terrorism" means activities against persons,
          organizations or property of any nature:                       3.   The "terrorism" is carried out by means of the
                                                                              dispersal or application of pathogenic or
          a.    That involve the following or preparation
                                                                              poisonous biological or chemical materials; or
                for the following:
                                                                         4.   Pathogenic or poisonous biological or chemical
                (1) Use or threat of force or violence; or
                                                                              materials are released, and it appears that one
                (2) Commission or threat of a dangerous                       purpose of the "terrorism" was to release such
                    act; or                                                   materials; or
                (3) Commission or threat of an act that                  5.   The total of insured damage to all types of
                    interferes with or disrupts an electronic,                property exceeds $25,000,000. In determining
                    communication, information, or mech-                      whether the $25,000,000 threshold is exceeded,
                    anical system; and                                        we will include all insured damage sustained by
                                                                              property of all persons and ent_ities affected by the
         b.     When one or both           of the following
                                                                              "terrorism" and business interruption losses
                applies:                                                      sustained by owners or occupants of the
                (1) The effect is to intimidate or coerce a                   damaged property. For the purpose of this
                    government or the civilian population                     provision, insured damage means damage that is
                    or any segment thereof, or to disrupt                     covered by any insurance plus damage that
                    any segment of the economy; or                            would be covered by any insurance but for the
                                                                              application of any terrorism exclusions; or
                (2) It appears that the intent is to intimidate
                    or coerce a government, or to further                6.   Fifty or more persons sustain death or serious
                    political, ideological, religious, social or              physical injury. For the purposes of this provision,
                    economic objectives or to express (or                     serious physical injury means:
                    express opposition to) a philosophy or                    a.   Physical injury that involves a substantial
                    ideology.                                                      risk of death; or
    2.   "Any injury or damage" means any injury or                           b.   Protracted and obvious physical disfigure-
         damage covered under any Coverage Part or                                 ment; or
         Policy to which this endorsement is applicable,
         and includes but is not limited to "bodily injury",                  c.   Protracted loss of or impairment of the
         "properly damage", "personal and advertising                              function of a bodily member or organ.
         injury", "injury" or "environmental damage" as                  Multiple incidents of "terrorism" which occur
         may be defined in any applicable Coverage Part                  within a 72-hour period and appear to be carried
         or Policy.                                                      out in concert or to have a related purpose or
C. The following exclusion is added:                                     common leadership will be deemed to be one
                                                                         incident, for the purpose of determining whether
    EXCLUSION OF TERRORISM                                               the thresholds in Paragraphs C.5. or C.6. are
   We will not pay for "any injury or damage" caused                     exceeded.
   directly or indirectly by "terrorism", including                      With respect to this Exclusion, Paragraphs C.5.
   action in hindering or defending against an actual                    and C.6. describe the threshold used to measure
   or expected incident of "terrorism". "Any Injury or                   the magnitude of an Incident of "terrorism" and
   damage" is excluded regardless of any other                           the drcumstances in which the threshold will
   cause or event that contributes concurrently or in                    apply, for the purpose of determining whether this
   any sequence to such injury or damage. But this                       Exclusion will apply to that incident. When the
   exclusion applies only when one or more of                            Exclusion applies to an incident of "terrorism",
   the following are attributed to an incident of                        there is no coverage under this Coverage Part or
   "terrorism":                                                          Policy.
   1.    The "terrorism" is carried out by means of the                  In the event of any incident of "terrorism" that is
         dispersal or application of radioactive material, or            not subject to this Exclusion, coverage does not
         through the use of a nuclear weapon or device                   apply to "any injury or damage" that Is otherwise
         that involves or produces a nuclear reaction.                   excluded under this Coverage Part or Policy.
         nuclear radiation or radioactive contamination; or




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                                                                                           COMMERCIAL GENERAL LIABILITY


                          LIQUOR LIABILITY COVERAGE FORM


Various prov1s1ons in this policy restrict coverage.                                 authorized "employee" knew, prior to the
Read the entire policy carefully to determine rights,                                policy period, that the "injury'' occurred, then
duties and what is and is not covered.                                               any continuation, change or resumption of
                                                                                     such "injury'' during or after the policy period
Throughout this policy the words "you" and "your" refer to
                                                                                     will be deemed to have been known prior to
the Named Insured shown in the Declarations, and any
                                                                                     the policy period.
other person or organization qualifying as a Named
Insured under this policy. The words "we", "us" and "our"                   c.   "Injury'' which occurs during the policy period and
refer to the Company providing this insurance.                                   was not, prior to the policy period, known to have
                                                                                 occurred by any insured listed under Paragraph
The word "insured" means any person or organization
                                                                                 1. of Section II - Who Is An Insured or any
qualifying as such under Section II- Who Is An Insured.
                                                                                 "employee" authorized by you to give or receive
Other words and phrases that appear in quotation marks                           notice of an "injury'' or claim, includes any
have special meaning. Refer to Section V- Definitions.                           continuation, change or resumption of that "injury''
                                                                                 after the end of the policy period.
SECTION 1- LIQUOR LIABILITY COVERAGE
                                                                            d.   "Injury'' will be deemed to have been known to
I.   Insuring Agreement                                                          have occurred at the earliest time when any
     a.    We will pay those sums that the insured                               insured listed under Paragraph 1. of Section II -
           becomes legally obligated to pay as damages                           Who Is An Insured or any "employee" authorized
           because of "injury'' to which this insurance applies                  by you to give or receive notice of an "injury" or
           if liability for such "injury'' is imposed on the                     claim:
           insured by reason of the selling, serving or                          (1) Reports all, or any part, of the "injury" to
           furnishing of any alcoholic beverage. We will                             us or any other insurer;
           have the right and duty to defend the insured
           against any "suit" seeking those damages.                             (2) Receives a written or verbal demand or claim
           However, we will have no duty to defend the                               for damages because of the "Injury''; or
           insured against any "suit" seeking damages for                        (3) Becomes aware by any other means that
           "injury'' to which this insurance does not apply.                         "injury'' has occurred or has begun to occur.
           We may, at our discretion, investigate any "injury''
           and settle any claim or "suit" that may result. But:        2.   Exclusions
           (1) The amount we will pay for damages is                        This insurance does not apply to:
               limited as described in Section Ill - Limits
                                                                            a.   Expected Or Intended Injury
               Of Insurance; and
                                                                                 "Injury'' expected or intended from the standpoint
           (2) Our right and duty to defend ends when
                                                                                 of the insured. This exclusion does not apply to
               we have used up the applicable limit of
                                                                                 "bodily injury'' resulting from the use of reason-
               insurance in the payment of judgments or
                                                                                 able force to protect persons or property.
               settlements.
                                                                            b.   Workers' Compensation And Similar Laws
           No other obligation or liability to pay sums or
           perform acts or services is covered unless                            Any obligation of the insured under a workers'
          ·explicitly provided for under Supplementary                           compensation, disability benefits or unemploy-
           Payments.                                                             ment compensation law or any similar law.
     b.   This insurance applies to "injury" only if:                       c.   Employer's Liability
          (1) The "injury'' occurs during the policy period in                   "Bodily injury" to:
               the "coverage territory''; and
                                                                                 (1) An "employee" of the insured arising out
          (2) Prior to the policy period, no insured listed                          of and in the course of:
              under Paragraph 1. of Section II -Who Is An
                                                                                     {a) Employment by the insured; or
               Insured and no "employee" authorized by
               you to give or receive notice of an "injury'' or                     (b) Performing duties related to the
               claim, knew that the "injury'' had occurred, in                          conduct of the insured's business; or
               whole or in part. If such a listed insured or                                                      Sabbah-Robertson
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          (2) The spouse, child, parent, brother or sister of       2.   The cost of bonds to release attachments, but only for
              that "employee" as a consequence of Para-                  bond amounts within the applicable limit of insurance.
              graph (1) above.                                           We do not have to furnish these bonds.
          This exclusion applies:                                   3.   All reasonable expenses incurred by the insured at
                                                                         our request to assist us in the investigation or defense
          (1) Whether the insured may be liable as an                    of the claim or "suit", including actual loss of earnings
              employer or in any other capacity; and                     up to $250 a day because of time off from work.
          (2) To any obligation to share damages with               4. All costs taxed against the insured in the "suit".
              or repay someone else who must pay
              damages because of the "injury".                      5.   Prejudgment interest awarded against the insured
                                                                         on that part of the judgment we pay. If we make
     d.   Liquor License Not In Effect                                   an offer to pay the applicable limit of insurance,
          "Injury" arising out of any alcoholic beverage                 we will not pay any prejudgment interest based
          sold, served or furnished while any required                   on that period of time after the offer.
          license is not in effect.                                 6.   All interest on the full amount of any judgment
                                                                         that accrues after entry of the judgment and
     e.   Your Product
                                                                         before we have paid, offered to pay, or deposited
          "Injury" arising out of "your product". This                   in court the part of the judgment that is within the
          exclusion does not apply to "injury" for which                 applicable limit of insurance.
          the insured or the insured's indemnitees may              7.   Expenses incurred by the insured for first aid
          be held liable by reason of:
                                                                         administered to others at the time of an event to
          (1) Causing or contributing to the intoxication                which this insurance applies.
              of any person;                                        These payments will not reduce the limits of insurance.
          (2) The furnishing of alcoholic beverages to              SECTION II- WHO IS AN INSURED
              a person under the legal drinking age or
              under the influence of alcohol; or                    1.   If you are designated in the Declarations as:

          (3) Any statute, ordinance or regulation relating              a.   An individual, you and your spouse are
              to the sale, gift, distribution or use of alcoholic             insureds.
              beverages.                                                 b.   A partnership or joint venture, you are an insured.
                                                                              Your members, your partners, and their spouses
f.   Other Insurance
                                                                              are also insureds, but only with respect to the
     Any "injury" with respect to which other insurance is                    conduct of your business.
     afforded, or would be afforded but for the exhaustion               c.   A limited liability company, you are an insured.
     of the limits of insurance.                                              Your members· are also insureds, but only with
     This exclusion does not apply if the other                               respect to the conduct of your business. Your
     insurance responds to liability for "injury" imposed                     managers are insureds, but only with respect to
     on the insured by reason of the selling, serving or                      their duties as your managers.            ·
     furnishing of any alcoholic beverage.                               d.   An organization other than a partnership, joint
g. War                                                                        venture or limited liability company, you are an
                                                                              Insured. Your "executive officers" and directors
     "Injury", however caused, arising, directly or                           are insureds, but only with respect to their duties
     indirectly, out of:                                                      as your officers or directors. Your stockholders
     (1) War, including undeclared or civil war;                              are also insureds, but only with respect to their
                                                                              liability as stockholders.
     (2) Warlike action by a military force, including action
         in hindering or defending against an actual or             2.   Each of the following is also an insured:
         expected attack, by any government, sovereign
                                                                         a.   Your "employees", other than either your
         or other authority using military personnel or other                 "executive officers" (if you are an organization
         agents; or                                                           other than a partnership, joint venture or
     (3) Insurrection, rebellion, revolution·, usurped power,                 limited liability company) or your managers (if
         or action taken by governmental authority in                         you are a limited liability company), but only
         hindering or defending against any of these.                         for acts within the scope of their employment
                                                                              by you or while performing duties related to
SUPPLEMENTARY PAYMENTS
                                                                              the conduct of your business. However, none
We will pay, with respect to any claim we investigate                         of these "employees" is an insured for:
or settle, or any "suit" against an insured we defend:
                                                                              ( 1) "Injury":
1.   All expenses we incur.
                                                                                  (a) To you, to your partners or members (if
                                                                                      you are a partnership or joint venture), to


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                    your members (if you are a limited                   b.   Claims made or "suits" brought; or
                    liability company), or to a co-"employee"
                                                                         c.   Persons or organizations making claims or
                    while that co-"employee" is either in the
                                                                              bringing "suits".
                    course of his or her employment or
                    performing duties related to the conduct        2.   The Aggregate Limit is the most we will pay for all
                    of your business;                                    "injury" as the result of the selling, serving or
               (b) To the spouse, child, parent, brother or              furnishing of alcoholic beverages.
                   sister of that co-"employee" as a cones-         3.   Subject to the Aggregate Limit, the Each Common
                   quence of Paragraph (1 )(a) above; or                 Cause Limit is the most we will pay for all "injury"
               (c) For which there is any obligation to                  sustained by one or more persons or organizations as
                   share damages with or repay someone                   the result of the selling, serving or furnishing of any
                   else who must pay damages because of                  alcoholic beverage to any one person.
                   the injury described in Paragraphs (1 )(a)       The Limits of Insurance of this Coverage Part apply
                   or (b) above.                                    separately to each consecutive annual period and to
          (2) "Property damage" to property:                        any remaining period of less than 12 months, starting
                                                                    with the beginning of the policy period shown in the
               (a) Owned or occupied by, or                         Declarations, unless the policy period is extended
               (b) Rented or loaned                                 after issuance for an additional period of less than 12
                                                                    months. In that case, the additional period will be
               to that "employee", any of your other
                                                                    deemed part of the last preceding period for purposes
               "employees", by any of your partners or
                                                                    of determining the Limits of Insurance.
               members (if you are a partnership or joint
               venture), or by any of your members (if              SECTION IV- LIQUOR LIABILITY CONDITIONS
               you are a limited liability company).
                                                                    1.   Bankruptcy
     b.   Any person or organization having proper
          temporary custody of your property if you die,                 Bankruptcy or insolvency of the insured or of the
          but only:                                                      insured's estate will not relieve us of our
                                                                         obligations under this Coverage Part.
          (1) With respect to liability arising out of the
              maintenance or use of that property; and              2.   Duties In The Event Of Injury, Claim Or Suit

          (2) Until your legal representative has been                   a.   You must see to It that we are notified as
              appointed.                                                      soon as practicable of an "injury" which may
                                                                              result in a claim. To the extent possible,
     c.    Your legal representative if you die, but only with                notice should Include:
           respect to duties as such. That representative will
           have all your rights and duties under this                         (1) How, when and where the "injury" took
          ·coverage Part.                                                         place;
3.   Any organization you newly acquire or form, other                        (2) The names and addresses of any injured
     than a partnership, joint venture or limited liability                       persons and witnesses; and
     company, and over which you maintain ownership
                                                                              (3) The nature and location of any "injury".
     or majority interest, will qualify as a Named
     Insured if there is no other similar insurance                      b.   If a claim is made or "suit" is brought against
     available to that organization. However:                                 any insured, you must:
     a.   Coverage under this provision is afforded                           (1) Immediately record the specifics of the
          only until the 90th day after you acquire or                            claim or "suit" and the date received; and
          form the organization or the end of the policy
          period, whichever is earlier; and                                   (2) Notify us as soon as practicable.

     b.   Coverage does not apply to "injury" that                            You must see to it that we receive written notice
          occurred before you acquired or formed the                          of the claim or "suit" as soon as practicable.
          organization.                                                  c.   You and any other involved insured must:
No person or organization is an Insured with respect                          (1) Immediately send us copies of any demands,
to the conduct of any current or past partnership, joint                          notices, summonses or legal papers received
venture or limited liability company that is not shown                            in connection with the daim or "suit";
as a Named Insured in the Declarations.
                                                                              (2) Authorize us to obtain records and other
SECTION Ill- LIMITS OF INSURANCE                                                  information;
1.   The Limits of Insurance shown in the
                                                                              (3) Cooperate with us in the investigation or
     Declarations and the rules below fix the most we
                                                                                  settlement of the daim or defense against
     will pay regardless of the number of:
                                                                                  the "suit"; and
     a.   Insureds;
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             (4) Assist us, upon our request, in the                       b.   Premium shown in this Coverage Part as
                 enforcement of any right against any                           advance premium is a deposit premium only.
                 person or organization which may be                            At the close of each audit period we will
                 liable 'to the insured because of "injury" to                  compute the earned premium for that period
                 which this insurance may also apply.                           and send notice to the first Named Insured.
                                                                                The due date for audit and retrospective
       d.    No insured will, except at that insured's own
                                                                                premiums is the date shown as the due date
             cost, voluntarily make a payment, assume
                                                                                on the bill. If the sum of the advance and
             any obligation, or incur any expense, other
                                                                                audit premiums paid for the policy period is
             than for first aid, without our consent.
                                                                                greater than the earned premium, we will
 3.    Legal Action Against Us                                                  return the excess to the first Named Insured.
       No person or organization has a right under this                    c.   The first Named Insured must keep records
       Coverage Part:                                                           of the information we need for premium
                                                                                computation, and send us copies at such
       a.   To join us as a party or otherwise bring us                         times as we may request.
            into a "sUit" asking for damages from an
            insured; or                                               6.   Representations
       b.   To sue us on this Coverage Part unless all of                  By accepting this policy, you agree:
            its terms have been fully complied with.
                                                                           a.   The statements in the Declarations are accurate
      A person or organization may sue us to recover                            and complete;
      on an agreed settlement or on a final judgment
                                                                           b.   Those statements are based upon representa-
      against an insured; but we will not be liable for
                                                                                tions you made to us; and
      damages that are not payable under the terms of
      this Coverage Part or that are in excess of the                      c.   We have issued this policy in reliance upon
      applicable limit of insurance. An agreed                                  your representations.
      settlement means a settlement and release of
                                                                      7.   Separation Of Insureds
      liability signed by us, the insured and the claimant
      or the claimant's legal representative.                              Except with respect to the Limits of Insurance,
                                                                           and any rights or duties specifically assigned in
4.    Other Insurance
                                                                           this Coverage Part to the first Named Insured,
      If other valid and collectible insurance is available                this insurance applies:
      to the insured for a loss we cover under this
                                                                           a.   As if each Named Insured were the only Named
      Coverage Part, our obligations are limited as
                                                                                Insured; and
      follows:
                                                                           b.   Separately to each insured against whom
      a. Primary Insurance                                                      claim is made or "suit" is brought.
            This insurance is primary. Our obligations are
                                                                      8.   Transfer Of Rights Of Recovery Against Others
            not affected unless any of the other insurance
                                                                           To Us
            is also primary. Then, we will share with all
            that other insurance by' the method described                  If the insured has rights to recover all or part of any
            in b. below.                                                   payment we have made under this Coverage Part,
                                                                           those lights are transferred to us. The insured must
      b.    Method Of Sharing
                                                                           do nothing after loss to impair them. At our request,
            If all of the other insurance permits contribution by          the insured will bring "suit" or transfer those rights to
            equal shares, we will follow this method also.                 us and help us enforce them.
            Under this approach each insurer contributes
                                                                      9. When We Do Not Renew
            equal amounts until it has paid its applicable limit
            of insurance or none of the loss remains,                      If we decide not to renew this Coverage Part, we
            wihichever comes first.                                        will mail or deliver to the first Named Insured
                                                                           shown in the Declarations written notice of the
            If any of the other insurance does not permit
                                                                           nonrenewal not less than 30 days before the
            contribution by equal shares, we will contribute by
                                                                           expiration date.
            limits. Under this method, each insurer's share is
            based on the ratio of its applicable limit of                  If notice is mailed, proof of mailing will be
            insurance to the total applicable limits of                    sufficient proof of notice.
            insurance of all insurers.
                                                                     SECTION V- DEFINITIONS
5.    Premium Audit
                                                                      1. "Bodily injury" means bodily injury, sickness or
      a.    We will compute ·all premiums for this Cover-                disease sustained by a person, including death
            age Part in accordance with our rules and                    resulting from any of these at any time.
            rates.

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2.   "Coverage territory" means:                                              be deemed to occur at the time of the
                                                                              occurrence that caused it.
     a.   The United States of America (including its
          territories and possessions), Puerto Rico and             8.   "Suit" means a civil proceeding in which damages
          Canada;                                                        because of "injury" to which this insurance applies
                                                                         are alleged. "Suit" includes:
     b.   International waters or airspace, but only if
          the "injury" occurs in the course of travel or                 a.   An arbitration proceeding in which such damages
          transportation between any places included in                       are claimed and to which the insured must submit
          a. above; or                                                        or does submit with our consent; or
     c.   All other parts of the world if the "injury"                   b.   Any other alternative dispute resolution pro-
          arises out of:                                                      ceeding in which such damages are claimed and
                                                                              to which the insured submits with our consent.
          (1) Goods or products made or sold by you
              in the territory described in a. above; or            9.   "Temporary worker" means a person who is
                                                                         furnished to you to substitute for a permanent
          (2) The activities of a person whose home is
                                                                         "employee" on leave or to meet seasonal or
               in the territory described in a. above, but
                                                                         short-term workload conditions.
               is away for a short time on your business
                                                                    10. "Your product":
          provided the insured's responsibility to pay
          damages is determined in a "suit" on the                       a.   Means:
          merits, in the territory described in a. above
                                                                              (1) Any goods or products, other than real
          or in a settlement we agree to.
                                                                                  property, manufactured, sold, handled,
3.   "Employee" includes a "leased worker". "Employee"                            distributed or disposed of by:
     does not include a "temporary worker".
                                                                                  (a) You;
4.   "Executive Officer" means a person holding any of the
                                                                                  (b) Others trading under your name; or
     officer positions created by your charter, constitution,
     by-laws or any other similar governing document.                             (c) A person or organization whose business
                                                                                      or assets you have acquired; and
5.   "Injury" means all damages, including damages
     because of "bodily injury" and "property damage",                        (2) Containers (other than vehicles), materials,
     and including damages for care, loss of services                             parts or equipment furnished in connection
     or loss of support.                                                          with such goods or products.
6.   "Leased worker" means a person leased to you by a                   b.   Includes:
     labor leasing firm under an agreement between you
                                                                              (1) Warranties or representations made at any
     and the labor leasing firm, to perform duties related to
                                                                                  time with respect to the fitness, quality,
     the conduct of your business. "Leased worker" does
                                                                                  durability, performance or use of "your
     not include a "temporary worker".
                                                                                  product", and
7.   "Property damage" means:
                                                                              (2) The providing of or failure to provide
     a.   Physical injury to tangible property, including all                     warnings or instructions.
          resulting loss of use of that property. All such loss
                                                                         c.   Does not include vending machines or other
          of use shall be deemed to occur at the time of the
                                                                              property rented to or located for the use of
          physical injury that caused it; or
                                                                              others but not sold.
     b.   Loss of use of tangible property that is not
          physically injured. All such loss of use shall




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